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          $66(76$1'/,$%,/,7,(6$1'67$7(0(1762)),1$1&,$/$))$,56

                                                     ,QWURGXFWLRQ

        L+HDUW0HGLD,QF³L+HDUW´DQGLWVGHEWRUDIILOLDWHVDVGHEWRUVDQGGHEWRUVLQSRVVHVVLRQ
LQWKHDERYHFDSWLRQHGFKDSWHUFDVHVFROOHFWLYHO\WKH³'HEWRUV´ZLWKWKHDVVLVWDQFHRIWKHLU
DGYLVRUV KDYH ILOHG WKHLU UHVSHFWLYH 6FKHGXOHV RI $VVHWV DQG /LDELOLWLHV WKH³6FKHGXOHV´ DQG
6WDWHPHQWVRI)LQDQFLDO$IIDLUVWKH³6WDWHPHQWV´DQGWRJHWKHUZLWKWKH6FKHGXOHVWKH³6FKHGXOHV
DQG 6WDWHPHQWV´ ZLWK WKH 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW IRU WKH 6RXWKHUQ 'LVWULFW RI 7H[DV
WKH³%DQNUXSWF\&RXUW´XQGHUVHFWLRQRIWLWOHRIWKH8QLWHG6WDWHV&RGHWKH³%DQNUXSWF\
&RGH´5XOHRIWKH)HGHUDO5XOHVRI%DQNUXSWF\3URFHGXUHWKH³%DQNUXSWF\5XOHV´DQG
5XOHRIWKH%DQNUXSWF\/RFDO5XOHVIRUWKH6RXWKHUQ'LVWULFWRI7H[DVWKH³%DQNUXSWF\
/RFDO5XOHV´

        7KHVH Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’
Schedules of Assets and Liabilities and Statements of Financial Affairs WKH ³*OREDO 1RWHV´
SHUWDLQWRDUHLQFRUSRUDWHGE\UHIHUHQFHLQDQGFRPSULVHDQLQWHJUDOSDUWRIDOORIWKH'HEWRUV¶
6FKHGXOHVDQG6WDWHPHQWV7KH*OREDO1RWHVVKRXOGEHUHIHUUHGWRFRQVLGHUHGDQGUHYLHZHGLQ
FRQQHFWLRQZLWKDQ\UHYLHZRIWKH6FKHGXOHVDQG6WDWHPHQWV

        7KH6FKHGXOHVDQG6WDWHPHQWVGRQRWSXUSRUWWRUHSUHVHQWILQDQFLDOVWDWHPHQWVSUHSDUHGLQ
DFFRUGDQFHZLWK*HQHUDOO\$FFHSWHG$FFRXQWLQJ3ULQFLSOHVLQWKH8QLWHG6WDWHV³*$$3´QRU
DUHWKH\LQWHQGHGWREHIXOO\UHFRQFLOHGZLWKWKHILQDQFLDOVWDWHPHQWVRIHDFK'HEWRU$GGLWLRQDOO\
WKH6FKHGXOHVDQG6WDWHPHQWVFRQWDLQXQDXGLWHGLQIRUPDWLRQWKDWLVVXEMHFWWRIXUWKHUUHYLHZDQG


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       'XHWRWKHODUJHQXPEHURI'HEWRUVLQWKHVHFKDSWHUFDVHVIRUZKLFKMRLQWDGPLQLVWUDWLRQKDVEHHQ
        JUDQWHGDFRPSOHWHOLVWRIWKH'HEWRUVDQGWKHODVWIRXUGLJLWVRIWKHLUWD[LGHQWLILFDWLRQUHJLVWUDWLRQRU
        OLNH QXPEHUV LV QRW SURYLGHG KHUHLQ  $ FRPSOHWH OLVW RI VXFK LQIRUPDWLRQ PD\ EH REWDLQHG RQ WKH
        ZHEVLWHRIWKH'HEWRUV¶FODLPVDQGQRWLFLQJDJHQWDWKWWSVFDVHVZZZSULPHFOHUNFRPLKHDUWPHGLD
        7KHORFDWLRQRI'HEWRUL+HDUW0HGLD,QF¶VSULQFLSDOSODFHRIEXVLQHVVDQGWKH'HEWRUV¶VHUYLFHDGGUHVV
        LQWKHVHFKDSWHUFDVHVLV6WRQH2DN3DUNZD\6DQ$QWRQLR7H[DV

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SRWHQWLDODGMXVWPHQWDQGUHIOHFWVWKH'HEWRUV¶UHDVRQDEOHHIIRUWVWRUHSRUWWKHDVVHWVDQGOLDELOLWLHV
RIHDFK'HEWRURQDQXQFRQVROLGDWHGEDVLV

         7KH 'HEWRUV DQG WKHLU DJHQWV DWWRUQH\V DQG DGYLVRUV GR QRW JXDUDQWHH RU ZDUUDQW WKH
DFFXUDF\RUFRPSOHWHQHVVRIWKHGDWDWKDWLVSURYLGHGKHUHLQDQGVKDOOQRWEHOLDEOHIRUDQ\ORVVRU
LQMXU\ DULVLQJ RXW RI RU FDXVHG LQ ZKROH RU LQ SDUW E\ WKH DFWV HUURUV RU RPLVVLRQV ZKHWKHU
QHJOLJHQW RU RWKHUZLVH LQ SURFXULQJ FRPSLOLQJ FROOHFWLQJ LQWHUSUHWLQJ UHSRUWLQJ
FRPPXQLFDWLQJ RU GHOLYHULQJWKH LQIRUPDWLRQFRQWDLQHGKHUHLQ:KLOHUHDVRQDEOHHIIRUWV KDYH
EHHQPDGHWRSURYLGHDFFXUDWHDQGFRPSOHWHLQIRUPDWLRQKHUHLQLQDGYHUWHQWHUURUVRURPLVVLRQV
PD\H[LVW7KH'HEWRUVDQGWKHLUDJHQWVDWWRUQH\VDQGDGYLVRUVH[SUHVVO\GRQRWXQGHUWDNHDQ\
REOLJDWLRQWRXSGDWHPRGLI\UHYLVHRUUHFDWHJRUL]HWKHLQIRUPDWLRQSURYLGHGKHUHLQRUWRQRWLI\
DQ\ WKLUG SDUW\ VKRXOG WKH LQIRUPDWLRQ EH XSGDWHG PRGLILHG UHYLVHG RU UHFDWHJRUL]HG  ,Q QR
HYHQWVKDOOWKH'HEWRUVRUWKHLUDJHQWVDWWRUQH\VDQGDGYLVRUVEHOLDEOHWRDQ\WKLUGSDUW\IRUDQ\
GLUHFWLQGLUHFWLQFLGHQWDOFRQVHTXHQWLDORUVSHFLDOGDPDJHVLQFOXGLQJGDPDJHVDULVLQJIURPWKH
GLVDOORZDQFH RI D SRWHQWLDO FODLP DJDLQVW WKH 'HEWRUV RU GDPDJHV WR EXVLQHVV UHSXWDWLRQ ORVW
EXVLQHVVRUORVWSURILWVZKHWKHUIRUHVHHDEOHRUQRWDQGKRZHYHUFDXVHGHYHQLIWKH'HEWRUVRU
WKHLUDJHQWVDWWRUQH\VDQGDGYLVRUVDUHDGYLVHGRIWKHSRVVLELOLW\RIVXFKGDPDJHV

        0U6FRWW +DPLOWRQ 6HQLRU 9LFH 3UHVLGHQW &KLHI $FFRXQWLQJ 2IILFHU DQG $VVLVWDQW
6HFUHWDU\ RI 'HEWRU L+HDUW0HGLD ,QF KDV VLJQHG HDFK RI WKH 6FKHGXOHV DQG 6WDWHPHQWV  0U
+DPLOWRQ LV DQ DXWKRUL]HG VLJQDWRU\ IRU HDFK RI WKH 'HEWRUV  ,Q UHYLHZLQJ DQG VLJQLQJ WKH
6FKHGXOHVDQG6WDWHPHQWV0U+DPLOWRQQHFHVVDULO\KDVUHOLHGXSRQWKHHIIRUWVVWDWHPHQWVDQG
UHSUHVHQWDWLRQVRIYDULRXVSHUVRQQHOHPSOR\HGE\WKH'HEWRUVDQGWKHLUDGYLVRUV0U+DPLOWRQ
KDVQRWDQGFRXOGQRWKDYHSHUVRQDOO\YHULILHGWKHDFFXUDF\RIHDFKVWDWHPHQWDQGUHSUHVHQWDWLRQ
FRQWDLQHGLQWKH6FKHGXOHVDQG6WDWHPHQWVLQFOXGLQJVWDWHPHQWVDQGUHSUHVHQWDWLRQVFRQFHUQLQJ
DPRXQWVRZHGWRFUHGLWRUVFODVVLILFDWLRQRIVXFKDPRXQWVDQGFUHGLWRUDGGUHVVHV

                                        *OREDO1RWHVDQG2YHUYLHZRI0HWKRGRORJ\

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            DQGDFFXUDWH6FKHGXOHVDQG6WDWHPHQWVEXWLQDGYHUWHQWHUURUVRURPLVVLRQVPD\H[LVW7KH
            'HEWRUVUHVHUYHDOOULJKWVWRLDPHQGRUVXSSOHPHQWWKH6FKHGXOHVDQG6WDWHPHQWVIURP
            WLPH WR WLPH LQ DOO UHVSHFWV DV PD\ EH QHFHVVDU\ RU DSSURSULDWH LQFOXGLQJ WKH ULJKW WR
            DPHQGWKH6FKHGXOHVDQG6WDWHPHQWVZLWKUHVSHFWWRWKHGHVFULSWLRQGHVLJQDWLRQRU'HEWRU
            DJDLQVWZKLFKDQ\FODLPDJDLQVWD'HEWRU³&ODLP´LVDVVHUWHGLLGLVSXWHRURWKHUZLVH
            DVVHUW RIIVHWV RU GHIHQVHV WR DQ\ &ODLP UHIOHFWHG LQ WKH 6FKHGXOHV DQG 6WDWHPHQWV DV WR
            DPRXQWOLDELOLW\SULRULW\VWDWXVRUFODVVLILFDWLRQLLLVXEVHTXHQWO\GHVLJQDWHDQ\&ODLP
            DV ³GLVSXWHG´ ³FRQWLQJHQW´ RU ³XQOLTXLGDWHG´ RU LY REMHFW WR WKH H[WHQW YDOLGLW\
            HQIRUFHDELOLW\SULRULW\RUDYRLGDELOLW\RIDQ\&ODLPUHJDUGOHVVRIZKHWKHURIVXFK&ODLP
            LV GHVLJQDWHG LQ WKH 6FKHGXOHV DQG 6WDWHPHQWV DV ³GLVSXWHG´ ³FRQWLQJHQW´ RU
            ³XQOLTXLGDWHG´  $Q\ IDLOXUH WR GHVLJQDWH D &ODLP LQ WKH 6FKHGXOHV DQG 6WDWHPHQWV DV
            ³GLVSXWHG´ ³FRQWLQJHQW´ RU ³XQOLTXLGDWHG´ GRHV QRW FRQVWLWXWH DQ DGPLVVLRQ E\ WKH
            'HEWRUV WKDW VXFK &ODLP RU DPRXQW LV QRW ³GLVSXWHG´ ³FRQWLQJHQW´ RU ³XQOLTXLGDWHG´

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        RIWKH%DQNUXSWF\&RGH

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        /LVWLQJD&ODLPGRHVQRWFRQVWLWXWHDQDGPLVVLRQRIOLDELOLW\E\WKH'HEWRUDJDLQVWZKLFK
        WKH&ODLPLVOLVWHGRUDJDLQVWDQ\RIWKH'HEWRUV)XUWKHUPRUHQRWKLQJFRQWDLQHGLQWKH
        6FKHGXOHVDQG6WDWHPHQWVVKDOOFRQVWLWXWHDZDLYHURIULJKWVZLWKUHVSHFWWRWKH'HEWRUV¶
        FKDSWHUFDVHVLQFOXGLQJLVVXHVLQYROYLQJ&ODLPVVXEVWDQWLYHFRQVROLGDWLRQGHIHQVHV
        HTXLWDEOHVXERUGLQDWLRQDQGRUFDXVHVRIDFWLRQDULVLQJXQGHUWKHSURYLVLRQVRIFKDSWHU
        RIWKH%DQNUXSWF\&RGHDQGDQ\RWKHUUHOHYDQWQRQEDQNUXSWF\ODZVWRUHFRYHUDVVHWVRU
        DYRLGWUDQVIHUV$Q\VSHFLILFUHVHUYDWLRQRUULJKWVFRQWDLQHGHOVHZKHUHLQWKH*OREDO1RWHV
        GRHVQRWOLPLWLQDQ\UHVSHFWWKHJHQHUDOUHVHUYDWLRQRIULJKWVFRQWDLQHGLQWKLVSDUDJUDSK
        1RWZLWKVWDQGLQJWKHIRUHJRLQJWKH'HEWRUVVKDOOQRWEHUHTXLUHGWRXSGDWHWKH6FKHGXOHV
        DQG6WDWHPHQWV

     'HVFULSWLRQRI&DVHVDQG³$V2I´,QIRUPDWLRQ'DWH2Q0DUFKWKH³3HWLWLRQ
        'DWH´WKH'HEWRUVILOHGYROXQWDU\SHWLWLRQVIRUUHOLHIXQGHUFKDSWHURIWKH%DQNUXSWF\
        &RGH

        7KHDVVHWLQIRUPDWLRQSURYLGHGKHUHLQUHSUHVHQWVWKHDVVHWGDWDRIWKH'HEWRUVDVRIWKH
        3HWLWLRQ 'DWH H[FHSW DV RWKHUZLVH QRWHG 7KH OLDELOLW\ LQIRUPDWLRQ SURYLGHG KHUHLQ
        UHSUHVHQWVWKHRXWVWDQGLQJSUHSHWLWLRQOLDELOLWLHVDVRIWKHGDWHRIILOLQJWKH6FKHGXOHV

     1HW %RRN 9DOXH RI $VVHWV  8QOHVV RWKHUZLVH LQGLFDWHG WKH 'HEWRUV¶ 6FKHGXOHV DQG
        6WDWHPHQWVUHIOHFWQHWERRNYDOXHVDVRI0DUFK7KHERRNYDOXHVRIFHUWDLQDVVHWV
        PD\PDWHULDOO\GLIIHUIURPWKHLUIDLUPDUNHWYDOXHVDQGRUWKH'HEWRUV¶HQWHUSULVHYDOXDWLRQ
        WKDWZLOOEHSUHSDUHGLQFRQQHFWLRQZLWKWKHGLVFORVXUHVWDWHPHQWWRWKH'HEWRUV¶FKDSWHU
        SODQRIUHRUJDQL]DWLRQ)RUWKHDYRLGDQFHRIGRXEWQRWKLQJFRQWDLQHGLQWKH6FKHGXOHV
        DQG6WDWHPHQWVLVLQGLFDWLYHRIWKH'HEWRUV¶HQWHUSULVHYDOXH

        %RRN YDOXHV RI DVVHWV SUHSDUHG LQ DFFRUGDQFH ZLWK *$$3 JHQHUDOO\ GR QRW UHIOHFW WKH
        FXUUHQWSHUIRUPDQFHRIWKHDVVHWVRUWKHLPSDFWRIWKHLQGXVWU\HQYLURQPHQWDQGPD\GLIIHU
        PDWHULDOO\IURPWKHDFWXDOYDOXHDQGRUSHUIRUPDQFHRIWKHXQGHUO\LQJDVVHWV

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        FKDUDFWHUL]HFODVVLI\FDWHJRUL]HRUGHVLJQDWHFHUWDLQ&ODLPVDVVHWVH[HFXWRU\FRQWUDFWV
        XQH[SLUHGOHDVHVDQGRWKHULWHPVUHSRUWHGLQWKH6FKHGXOHVDQG6WDWHPHQWVWKH'HEWRUV
        PD\ QHYHUWKHOHVV KDYH LPSURSHUO\ FKDUDFWHUL]HG FODVVLILHG FDWHJRUL]HG GHVLJQDWHG RU
        RPLWWHG FHUWDLQ LWHPV GXH WR WKH FRPSOH[LW\ DQG VL]H RI WKH 'HEWRUV¶ EXVLQHVVHV
        $FFRUGLQJO\ WKH 'HEWRUV UHVHUYH DOO RI WKHLU ULJKWV WR UHFKDUDFWHUL]H UHFODVVLI\
        UHFDWHJRUL]HUHGHVLJQDWHDGGRUGHOHWHLWHPVUHSRUWHGLQWKH6FKHGXOHVDQG6WDWHPHQWVDW
        D ODWHU WLPH DV LV QHFHVVDU\ RU DSSURSULDWH DV DGGLWLRQDO LQIRUPDWLRQ EHFRPHV DYDLODEOH
        LQFOXGLQJZKHWKHUFRQWUDFWVRUOHDVHVOLVWHGKHUHLQZHUHGHHPHGH[HFXWRU\RUXQH[SLUHG
        DVRIWKH3HWLWLRQ'DWHDQGUHPDLQH[HFXWRU\DQGXQH[SLUHGSRVWSHWLWLRQ

     /LDELOLWLHV 7KH 'HEWRUV KDYH VRXJKW WR DOORFDWH OLDELOLWLHV EHWZHHQ WKHSUHSHWLWLRQ DQG
        SRVWSHWLWLRQSHULRGVEDVHGRQWKHLQIRUPDWLRQDQGUHVHDUFKFRQGXFWHGLQFRQQHFWLRQZLWK
        WKH SUHSDUDWLRQ RI WKH 6FKHGXOHV DQG 6WDWHPHQWV  $V DGGLWLRQDO LQIRUPDWLRQ EHFRPHV
        DYDLODEOH DQG IXUWKHU UHVHDUFK LV FRQGXFWHG WKH DOORFDWLRQ RI OLDELOLWLHV EHWZHHQ WKH
        SUHSHWLWLRQDQGSRVWSHWLWLRQSHULRGVPD\FKDQJH$FFRUGLQJO\WKH'HEWRUVUHVHUYHDOORI


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        WKHLUULJKWVWRDPHQGVXSSOHPHQWRURWKHUZLVHPRGLI\WKH6FKHGXOHVDQG6WDWHPHQWVDVLV
        QHFHVVDU\RUDSSURSULDWH

     ([FOXGHG$VVHWVDQG/LDELOLWLHV7KH'HEWRUVKDYHH[FOXGHGFHUWDLQFDWHJRULHVRIDVVHWV
        WD[DFFUXDOVDQGOLDELOLWLHVIURPWKH6FKHGXOHVDQG6WDWHPHQWVLQFOXGLQJHPSOR\HHEHQHILW
        DFFUXDOVDQGLQVRPHLQVWDQFHVDFFUXHGDFFRXQWVSD\DEOH,QDGGLWLRQFHUWDLQLPPDWHULDO
        DVVHWVDQGOLDELOLWLHVPD\KDYHEHHQH[FOXGHG

        7KH %DQNUXSWF\ &RXUW KDV DXWKRUL]HG EXW QRW GLUHFWHG WKH 'HEWRUV WR SD\ LQ WKHLU
        GLVFUHWLRQ FHUWDLQ RXWVWDQGLQJ &ODLPV RQ D SRVWSHWLWLRQ EDVLV  $V GLVFXVVHG EHORZ
        SUHSHWLWLRQOLDELOLWLHVWKDWWKH'HEWRUVKDYHSDLGSRVWSHWLWLRQSXUVXDQWWRUHOLHIJUDQWHGE\
        WKHFRXUWPD\QRWEHOLVWHGLQWKH6FKHGXOHVDQG6WDWHPHQWV

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        SXUVXDQW WR VHFWLRQ  RI WKH %DQNUXSWF\ &RGH DV  D GLUHFWRUV E RIILFHUV
        FSHUVRQVLQFRQWURORIWKH'HEWRUVGUHODWLYHVRIWKH'HEWRUV¶GLUHFWRUVRIILFHUVRU
        SHUVRQV LQ FRQWURO RI WKH 'HEWRUV DQG H GHEWRUQRQGHEWRU DIILOLDWHV RI WKH IRUHJRLQJ
        3HUVRQV OLVWHG DV ³LQVLGHUV´ KDYH EHHQ LQFOXGHG IRU LQIRUPDWLRQDO SXUSRVHV RQO\ DQG E\
        LQFOXGLQJWKHPLQWKH6FKHGXOHVVKDOOQRWFRQVWLWXWHDQDGPLVVLRQWKDWWKRVHSHUVRQVDUH
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        GRQRWWDNHDQ\SRVLWLRQZLWKUHVSHFWWRDDQ\LQVLGHU¶VLQIOXHQFHRYHUWKHFRQWURORIWKH
        'HEWRUV E WKH PDQDJHPHQW UHVSRQVLELOLWLHV RU IXQFWLRQV RI DQ\ VXFK LQVLGHU F WKH
        GHFLVLRQPDNLQJRUFRUSRUDWHDXWKRULW\RIDQ\VXFKLQVLGHURUGZKHWKHUWKH'HEWRUVRU
        DQ\VXFKLQVLGHUFRXOGVXFFHVVIXOO\DUJXHWKDWKHRUVKHLVQRWDQ³LQVLGHU´XQGHUDSSOLFDEOH
        ODZRUZLWKUHVSHFWWRDQ\WKHRULHVRIOLDELOLW\RUIRUDQ\RWKHUSXUSRVH

     3HUVRQDO,GHQWLILFDWLRQ,QIRUPDWLRQ3XUVXDQWWRWKHOrder (I) Authorizing the Debtors
        to File a Consolidated List of Creditors and a Consolidated List of the 30 Largest
        Unsecured Creditors, (II) Authorizing the Debtors to Redact Certain Personal
        Identification Information, (III) Approving the Form and Manner of Notifying Creditors of
        the Commencement of These Chapter 11 Cases, and (IV) Granting Related Relief>'RFNHW
        1R@WKH'HEWRUVKDYHUHGDFWHGFHUWDLQSHUVRQDOLGHQWLILFDWLRQLQIRUPDWLRQFRQWDLQHG
        LQ WKH 6FKHGXOHV DQG 6WDWHPHQWV  3D\PHQWV PDGH WR LQGLYLGXDOV LQFOXGLQJ LQVLGHUV DV
        GLVFXVVHG DERYH DQG FHUWDLQ RWKHU LQVWDQFHV ZKHUH SHUVRQDOO\ LGHQWLILDEOH LQIRUPDWLRQ
        FRXOGRWKHUZLVHEHGLVFORVHGKDYHEHHQUHSRUWHGZLWKRXWGLVFORVLQJSHUVRQDOO\LGHQWLILDEOH
        LQIRUPDWLRQ,QDGGLWLRQSD\PHQWVWRRUIRUWKHEHQHILWRILQVLGHUVKDYHEHHQGLVFORVHGLQ
        DJJUHJDWH DPRXQWV ZLWKRXW VHSDUDWHO\ LGHQWLI\LQJ DPRXQWV SDLG WR D JLYHQ LQVLGHU RU
        RWKHUZLVHGLVFORVLQJSHUVRQDOO\LGHQWLILDEOHLQIRUPDWLRQ

     ,QWHOOHFWXDO 3URSHUW\ 5LJKWV  ([FOXVLRQ RI FHUWDLQ LQWHOOHFWXDO SURSHUW\ VKDOO QRW EH
        FRQVWUXHG DV DQ DGPLVVLRQ WKDW VXFK LQWHOOHFWXDO SURSHUW\ ULJKWV KDYH EHHQ DEDQGRQHG
        WHUPLQDWHGDVVLJQHGH[SLUHGE\WKHLUWHUPVRURWKHUZLVHWUDQVIHUUHGSXUVXDQWWRDVDOH
        DFTXLVLWLRQRURWKHUWUDQVDFWLRQ&RQYHUVHO\LQFOXVLRQRIFHUWDLQLQWHOOHFWXDOSURSHUW\VKDOO
        QRWEHFRQVWUXHGWREHDQDGPLVVLRQWKDWVXFKLQWHOOHFWXDOSURSHUW\ULJKWVKDYHQRWEHHQ
        DEDQGRQHGKDYHQRWEHHQWHUPLQDWHGRURWKHUZLVHH[SLUHGE\WKHLUWHUPVRUKDYHQRWEHHQ
        DVVLJQHGRURWKHUZLVHWUDQVIHUUHGSXUVXDQWWRDVDOHDFTXLVLWLRQRURWKHUWUDQVDFWLRQ7KH
        'HEWRUV KDYH PDGH HYHU\ HIIRUW WR DWWULEXWH LQWHOOHFWXDO SURSHUW\ WR WKH ULJKWIXO 'HEWRU

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        RZQHU+RZHYHULQVRPHLQVWDQFHVLQWHOOHFWXDOSURSHUW\RZQHGE\RQH'HEWRUPD\LQ
        IDFWEHRZQHGE\DQRWKHU$FFRUGLQJO\WKH'HEWRUVUHVHUYHDOORIWKHLUULJKWVZLWKUHVSHFW
        WRWKHOHJDOVWDWXVRIDQ\DQGDOOVXFKLQWHOOHFWXDOSURSHUW\ULJKWV

    ([HFXWRU\ &RQWUDFWV  $OWKRXJK WKH 'HEWRUV PDGH UHDVRQDEOH HIIRUWV WR DWWULEXWH DQ
        H[HFXWRU\ FRQWUDFW WR LWV ULJKWIXO 'HEWRU LQ FHUWDLQ LQVWDQFHV WKH 'HEWRUV PD\ KDYH
        LQDGYHUWHQWO\IDLOHGWRGRVRGXHWRWKHFRPSOH[LW\DQGVL]HRIWKH'HEWRUV¶EXVLQHVVHV
        $FFRUGLQJO\WKH'HEWRUVUHVHUYHDOORIWKHLUULJKWVZLWKUHVSHFWWRWKHQDPHGSDUWLHVRIDQ\
        DQGDOOH[HFXWRU\FRQWUDFWVLQFOXGLQJWKHULJKWWRDPHQG6FKHGXOH*

    &ODVVLILFDWLRQV/LVWLQJDD&ODLPRQ6FKHGXOH'DV³VHFXUHG´ED&ODLPRQ6FKHGXOH
        ()DV³SULRULW\´FD&ODLPRQ6FKHGXOH()DV³XQVHFXUHG´RUGDFRQWUDFWRQ6FKHGXOH
        *DV³H[HFXWRU\´RU³XQH[SLUHG´GRHVQRWFRQVWLWXWHDQDGPLVVLRQE\WKH'HEWRUVRIWKH
        OHJDOULJKWVRIWKHFODLPDQWRUDZDLYHURIWKH'HEWRUV¶ULJKWVWRUHFKDUDFWHUL]HRUUHFODVVLI\
        VXFK&ODLPVRUFRQWUDFWVRUWRVHWRIIRIVXFK&ODLPV

    &ODLPV'HVFULSWLRQ6FKHGXOHV'DQG()SHUPLWHDFKRIWKH'HEWRUVWRGHVLJQDWHD&ODLP
        DV³GLVSXWHG´³FRQWLQJHQW´DQGRU³XQOLTXLGDWHG´$Q\IDLOXUHWRGHVLJQDWHD&ODLPRQD
        JLYHQ'HEWRU¶V6FKHGXOHVDQG6WDWHPHQWVDV³GLVSXWHG´³FRQWLQJHQW´RU³XQOLTXLGDWHG´
        GRHV QRW FRQVWLWXWH DQ DGPLVVLRQ E\ WKDW 'HEWRU WKDW VXFK DPRXQW LV QRW ³GLVSXWHG´
        ³FRQWLQJHQW´RU³XQOLTXLGDWHG´RUWKDWVXFK&ODLPLVQRWVXEMHFWWRREMHFWLRQ7KH'HEWRUV
        UHVHUYHDOORIWKHLUULJKWVWRGLVSXWHRUDVVHUWRIIVHWVRUGHIHQVHVWRDQ\&ODLPUHIOHFWHGRQ
        WKHLU UHVSHFWLYH 6FKHGXOHV DQG 6WDWHPHQWV RQ DQ\ JURXQGV LQFOXGLQJ OLDELOLW\ RU
        FODVVLILFDWLRQ  $GGLWLRQDOO\ WKH 'HEWRUV H[SUHVVO\ UHVHUYH DOO RI WKHLU ULJKWV WR
        VXEVHTXHQWO\ GHVLJQDWH VXFK &ODLPV DV ³GLVSXWHG´ ³FRQWLQJHQW´ RU ³XQOLTXLGDWHG´
        0RUHRYHUOLVWLQJD&ODLPGRHVQRWFRQVWLWXWHDQDGPLVVLRQRIOLDELOLW\E\WKH'HEWRUV

    &DXVHVRI$FWLRQ'HVSLWHWKHLUUHDVRQDEOHHIIRUWVWRLGHQWLI\DOONQRZQDVVHWVWKH'HEWRUV
        PD\QRWKDYHOLVWHGDOORIWKHLUFDXVHVRIDFWLRQRUSRWHQWLDOFDXVHVRIDFWLRQDJDLQVWWKLUG
        SDUWLHV DV DVVHWV LQ WKH 6FKHGXOHV DQG 6WDWHPHQWV LQFOXGLQJ FDXVHV RI DFWLRQ WKDW DUH
        UHTXLUHGWREHNHSWFRQILGHQWLDODQGFDXVHVRIDFWLRQDULVLQJXQGHUWKHSURYLVLRQVRIFKDSWHU
        RIWKH%DQNUXSWF\&RGHDQGDQ\RWKHUUHOHYDQWQRQEDQNUXSWF\ODZVWRUHFRYHUDVVHWVRU
        DYRLGWUDQVIHUV7KH'HEWRUVUHVHUYHDOORIWKHLUULJKWVZLWKUHVSHFWWRDQ\FDXVHRIDFWLRQ
        LQFOXGLQJDYRLGDQFHDFWLRQVFRQWURYHUV\ULJKWRIVHWRIIFURVVFODLPFRXQWHUFODLPRU
        UHFRXSPHQWDQGDQ\FODLPRQFRQWUDFWVRUIRUEUHDFKHVRIGXWLHVLPSRVHGE\ODZRULQ
        HTXLW\GHPDQGULJKWDFWLRQOLHQLQGHPQLW\JXDUDQW\VXLWREOLJDWLRQOLDELOLW\GDPDJH
        MXGJPHQW DFFRXQW GHIHQVH SRZHU SULYLOHJH OLFHQVH DQG IUDQFKLVH RI DQ\ NLQG RU
        FKDUDFWHU ZKDWVRHYHU NQRZQ XQNQRZQ IL[HG RU FRQWLQJHQW PDWXUHG RU XQPDWXUHG
        VXVSHFWHGRUXQVXVSHFWHGOLTXLGDWHGRUXQOLTXLGDWHGGLVSXWHGRUXQGLVSXWHGVHFXUHGRU
        XQVHFXUHG DVVHUWDEOH GLUHFWO\ RU GHULYDWLYHO\ ZKHWKHU DULVLQJ EHIRUH RQ RU DIWHU WKH
        3HWLWLRQ'DWHLQFRQWUDFWRULQWRUWLQODZRULQHTXLW\RUSXUVXDQWWRDQ\RWKHUWKHRU\RI
        ODZFROOHFWLYHO\³&DXVHVRI$FWLRQ´WKH\PD\KDYHDQGQHLWKHUWKHVH*OREDO1RWHVQRU
        WKH6FKHGXOHVDQG6WDWHPHQWVVKDOOEHGHHPHGDZDLYHURIDQ\FODLPVRU&DXVHVRI$FWLRQ
        RULQDQ\ZD\SUHMXGLFHRULPSDLUWKHDVVHUWLRQRIVXFKFODLPVRU&DXVHVRI$FWLRQ

    6XPPDU\RI6LJQLILFDQW5HSRUWLQJ3ROLFLHV7KHIROORZLQJLVDVXPPDU\RIVLJQLILFDQW
        UHSRUWLQJSROLFLHV

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        x      8QGHWHUPLQHG$PRXQWV7KHGHVFULSWLRQRIDQDPRXQWDV³XQNQRZQ´³7%'´RU
                ³XQGHWHUPLQHG´LVQRWLQWHQGHGWRUHIOHFWXSRQWKHPDWHULDOLW\RIVXFKDPRXQW

        x      7RWDOV$OOWRWDOVWKDWDUHLQFOXGHGLQWKH6FKHGXOHVDQG6WDWHPHQWVUHSUHVHQWWRWDOV
                RIDOONQRZQDPRXQWV7RWKHH[WHQWWKHUHDUHXQNQRZQRUXQGHWHUPLQHGDPRXQWV
                WKHDFWXDOWRWDOPD\EHGLIIHUHQWWKDQWKHOLVWHGWRWDO

        x      3DLG &ODLPV  7KH 'HEWRUV ZHUH DXWKRUL]HG EXW QRW GLUHFWHG WR SD\ FHUWDLQ
                RXWVWDQGLQJ SUHSHWLWLRQ &ODLPV SXUVXDQW WR YDULRXV RUGHUV HQWHUHG E\ WKH
                %DQNUXSWF\ &RXUW  $FFRUGLQJO\ FHUWDLQ RXWVWDQGLQJ OLDELOLWLHV WKDW KDYH EHHQ
                UHGXFHGE\SRVWSHWLWLRQSD\PHQWVPDGHRQDFFRXQWRISUHSHWLWLRQOLDELOLWLHVKDYH
                EHHQGHVLJQDWHGDVFRQWLQJHQW7RWKHH[WHQWWKH'HEWRUVSD\DQ\RIWKH&ODLPV
                OLVWHG LQ WKH 6FKHGXOHV DQG 6WDWHPHQWV SXUVXDQW WR DQ\ RUGHUV HQWHUHG E\ WKH
                %DQNUXSWF\&RXUWWKH'HEWRUVUHVHUYHDOORIWKHLUULJKWVWRDPHQGRUVXSSOHPHQW
                WKH6FKHGXOHVDQG6WDWHPHQWVRUWDNHRWKHUDFWLRQDVLVQHFHVVDU\RUDSSURSULDWHWR
                DYRLGRYHUSD\PHQWRIRUGXSOLFDWHSD\PHQWVIRUDQ\VXFKOLDELOLWLHV

        x      8QNQRZQ'HEWRUV,QFHUWDLQLQVWDQFHVFRQWUDFWVGRQRWVSHFLI\DSDUWLFXODU'HEWRU
                RU LQFOXGH DQ LQFRUUHFW OHJDO HQWLW\ DV WKH FRQWUDFWXDO FRXQWHUSDUW\  ,Q DGGLWLRQ
                WKUHDWHQHGOLWLJDWLRQRQRFFDVLRQGRHVQRWLQGLFDWHWKHSRWHQWLDOO\OLDEOH'HEWRUV
                ,Q WKHVH LQVWDQFHV UHVSRQVHV KDYH EHHQ OLVWHG LQ WKH DSSURSULDWH 6WDWHPHQW RU
                6FKHGXOH DW L+HDUW0HGLD 0DQDJHPHQW 6HUYLFHV ,QF RXW RI DQ DEXQGDQFH RI
                FDXWLRQ

        x      %XVLQHVV 8QLW /HYHO  7KH 'HEWRUV KDYH FUHDWHG EXVLQHVV XQLWV WKDW IXQFWLRQ DV
                SURILWDQGFRVWFHQWHUVIRUSXUSRVHVRIUHFRUGLQJILQDQFLDODFWLYLWLHV%XVLQHVVXQLWV
                KDYH EHHQ KLVWRULFDOO\ WUHDWHG DV GLVFUHWHHQWLWLHV IRUDFFRXQWLQJ SXUSRVHV EXW
                VXFK EXVLQHVVXQLWVDUH QRW VHSDUDWH OHJDO HQWLWLHV7KXVEXVLQHVVXQLWVKDYH EHHQ
                FRPELQHG ZLWKLQ WKH UHOHYDQW 'HEWRU HQWLW\ IRU SXUSRVHV RI UHSRUWLQJ LQ WKH
                6WDWHPHQWVDQG6FKHGXOHV

        x      /LHQV3URSHUW\DQGHTXLSPHQWOLVWHGLQWKH6FKHGXOHVDQG6WDWHPHQWVDUHSUHVHQWHG
                ZLWKRXW FRQVLGHUDWLRQ RI DQ\ OLHQV WKDW PD\ DWWDFK RU KDYH DWWDFKHG WR VXFK
                SURSHUW\DQGHTXLSPHQW

    &XUUHQF\$OODPRXQWVDUHUHIOHFWHGLQ86GROODUV

    ,QWHUFRPSDQ\ 3D\DEOHV DQG 5HFHLYDEOHV  ,QWHUFRPSDQ\ SD\DEOHVDQG UHFHLYDEOHV
        EHWZHHQ WKH 'HEWRUV DV RI WKH 3HWLWLRQ 'DWH DUH VHW IRUWK RQ 6FKHGXOH () RU 6FKHGXOH
        $%DVDSSOLFDEOH

         $V GHVFULEHG PRUH IXOO\ LQ WKH Debtors’ Emergency Motion for Entry of Interim and
         Final Orders (I) Authorizing the Debtors to (A) Continue to Operate Their Cash
         Management System and Maintain Existing Bank Accounts and (B) Continue to Perform
         Intercompany Transactions and (III) Granting Related Relief >'RFNHW 1R @
         WKH³&DVK 0DQDJHPHQW 0RWLRQ´ WKH 'HEWRUV HQJDJH LQ D UDQJH RI LQWHUFRPSDQ\
         WUDQVDFWLRQVLQWKHRUGLQDU\FRXUVHRIEXVLQHVV3XUVXDQWWRWKHRUGHUJUDQWLQJWKHUHOLHI
         UHTXHVWHG LQ WKH&DVK0DQDJHPHQW0RWLRQ>'RFNHW1R@WKH³&DVK0DQDJHPHQW

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         2UGHU´ WKH %DQNUXSWF\ &RXUW KDV JUDQWHG WKH 'HEWRUV DXWKRULW\ WR FRQWLQXH WKH
         LQWHUFRPSDQ\WUDQVDFWLRQV LQ WKH RUGLQDU\ FRXUVH RI EXVLQHVV 

         ,QWHUFRPSDQ\WUDQVDFWLRQVDPRQJVWWKH'HEWRUVWKDWUHVXOWIURPRSHUDWLRQVDUHUHFRUGHG
         LQWKH'HEWRUV¶ERRNVDQGUHFRUGVLQLQWHUFRPSDQ\DFFRXQWVUHFHLYDEOHDWWKHEXVLQHVV
         XQLWOHYHO$V SUHYLRXVO\ GLVFXVVHG WKHVH EXVLQHVV XQLWV FRPELQH LQWR  VSHFLILF OHJDO
         HQWLWLHV 1HDUO\ DOO WUDQVDFWLRQV SHUIRUPHG E\ WKH 'HEWRUV UHVXOW LQ DQ LQWHUFRPSDQ\
         WUDQVDFWLRQZKLFKDUHDFFUHWLYHWRSULRUEDODQFHVUHFRUGHGLQWKH'HEWRUV¶ERRNV DQG
         UHFRUGV$VGLVFXVVHGLQWKH&DVK0DQDJHPHQW0RWLRQDOOIXQGVWKDWHQWHUWKH'HEWRUV¶
         FDVKPDQDJHPHQWV\VWHPDUHKHOGLQDQDFFRXQWRZQHGE\L+HDUW0HGLD0DQDJHPHQW
         6HUYLFHV,QF*LYHQWKHFRQFHQWUDWLRQRIIXQGVUHFHLYHGRQEHKDOIRIDOO'HEWRUVLQWRDQ
         DFFRXQW RZQHG E\ L+HDUW0HGLD 0DQDJHPHQW 6HUYLFHV ,QF DQG WKH VXEVHTXHQW
         GLVWULEXWLRQRIIXQGVWKHUHIURPIRUWKHEHQHILWRIDOO'HEWRUVRUWRDFFRXQWVRZQHGE\
         RWKHU'HEWRUVIRUSXUSRVHVRISUHVHQWDWLRQRILQWHUFRPSDQ\EDODQFHVWKH'HEWRUV¶KDYH
         DWWULEXWHG DOO UHFHLYDEOH DQG SD\DEOH SRVLWLRQV RI WKH 'HEWRUV WR L+HDUW0HGLD
         0DQDJHPHQW 6HUYLFHV ,QF IRU LOOXVWUDWLYH SXUSRVHV VROHO\ IRU WKH SXUSRVHV RI WKH
         6FKHGXOHVDQG6WDWHPHQWV

         ,Q DGGLWLRQ WR LQWHUFRPSDQ\ WUDQVDFWLRQV WKDW UHVXOW IURP RSHUDWLRQV WKH 'HEWRUV
         PDLQWDLQFHUWDLQQRWHVSD\DEOHZKLFKUHIOHFWGRFXPHQWHGDJUHHPHQWVDPRQJVWFHUWDLQ
         OHJDOHQWLWLHVRIWKH'HEWRUV)RUSXUSRVHVRISUHVHQWDWLRQWKHVHDPRXQWVDUHVKRZQDV
         SD\DEOHVWRRUUHFHLYDEOHVIURPWKRVHOHJDOHQWLWLHVVSHFLILHGLQWKHDJUHHPHQWV

         ,Q FRQQHFWLRQ ZLWK WKH FDVK PDQDJHPHQW DUUDQJHPHQWV IRU &OHDU &KDQQHO 2XWGRRU
         +ROGLQJV,QF³&&2+´WKH'HEWRUVPDLQWDLQDQLQWHUFRPSDQ\UHYROYLQJSURPLVVRU\
         QRWH SD\DEOH WR &&2+ WKH ³,QWHUFRPSDQ\ 1RWH´ ZKLFK PDWXUHV RQ 0D\ 
         3XUVXDQWWRWKH&DVK0DQDJHPHQW2UGHUDVRI0DUFKWKHSUHSHWLWLRQ
         EDODQFHRIWKH,QWHUFRPSDQ\1RWHKDVEHHQIUR]HQ

         7KH OLVWLQJ E\ WKH 'HEWRUV RI DQ\ DFFRXQW EHWZHHQ D 'HEWRU DQG DQRWKHU 'HEWRU
         RU EHWZHHQ D 'HEWRU DQG D QRQ'HEWRU DIILOLDWH LV D VWDWHPHQW RI ZKDW DSSHDUV LQ D
         SDUWLFXODU 'HEWRU¶V ERRNV DQG UHFRUGV DQG GRHV QRW UHIOHFW DQ\ DGPLVVLRQ RU
         FRQFOXVLRQ RI WKH'HEWRUV UHJDUGLQJ WKH DOORZDQFH FODVVLILFDWLRQ FKDUDFWHUL]DWLRQ
         YDOLGLW\RUSULRULW\RIVXFK DFFRXQW7KH 'HEWRUV WDNH QR SRVLWLRQ LQ WKHVH 6FKHGXOHV
         DQG 6WDWHPHQWV DVWRZKHWKHUVXFKDFFRXQWVZRXOGEHDOORZHGDVD&ODLPDQ,QWHUHVW
         RU QRW DOORZHG DW DOO7KH'HEWRUVUHVHUYHDOOULJKWVZLWKUHVSHFWWRVXFKDFFRXQWV 

    6HWRIIV7KH'HEWRUVSHULRGLFDOO\LQFXUFHUWDLQVHWRIIVLQWKHRUGLQDU\FRXUVHRIEXVLQHVV

        6HWRIIVLQWKHRUGLQDU\FRXUVHFDQUHVXOWIURPYDULRXVLWHPVLQFOXGLQJEXWQRWOLPLWHGWR
        LQWHUFRPSDQ\ WUDQVDFWLRQV SULFLQJ GLVFUHSDQFLHV UHWXUQV ZDUUDQWLHV FUHGLWV UHIXQGV
        QHJRWLDWLRQV DQGRU GLVSXWHV EHWZHHQ WKH 'HEWRUV DQG WKHLU YHQGRUV RU FXVWRPHUV DQG
        RWKHUGLVSXWHVEHWZHHQWKH'HEWRUVDQGWKHLUFXVWRPHUVDQGRUVXSSOLHUV7KHVHQRUPDO
        VHWRIIVDUHFRQVLVWHQWZLWKWKHRUGLQDU\FRXUVHRIEXVLQHVVLQWKH'HEWRUV¶LQGXVWU\DQGFDQ
        EHSDUWLFXODUO\YROXPLQRXVPDNLQJLWXQGXO\EXUGHQVRPHDQGFRVWO\IRUWKH'HEWRUVWROLVW
        VXFKRUGLQDU\FRXUVHVHWRIIV7KHUHIRUHDOWKRXJKVXFKVHWRIIVDQGRWKHUVLPLODUULJKWVPD\
        KDYHEHHQDFFRXQWHGIRUZKHQVFKHGXOLQJFHUWDLQDPRXQWVWKHVHRUGLQDU\FRXUVHVHWRIIV
        DUHQRWLQGHSHQGHQWO\DFFRXQWHGIRUDQGDVVXFKDUHRUPD\EHH[FOXGHGIURPWKH'HEWRUV¶
        6FKHGXOHVDQG6WDWHPHQWV

    *OREDO1RWHV&RQWURO,QWKHHYHQWWKDWWKH6FKHGXOHVDQG6WDWHPHQWVGLIIHUIURPWKHVH
        *OREDO1RWHVWKH*OREDO1RWHVVKDOOFRQWURO
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                   6SHFLILF'LVFORVXUHVZLWK5HVSHFWWRWKH'HEWRUV¶6FKHGXOHV

6FKHGXOHV 6XPPDU\  ([FHSW DV RWKHUZLVH QRWHG WKH DVVHW DQG OLDELOLW\ LQIRUPDWLRQ SURYLGHG
KHUHLQUHSUHVHQWVWKH'HEWRUV¶DVVHWVDQGOLDELOLWLHVDVRIWKH3HWLWLRQ'DWH

)RUILQDQFLDOUHSRUWLQJSXUSRVHVWKH'HEWRUVDQGFHUWDLQRIWKHLUQRQ'HEWRUDIILOLDWHVRUGLQDULO\
SUHSDUH FRQVROLGDWHG ILQDQFLDO VWDWHPHQWV  8QOLNH WKH FRQVROLGDWHG ILQDQFLDO VWDWHPHQWV WKH
6FKHGXOHVUHIOHFWWKHDVVHWVDQGOLDELOLWLHVRIHDFK'HEWRURQDQRQFRQVROLGDWHGEDVLV$FFRUGLQJO\
WKH WRWDOV OLVWHG LQ WKH 6FKHGXOHV ZLOO OLNHO\ GLIIHU DW WLPHV PDWHULDOO\ IURP WKH FRQVROLGDWHG
ILQDQFLDOUHSRUWVSUHSDUHGE\WKH'HEWRUVIRUILQDQFLDOUHSRUWLQJSXUSRVHVRURWKHUZLVH

7KH6FKHGXOHVGRQRWSXUSRUWWRUHSUHVHQWILQDQFLDOVWDWHPHQWVSUHSDUHGLQDFFRUGDQFHZLWK*$$3
QRUDUHWKH\LQWHQGHGWREHIXOO\UHFRQFLOHGZLWKWKHILQDQFLDOVWDWHPHQWVRIHDFK'HEWRU&HUWDLQ
ZULWHGRZQV LPSDLUPHQWV DQG RWKHU DFFRXQWLQJ DGMXVWPHQWV PD\ QRW EH UHIOHFWHG LQ WKH
6FKHGXOHV$GGLWLRQDOO\WKH6FKHGXOHVFRQWDLQXQDXGLWHGLQIRUPDWLRQWKDWLVVXEMHFWWRIXUWKHU
UHYLHZDQGSRWHQWLDODGMXVWPHQWDQGUHIOHFWWKH'HEWRUV¶UHDVRQDEOHEHVWHIIRUWVWRUHSRUWWKHDVVHWV
DQGOLDELOLWLHVRIHDFK'HEWRURQDQXQFRQVROLGDWHGEDVLV0RUHRYHUJLYHQDPRQJRWKHUWKLQJV
WKHXQFHUWDLQW\VXUURXQGLQJWKHFROOHFWLRQDQGRZQHUVKLSRIFHUWDLQDVVHWVDQGWKHYDOXDWLRQDQG
QDWXUHRIFHUWDLQOLDELOLWLHVWRWKHH[WHQWWKDWD'HEWRUVKRZVPRUHDVVHWVWKDQOLDELOLWLHVWKLVLVQRW
DQDGPLVVLRQWKDWWKH'HEWRUZDVVROYHQWDVRIWKH3HWLWLRQ'DWHRUDWDQ\WLPHEHIRUHWKH3HWLWLRQ
'DWH/LNHZLVHWRWKHH[WHQWD'HEWRUVKRZVPRUHOLDELOLWLHVWKDQDVVHWVWKLVLVQRWDQDGPLVVLRQ
WKDWWKH'HEWRUZDVLQVROYHQWDVRIWKH3HWLWLRQ'DWHRUDWDQ\WLPHEHIRUHWKH3HWLWLRQ'DWH

6FKHGXOH$%7KHEDQNDFFRXQWEDODQFHVOLVWHGDUHDVRIWKH3HWLWLRQ'DWHDQGPD\YDU\IURP
ERRNEDODQFHV:KLOHFHUWDLQLQGLYLGXDODFFRXQWVPD\EHOLVWHGLQ6FKHGXOH$%ZLWKDQHJDWLYH
EDODQFHWKH'HEWRUVDQGWKHLUEDQNVYLHZWKHFDVKSRRODVDVLQJOHDJJUHJDWHGV\VWHPZKLFKKDV
DQHWSRVLWLYHEDODQFH$FFRXQWVOLVWHGLQFOXGHDYDULHW\RIW\SHVLQFOXGLQJRQHDFFRXQWDW)LGHOLW\
HQGLQJLQ[ZKLFKKROGVDVVHWVIRUWKH'HEWRUV¶GHIHUUHGFRPSHQVDWLRQSODQ

6FKHGXOH$%7KH'HEWRUVRZQRYHU85/QDPHVVRPHRIZKLFKWKH\GRQRWXVH7KH
'HEWRUVKDYHQRWOLVWHGDOOVXFK85/QDPHVJLYHQWKHYROXPLQRXVDPRXQWRILQIRUPDWLRQEXWGR
QRWGLVFODLPDQ\RZQHUVKLSULJKWVRYHUVXFK85/QDPHVZKLFKULJKWVDUHKHUHE\UHVHUYHG)RU
DQ\85/VOLVWHGIRUZKLFKRZQHUVKLSFRXOGQRWEHGHWHUPLQHGL+0,GHQWLW\,QFZDVDVVLJQHGDV
WKHRZQHU

6FKHGXOH $%  7KH 'HEWRUV DOORFDWH DOO DFFRXQWV UHFHLYDEOH DWWULEXWDEOH WR UDGLR VWDWLRQ
RSHUDWLRQV DW L+HDUW0HGLD 0DQDJHPHQW 6HUYLFHV ,QF ZKLOH WKH FRUUHVSRQGLQJ DOORZDQFH IRU
GRXEWIXO DFFRXQWV UHPDLQV RQ WKH ERRNV RI WKH 'HEWRU HQWLW\ WKDW RSHUDWHV WKH DSSOLFDEOH UDGLR
VWDWLRQV

6FKHGXOH $%  (TXLW\ LQWHUHVWV LQ VXEVLGLDULHV DQG DIILOLDWHV SULPDULO\ DULVH IURP FRPPRQ
VWRFNRZQHUVKLSRUPHPEHURUSDUWQHUVKLSLQWHUHVWV)RUSXUSRVHVRIWKHVH6FKHGXOHVWKH'HEWRUV
KDYHOLVWHGDQXQGHWHUPLQHGYDOXHIRUWKHHTXLW\LQWHUHVWVRIDOOVXEVLGLDULHVDQGDIILOLDWHV1RWKLQJ
LQWKHVH6FKHGXOHVLVDQDGPLVVLRQE\RUFRQFOXVLRQRIWKH'HEWRUVUHJDUGLQJWKHYDOXHRIVXFK
VXEVLGLDU\DQGDIILOLDWHHTXLW\LQWHUHVWVZKLFKXQGHUFHUWDLQIDLUPDUNHWRUHQWHUSULVHYDOXDWLRQ
DQDO\VHVPD\KDYHYDOXH7KHERRNYDOXHVRIFHUWDLQDVVHWVPD\PDWHULDOO\GLIIHUIURPWKHLUIDLU


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PDUNHW YDOXHV DQGRU WKH 'HEWRUV¶ HQWHUSULVH YDOXDWLRQ WR EH SUHSDUHG LQ FRQQHFWLRQ ZLWK WKH
'LVFORVXUH6WDWHPHQW

,QWKHRUGLQDU\FRXUVHRIEXVLQHVVWKH'HEWRUVHQJDJHLQEDUWHUUHODWLRQVKLSVE\ZKLFKWKH\RIIHU
PHGLDRUDGYHUWLVLQJVSDFHLQH[FKDQJHIRUHTXLW\LQWKHFRPSDQ\WKDWZLOOXWLOL]HWKHPHGLDRU
DGYHUWLVLQJVSDFH)RUSXUSRVHVRIWKHVH6FKHGXOHVWKH'HEWRUVKDYHOLVWHGDQXQGHWHUPLQHGYDOXH
IRUWKHVHHTXLW\LQWHUHVWV1RWKLQJLQWKHVH6FKHGXOHVLVDQDGPLVVLRQRUFRQFOXVLRQRIWKH'HEWRUV
UHJDUGLQJWKHYDOXHRIHDFKHTXLW\LQWHUHVW

%RRN YDOXHV RI DVVHWV SUHSDUHG LQ DFFRUGDQFH ZLWK *$$3 JHQHUDOO\ GR QRW UHIOHFW WKH FXUUHQW
SHUIRUPDQFHRIWKHDVVHWVRUWKHLPSDFWRIWKHLQGXVWU\HQYLURQPHQWDQGPD\GLIIHUPDWHULDOO\IURP
WKHDFWXDOYDOXHDQGRUSHUIRUPDQFHRIWKHXQGHUO\LQJDVVHWV$VVXFKWKHYDOXHOLVWHGLQWKHVH
6FKHGXOHV DQG 6WDWHPHQWV FDQQRW EH DQG ZDV QRW XVHG WR GHWHUPLQH WKH 'HEWRUV¶ HQWHUSULVH
YDOXDWLRQ

6FKHGXOH$%,WZRXOGEHWLPHFRQVXPLQJDQLQHIILFLHQWXVHRIWKH'HEWRUV¶UHVRXUFHVRU
RWKHUZLVH LPSUDFWLFDEOH WR UHYLHZ DQG GHWHUPLQH WKHMXULVGLFWLRQDOWUHDWPHQW IRU HDFK SLHFH RI
SURSHUW\ OLVWHG RQ 6FKHGXOH $%  &RQVHTXHQWO\ WKH 'HEWRUV WDNH QR SRVLWLRQ DV WR WKH WD[
WUHDWPHQWIRUSURSHUW\OLVWHGRQWKLVVFKHGXOH

6FKHGXOH $% 7KLV DPRXQW LQFOXGHV DOO 12/V RI WKH FRQVROLGDWHG WD[ JURXS RI ZKLFK
L+HDUW0HGLD,QFLVWKHSDUHQWLQFOXGLQJFHUWDLQDPRXQWVWKDWXQGHUWKHDSSOLFDEOHFRQVROLGDWHG
WD[UHWXUQUXOHVDUHDWWULEXWDEOHWRQRQ'HEWRUVXEVLGLDULHV

6FKHGXOH$%7KHOLVWLQJE\WKH'HEWRUVRIDQ\DFFRXQWEHWZHHQD'HEWRUDQGDQRWKHU'HEWRU
RUEHWZHHQD'HEWRUDQGDQRQ'HEWRUVXEVLGLDU\RUDIILOLDWHLVDVWDWHPHQWRIZKDWDSSHDUVLQD
SDUWLFXODU 'HEWRU¶V ERRNV DQG UHFRUGV DQG GRHV QRW UHIOHFW DQ\ DGPLVVLRQ RU FRQFOXVLRQ RI WKH
'HEWRUV UHJDUGLQJ WKH DOORZDQFH FODVVLILFDWLRQ FKDUDFWHUL]DWLRQ YDOLGLW\ RU SULRULW\ RI VXFK
DFFRXQW  7KH 'HEWRUV WDNH QR SRVLWLRQ LQ WKHVH 6FKHGXOHV DQG 6WDWHPHQWV DV WR ZKHWKHU VXFK
DFFRXQWV ZRXOG EH DOORZHG DV D &ODLPDQ,QWHUHVWRUQRWDOORZHGDWDOO7KH'HEWRUVDQG DOO
SDUWLHVLQLQWHUHVWUHVHUYHDOOULJKWVZLWKUHVSHFWWRVXFKDFFRXQWV

6FKHGXOH'7KH'HEWRUVKDYHQRWLQFOXGHGSDUWLHVWKDWPD\EHOLHYHWKHLU&ODLPVDUHVHFXUHG
WKURXJKVHWRIIULJKWVLQFKRDWHVWDWXWRU\OLHQULJKWVRURWKHUOLHQULJKWVFUHDWHGE\WKHODZVRIWKH
YDULRXVMXULVGLFWLRQVLQZKLFKWKH'HEWRUVRSHUDWH9DULRXV'HEWRUVDUHERUURZHUVDQGFHUWDLQRI
WKH RWKHU 'HEWRUV DUH JXDUDQWRUV XQGHU SUHSHWLWLRQVHFXUHG IXQGHG GHEW REOLJDWLRQV  $OWKRXJK
WKHUHDUHQXPHURXVEHQHILFLDOKROGHUVRIVXFKGHEWRQO\WKHDGPLQLVWUDWLYHDJHQWVKDYHEHHQOLVWHG
IRU SXUSRVHV RI 6FKHGXOH ' ZKHUH DSSOLFDEOH  )RU WKH DYRLGDQFH RI GRXEW WKH IXQGHG GHEW
DPRXQWVOLVWHGLQ6FKHGXOH'LQFOXGHREOLJDWLRQVZKHUHWKHEHQHILFLDOKROGHULVDQRWKHU'HEWRU
7KHDPRXQWVRXWVWDQGLQJXQGHUWKH'HEWRUV¶SUHSHWLWLRQVHFXUHGGHEWUHIOHFWDSSUR[LPDWHDPRXQWV
DVRIWKH3HWLWLRQ'DWH

'HVFULSWLRQV SURYLGHG RQ 6FKHGXOH ' DUH LQWHQGHG RQO\ WR EH D VXPPDU\  5HIHUHQFH WR WKH
DSSOLFDEOHORDQDJUHHPHQWVDQGUHODWHGGRFXPHQWVLVQHFHVVDU\IRUDFRPSOHWHGHVFULSWLRQRIWKH
FROODWHUDODQGWKHQDWXUHH[WHQWDQGSULRULW\RIDQ\OLHQV

6FKHGXOH()7KHOLVWLQJE\WKH'HEWRUVRIDQ\DFFRXQWEHWZHHQD'HEWRUDQGDQRWKHU'HEWRURU
EHWZHHQ D 'HEWRU DQG D QRQ'HEWRU VXEVLGLDU\ RU DIILOLDWH LV D VWDWHPHQW RI ZKDW DSSHDUV LQ D
                                                    
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SDUWLFXODU 'HEWRU¶V ERRNV DQG UHFRUGV DQG GRHV QRW UHIOHFW DQ\ DGPLVVLRQ RU FRQFOXVLRQ RI WKH
'HEWRUV UHJDUGLQJ WKH DOORZDQFH FODVVLILFDWLRQ FKDUDFWHUL]DWLRQ YDOLGLW\ RU SULRULW\ RI VXFK
DFFRXQW  7KH 'HEWRUV WDNH QR SRVLWLRQ LQ WKHVH 6FKHGXOHV DQG 6WDWHPHQWV DV WR ZKHWKHU VXFK
DFFRXQWV ZRXOG EH DOORZHG DV D &ODLPDQ,QWHUHVWRUQRWDOORZHGDWDOO7KH'HEWRUVDQG DOO
SDUWLHVLQLQWHUHVWUHVHUYHDOOULJKWVZLWKUHVSHFWWRVXFKDFFRXQWV9DULRXV'HEWRUVDUHERUURZHUV
DQGFHUWDLQRIWKHRWKHU'HEWRUVDUHJXDUDQWRUVXQGHUSUHSHWLWLRQIXQGHGREOLJDWLRQV$OWKRXJK
WKHUHDUHQXPHURXVEHQHILFLDOKROGHUVRIVXFKGHEWRQO\WKHDGPLQLVWUDWLYHDJHQWVDQGLQGHQWXUH
WUXVWHHVDVDSSOLFDEOHKDYHEHHQOLVWHGIRUSXUSRVHVRI6FKHGXOH()ZKHUHDSSOLFDEOH)RUWKH
DYRLGDQFHRIGRXEWWKHIXQGHGGHEWDPRXQWVOLVWHGLQ6FKHGXOH()LQFOXGHREOLJDWLRQVZKHUHWKH
EHQHILFLDOKROGHULVDQRWKHU'HEWRU

7KHFODLPVRILQGLYLGXDOFUHGLWRUVIRUDPRQJRWKHUWKLQJVJRRGVSURGXFWVVHUYLFHVFXVWRPHU
UHIXQGVRUWD[HVDUHOLVWHGDVWKHDPRXQWVHQWHUHGRQWKH'HEWRUV¶ERRNVDQGUHFRUGVDQGPD\QRW
UHIOHFW FUHGLWV DOORZDQFHV RU RWKHU DGMXVWPHQWV GXH IURP VXFK FUHGLWRUV WR WKH 'HEWRUV  7KH
'HEWRUVUHVHUYHDOORIWKHLUULJKWVZLWKUHJDUGWRVXFKFUHGLWVDOORZDQFHVDQGRWKHUDGMXVWPHQWV
LQFOXGLQJWKHULJKWWRDVVHUWFODLPVREMHFWLRQVDQGRUVHWRIIVZLWKUHVSHFWWRWKHVDPH

8QGHU WKH Order (I) Authorizing the Payment of Certain Prepetition Taxes and Fees, and
(II) Granting Related Relief >'RFNHW1R@WKH³7D[2UGHU´WKH%DQNUXSWF\&RXUWJUDQWHG
WKH'HEWRUVDXWKRULW\WRSD\WKHSUHSHWLWLRQ&ODLPVRIUHJXODWRU\DXWKRULWLHVRQDFFRXQWRIWD[HV
DQGIHHV7KHDPRXQWVDFFUXHGDQGSD\DEOHRQDFFRXQWRIVXFK&ODLPVPD\QRWEHUHIOHFWHGRQ
WKH6FKHGXOH()

8QGHUWKHFinal Order (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Salaries, Other
Compensation, and Reimbursable Expenses, and (B) Continue Employee Benefits Programs and
(II) Granting Related Relief >'RFNHW1R@WKH³:DJHV2UGHU´WKH%DQNUXSWF\&RXUWJUDQWHG
WKH'HEWRUVDXWKRULW\WRSD\RUKRQRUFHUWDLQSUHSHWLWLRQREOLJDWLRQVIRUHPSOR\HHZDJHVVDODULHV
DQG RWKHU FRPSHQVDWLRQ UHLPEXUVDEOH HPSOR\HH H[SHQVHV DQG HPSOR\HH PHGLFDO DQG VLPLODU
EHQHILWV7KH'HEWRUVKDYHQRWOLVWHGRQ6FKHGXOH()DQ\ZDJHRUZDJHUHODWHGREOLJDWLRQVWKDW
WKH 'HEWRUV KDYH SDLG SRVWSHWLWLRQ SXUVXDQW WR UHOLHI JUDQWHG E\ FRXUW RUGHU HQWHUHG E\ WKH
%DQNUXSWF\&RXUW

8QGHUWKHFinal Order (I) Authorizing the Debtors to Honor Certain Prepetition Obligations to
Customers and Continue Certain Customer Programs in the Ordinary Course of Business and
(II) Granting Related Relief >'RFNHW 1R @ WKH %DQNUXSWF\ &RXUW JUDQWHG WKH 'HEWRUV WKH
DXWKRULW\ WR SD\ KRQRU RU PDLQWDLQ LWV FXVWRPHU SURJUDPV i.e. DG VDOH REOLJDWLRQV FXVWRPHU
UHIXQGREOLJDWLRQVSUHSDLGHYHQWDQGQHZVOHWWHUREOLJDWLRQVDQGVRIWZDUHDQGGDWDREOLJDWLRQV
7KH'HEWRUVKDYHQRWOLVWHGRQ6FKHGXOH()DQ\FXVWRPHURUFXVWRPHUUHODWHGREOLJDWLRQVWKDWWKH
'HEWRUVKDYHSDLGSRVWSHWLWLRQSXUVXDQWWRUHOLHIJUDQWHGE\FRXUWRUGHUHQWHUHGE\WKH%DQNUXSWF\
&RXUW

8QGHU WKH Final Order (I) Authorizing the Debtors to Pay or Honor Prepetition Claims and
Obligations of On-Air Talent, Station Affiliates, and Copyright Owners and (II) Granting Related
Relief>'RFNHW1R@WKH%DQNUXSWF\&RXUWJUDQWHGWKH'HEWRUVWKHDXWKRULW\WRSD\RUKRQRU
REOLJDWLRQV ZLWK UHVSHFW WR LWV RQDLU WDOHQW i.e. SD\LQJ WDOHQW VHUYLFH IHHV UHYHQXH VKDULQJ
SD\PHQWVSD\PHQWVGXHXQGHUDIILOLDWHFRQWUDFWVREOLJDWLRQVUHODWHGWRWKH.DW]EXVLQHVVDQG
UR\DOW\ REOLJDWLRQV 7KH 'HEWRUV KDYH QRW OLVWHG RQ 6FKHGXOH () DQ\ 2Q$LU 7DOHQW 6WDWLRQ

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$IILOLDWHRU&RS\ULJKWREOLJDWLRQVWKDWWKH'HEWRUVKDYHSDLGSRVWSHWLWLRQSXUVXDQWWRUHOLHIJUDQWHG
E\FRXUWRUGHUHQWHUHGE\WKH%DQNUXSWF\&RXUW

6FKHGXOH()GRHVQRWLQFOXGHFHUWDLQGHIHUUHGFKDUJHVGHIHUUHGOLDELOLWLHVDFFUXDOVRUJHQHUDO
UHVHUYHV6XFKDPRXQWVDUHKRZHYHUUHIOHFWHGRQWKH'HEWRUV¶ERRNVDQGUHFRUGVDVUHTXLUHGLQ
DFFRUGDQFHZLWK*$$36XFKDFFUXDOVDUHJHQHUDOHVWLPDWHVRIOLDELOLWLHVDQGGRQRWUHSUHVHQW
VSHFLILF &ODLPV DV RI WKH 3HWLWLRQ 'DWH  7KH 'HEWRUV KDYH PDGH HYHU\ HIIRUW WR LQFOXGH DV
FRQWLQJHQWXQOLTXLGDWHGRUGLVSXWHGWKH&ODLPRIDQ\YHQGRUQRWLQFOXGHGRQWKH'HEWRUV¶RSHQ
DFFRXQWVSD\DEOHWKDWLVDVVRFLDWHGZLWKDQDFFRXQWWKDWKDVDQDFFUXDO)XUWKHULQDGGLWLRQWRWKH
LWHPV OLVWHG LQ 6FKHGXOH () FHUWDLQ RI WKH 'HEWRUV IURP WLPH WR WLPH SURYLGH SHUIRUPDQFH
JXDUDQWHHVRIREOLJDWLRQVRIFHUWDLQRWKHU'HEWRUVRU'HEWRUDIILOLDWHVLQFRQQHFWLRQZLWKYDULRXV
FRQWUDFWXDOREOLJDWLRQVZKLFKPD\QRWEHOLVWHGLQWKH6FKHGXOHV

6FKHGXOH*$OWKRXJKUHDVRQDEOHHIIRUWVKDYHEHHQPDGHWRHQVXUHWKHDFFXUDF\RI6FKHGXOH*
UHJDUGLQJ H[HFXWRU\ FRQWUDFWV DQG XQH[SLUHG OHDVHV LQDGYHUWHQW HUURUV RPLVVLRQV RU
RYHULQFOXVLRQPD\KDYHRFFXUUHGLQSUHSDULQJ6FKHGXOH*&HUWDLQRIWKHLQVWUXPHQWVUHIOHFWHG
RQ6FKHGXOH*PD\FRQWDLQUHQHZDORSWLRQVJXDUDQWHHVRISD\PHQWVRSWLRQVWRSXUFKDVHULJKWV
RIILUVWUHIXVDODQGRWKHUPLVFHOODQHRXVULJKWV6XFKULJKWVSRZHUVGXWLHVDQGREOLJDWLRQVDUH
QRWVHSDUDWHO\VHWIRUWKRQ6FKHGXOH*7KH'HEWRUVKHUHE\H[SUHVVO\UHVHUYHWKHULJKWWRDVVHUW
WKDWDQ\LQVWUXPHQWOLVWHGRQ6FKHGXOH*LVDQH[HFXWRU\FRQWUDFWZLWKLQWKHPHDQLQJRIVHFWLRQ
RIWKH%DQNUXSWF\&RGH7KH'HEWRUVUHVHUYHDOORIWKHLUULJKWVFODLPVDQGFDXVHVRIDFWLRQ
ZLWK UHVSHFW WR FODLPV DVVRFLDWHG ZLWK DQ\ FRQWUDFWV DQG DJUHHPHQWV OLVWHG RQ 6FKHGXOH $%
LQFOXGLQJWKHLUULJKWWRGLVSXWHRUFKDOOHQJHWKHFKDUDFWHUL]DWLRQRUWKHVWUXFWXUHRIDQ\WUDQVDFWLRQ
GRFXPHQWRULQVWUXPHQWLQFOXGLQJDQ\LQWHUFRPSDQ\DJUHHPHQWUHODWHGWRDFUHGLWRU¶VFODLP

&HUWDLQ FRQILGHQWLDOLW\ KROG KDUPOHVV DQG QRQFRPSHWH DJUHHPHQWV PD\ QRW EH OLVWHG RQ
6FKHGXOH*  ,Q DGGLWLRQ DJUHHPHQWV DQG XQGHUO\LQJ GRFXPHQWDWLRQ UHODWHG WR WKH 'HEWRUV¶
SUHSHWLWLRQGHEWLVQRWLQFOXGHGLQ6FKHGXOH*7KH'HEWRUVUHVHUYHDOORIWKHLUULJKWVZLWKUHVSHFW
WRVXFKDJUHHPHQWV

&HUWDLQ RI WKH FRQWUDFWV DQG DJUHHPHQWV OLVWHG RQ 6FKHGXOH * PD\ FRQVLVW RI VHYHUDO SDUWV
LQFOXGLQJSXUFKDVHRUGHUVDPHQGPHQWVUHVWDWHPHQWVZDLYHUVOHWWHUVDQGRWKHUGRFXPHQWVWKDW
PD\QRWEHOLVWHGRQ6FKHGXOH*RUWKDWPD\EHOLVWHGDVDVLQJOHHQWU\

7KH'HEWRUVDUHSDUW\WRWKRXVDQGVRIRUGLQDU\FRXUVHFRQWUDFWVWHUPVDQGFRQGLWLRQVLQVHUWLRQ
RUGHUVDQGVLPLODUDJUHHPHQWVZULWWHQDQGRUDOSURYLGLQJIRUWKHVDOHRIDGYHUWLVLQJWLPHWRD
FXVWRPHUFROOHFWLYHO\WKH³,QVHUWLRQ2UGHUV´,QVHUWLRQ2UGHUVDUHW\SLFDOO\VKRUWWHUPFRQWUDFWV
ZLWKWHUPVRI>WKUHH@PRQWKVRIOHVV,WZRXOGEHWLPHFRQVXPLQJDQGDQLQHIILFLHQWXVHRIWKH
'HEWRUV¶ UHVRXUFHV RU RWKHUZLVH LPSUDFWLFDEOH WR LGHQWLI\ DQG UHYLHZ HDFK ,QVHUWLRQ 2UGHU
&RQVHTXHQWO\6FKHGXOH*GRHVQRWOLVW,QVHUWLRQ2UGHUVHYHQWKRXJKVRPHRIWKHFRQWUDFWVRQ
6FKHGXOH*PD\EH,QVHUWLRQ2UGHUVRURWKHUFXVWRPHUFRQWUDFWV

7KHFRQWUDFWVDJUHHPHQWVDQGOHDVHVOLVWHGRQ6FKHGXOH*PD\KDYHH[SLUHGRUPD\KDYHEHHQ
PRGLILHG DPHQGHG RU VXSSOHPHQWHG IURP WLPH WR WLPH E\ YDULRXV DPHQGPHQWV UHVWDWHPHQWV
ZDLYHUV HVWRSSHO FHUWLILFDWHV OHWWHUV PHPRUDQGD DQG RWKHU GRFXPHQWV LQVWUXPHQWV DQG
DJUHHPHQWVWKDWPD\QRWEHOLVWHGWKHUHLQGHVSLWHWKH'HEWRUV¶XVHRIUHDVRQDEOHHIIRUWVWRLGHQWLI\
VXFKGRFXPHQWV)XUWKHUXQOHVVRWKHUZLVHVSHFLILHGRQ6FKHGXOH*HDFKH[HFXWRU\FRQWUDFWRU

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XQH[SLUHG OHDVH OLVWHG WKHUHRQ VKDOO LQFOXGH DOO H[KLELWV VFKHGXOHV ULGHUV PRGLILFDWLRQV
GHFODUDWLRQV DPHQGPHQWV VXSSOHPHQWV DWWDFKPHQWV UHVWDWHPHQWV RU RWKHU DJUHHPHQWV PDGH
GLUHFWO\RULQGLUHFWO\E\DQ\DJUHHPHQWLQVWUXPHQWRURWKHUGRFXPHQWWKDWLQDQ\PDQQHUDIIHFWV
VXFKH[HFXWRU\FRQWUDFWRUXQH[SLUHGOHDVHZLWKRXWUHVSHFWWRZKHWKHUVXFKDJUHHPHQWLQVWUXPHQW
RURWKHUGRFXPHQWLVOLVWHGWKHUHRQ,QVRPHFDVHVWKHVDPHVXSSOLHURUSURYLGHUDSSHDUVPXOWLSOH
WLPHVRQ6FKHGXOH*7KLVPXOWLSOHOLVWLQJLVLQWHQGHGWRUHIOHFWGLVWLQFWDJUHHPHQWVEHWZHHQWKH
DSSOLFDEOH'HEWRUDQGVXFKVXSSOLHURUSURYLGHU

6FKHGXOH+$OWKRXJKWKHUHDUHPXOWLSOHEHQHILFLDOKROGHUVRIWKH'HEWRUV¶SUHSHWLWLRQGHEWRQO\
WKHDGPLQLVWUDWLYHDJHQWVDQGLQGHQWXUHWUXVWHHVKDYHEHHQOLVWHGRQ6FKHGXOH+

                 6SHFLILF'LVFORVXUHVZLWK5HVSHFWWRWKH'HEWRUV¶6WDWHPHQWV

6WDWHPHQW   )RU ILQDQFLDO UHSRUWLQJ SXUSRVHV WKH 'HEWRUV DQG FHUWDLQ RI WKHLU QRQ'HEWRU
DIILOLDWHV KLVWRULFDOO\ SUHSDUH FRQVROLGDWHG ILQDQFLDO VWDWHPHQWV  8QOLNH WKRVH FRQVROLGDWHG
ILQDQFLDO VWDWHPHQWV 6WDWHPHQW  UHIOHFWV WKH QRQEXVLQHVV UHYHQXH RI HDFK 'HEWRU RQ D
QRQFRQVROLGDWHGEDVLV$FFRUGLQJO\QRQEXVLQHVVUHYHQXHUHSRUWHGIRULQGLYLGXDO'HEWRUVPD\
EHVKRZQLQWKH6WDWHPHQWVDVUHYHQXHIRUWKDW'HEWRUZKHUHDVRQDFRQVROLGDWHGEDVLVPD\EH
VKRZQDVDQHWH[SHQVH

6WDWHPHQW   ,Q 6WDWHPHQW  GLVEXUVHPHQWV PDGH RQ DFFRXQW RI PXOWLSOH LQYRLFHV PD\ EH
UHIOHFWHGDVDVLQJOHSD\PHQW
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$OOGLVEXUVHPHQWVOLVWHGLQ6WDWHPHQWDUHPDGHWKURXJKWKH'HEWRUV¶FDVKPDQDJHPHQWV\VWHP
PRUHIXOO\GHVFULEHGLQWKH&DVK0DQDJHPHQW0RWLRQ'DWHVOLVWHGLQ6WDWHPHQWUHIOHFWWKHGDWHV
XSRQ ZKLFK WKH 'HEWRU WUDQVIHUUHG IXQGV WR WKH UHOHYDQW SD\HH RU GLVEXUVLQJ DJHQW  &HUWDLQ
GLVEXUVHPHQWV PD\ EH H[FOXGHG IURP 6WDWHPHQW  LQFOXGLQJ GLVEXUVHPHQWV WR LQVLGHUV
GLVEXUVHPHQWV WR FKDULWLHV DQG GLVEXUVHPHQWV WR FHUWDLQ UHWDLQHG SURIHVVLRQDOV UHSRUWHG
HOVHZKHUH
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6WDWHPHQW3D\PHQWVPDGHWRLQGLYLGXDOLQVLGHUVKDYHEHHQUHSRUWHGLQDJJUHJDWHDPRXQWVE\
EDVLVRIGLVWULEXWLRQ6XFKSD\PHQWVUHIOHFWH[SHQVHUHLPEXUVHPHQWVSDLGGLUHFWO\WRWKHLQGLYLGXDO
LQVLGHUDQGGRQRWLQFOXGHEXVLQHVVH[SHQVHVLQFXUUHGE\WKHLQGLYLGXDOLQVLGHUZKHQSDLGGLUHFWO\
E\WKHFRPSDQ\WRDWKLUGSDUW\LQFOXGLQJXQGHUFRUSRUDWHFDUGSURJUDPV
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,QGLYLGXDOSD\PHQWVWR'HEWRUDIILOLDWHVDUHQRWUHIOHFWHGLQ6WDWHPHQWGXHWRWKHLUFRPSOH[LW\
DQGYROXPLQRXVQDWXUH7KH'HEWRUVKDYHUHSRUWHGQHWLQWHUFRPSDQ\SRVLWLRQVLQ6WDWHPHQWIRU
WKHSHULRGWR,QDGGLWLRQLQWHUFRPSDQ\SD\DEOHVDQGUHFHLYDEOHVDVRIWKH
3HWLWLRQ'DWHFDQEHIRXQGRQ6FKHGXOH()DQG6FKHGXOH$%
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6WDWHPHQW   7KH 'HEWRU¶V UDGLR VWDWLRQVURXWLQHO\RIIHULQNLQGGRQDWLRQVRIUDGLRDLUWLPH WR
FKDULWLHV7KLVLVQRWWUDFNHGIRUWD[UHSRUWLQJSXUSRVHVDQGWKHUHIRUHQRWUHSRUWHGLQWKLVUHVSRQVH
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6WDWHPHQW   $OO GLVEXUVHPHQWV OLVWHG LQ 6WDWHPHQW  ZHUH LQLWLDWHG DQG GLVEXUVHG E\
L+HDUW0HGLD0DQDJHPHQW6HUYLFHV,QFEXWZHUHIRUWKHEHQHILWRIDOORIWKH'HEWRUV
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6WDWHPHQW7KH'HEWRUVGRQRWWDNHDQ\SRVLWLRQZLWKUHVSHFWWRZKHWKHUWUDQVIHUVLGHQWLILHG
LQ WKH UHVSRQVH WR 4XHVWLRQ  LQ WKH 6WDWHPHQWV DUH PDGH LQ WKH RUGLQDU\ FRXUVH RI EXVLQHVV
&HUWDLQWUDQVIHUVOLVWHGLQWKLVUHVSRQVHDUHLQFOXGHGVROHO\RXWRIDQDEXQGDQFHRIFDXWLRQ

6WDWHPHQW,QIRUPDWLRQOLVWHGLQ6WDWHPHQWLVEDVHGRQEHVWKLVWRULFDOFRUSRUDWHVWUXFWXUH
LQIRUPDWLRQ DYDLODEOH  &HUWDLQ GDWHV RI RZQHUVKLS PD\ EH DSSUR[LPDWH DQG FHUWDLQ KLVWRULFDO
DGGUHVVLQIRUPDWLRQPD\EHXQDYDLODEOHIRUHQWLWLHVWKDWQRORQJHUH[LVW,QWKHFDVHRIQRQ86
HQWLWLHV86WD[,'QXPEHUVDUHQRWDSSOLFDEOH
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6WDWHPHQWE7KH'HEWRUVKDYHOLVWHG(UQVW	<RXQJ//3WKHLQGHSHQGHQWUHJLVWHUHGSXEOLF
DFFRXQWLQJILUPWKDWKDVDXGLWHGWKHLUFRQVROLGDWHGILQDQFLDOVWDWHPHQWVLQ6WDWHPHQWEIRUDOO
'HEWRUV

6WDWHPHQW G  &HUWDLQ RI WKH 'HEWRUV DUH UHJLVWUDQWV ZLWK WKH 6HFXULWLHV DQG ([FKDQJH
&RPPLVVLRQWKH³6(&´DQGILOHZLWKVXFKDJHQF\SHULRGLFILQDQFLDOUHSRUWVRQDFRQVROLGDWHG
EDVLV  7KHVH UHSRUWV DOVR FRQWDLQ LQIRUPDWLRQ DERXW WKRVH 'HEWRUV¶ ILQDQFHV DQG DUH DYDLODEOH
SXEOLFO\WKURXJKWKH&RPSDQ\¶VZHEVLWH

6WDWHPHQW2ZQHUVKLSLQWHUHVWVOLVWHGLQ6WDWHPHQWUHIOHFWVKDUHVGLUHFWO\KHOG
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iHeartCommunications, Inc.

                     Southern             Texas,
                                          Houston
           18-31273 (MI)                  Divison


                                                                   X




                                                                                     0.00
                                                                   + undetermined amounts



                                                                        1,383,225,761.99
                                                                   + undetermined amounts



                                                                        1,383,225,761.99
                                                                   + undetermined amounts




                                                                        6,786,336,950.02
                                                                   + undetermined amounts




                                5a                                                   0.00
                                                                   + undetermined amounts



                                                                       24,578,653,230.61
                                     5b                            + undetermined amounts




                                                                       31,364,990,180.62
                                                                   + undetermined amounts
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           iHeartCommunications, Inc.

                                   Southern   Texas,
                                              Houston
                         18-31273 (MI)        Divison




X




                                                                                         0.00




    See Attached Rider                                                           15,769,238.82




    None                                                                                  0.00




                                                                                 15,769,238.82




X




    See Attached Rider                                                              667,280.17
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           iHeartCommunications, Inc.                          18-31273 (MI)




    See Attached Rider                                                                      32,258.00




                                                                                          699,538.17




X




                                                                                                0.00




X




    None                                                                                          0.00




    See Attached Rider                                                                            0.00
                                                                                 + undetermined amounts




    None                                                                                          0.00




                                                                                                0.00
                                                                               + undetermined amounts
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    iHeartCommunications, Inc.                           18-31273 (MI)




X




                                                                           0.00




X
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    iHeartCommunications, Inc.                           18-31273 (MI)




                                                                            0.00




X




                                                                           0.00
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    iHeartCommunications, Inc.                           18-31273 (MI)




X




                                                                          0.00
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          iHeartCommunications, Inc.                           18-31273 (MI)




X




    See Attached Rider                             0.00                                         0.00
                                                                               + undetermined amounts




                                                                                                0.00
                                                                               + undetermined amounts




X


X




X




See Attached Rider                                  0.00                                        0.00
                                                                               + undetermined amounts


None                                                                                            0.00


None                                                                                            0.00


None                                                                                            0.00


None                                                                                            0.00


None                                                                                            0.00


                                                                                                0.00
                                                                               + undetermined amounts
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          iHeartCommunications, Inc.                            18-31273 (MI)




X




X


X




X




                                       962,000,000.00   0.00                         962,000,000.00
See Attached Rider




None
                                                                                                 0.00




See Attached Rider                                                                               0.00
                                                                                + undetermined amounts




See Attached Rider                                                                               0.00
                                                                                + undetermined amounts




None                                                                                             0.00




Aloha Station Trust                                                                    Undetermined




See Attached Rider                                                                   404,756,985.00
                                                                                + undetermined amounts



                                                                                   1,366,756,985.00
                                                                                + undetermined amounts



X
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iHeartCommunications, Inc.                                          18-31273 (MI)




                                          15,769,238.82


                                            699,538.17



                                                   0.00


                                                   0.00
                                     + undetermined amounts

                                                   0.00


                                                   0.00



                                                   0.00


                                                   0.00


                                                                               0.00
                                                              + undetermined amounts

                                                   0.00
                                     + undetermined amounts

                                       1,366,756,985.00
                                     + undetermined amounts

                                        1,383,225,761.99                        0.00
                                 + undetermined amounts       + undetermined amounts




                                                                                          1,383,225,761.99
                                                                                       + undetermined amounts
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Debtor Name: iHeartCommunications, Inc.                                                            Case Number: 18-31273 (MI)

                                                   Assets - Real and Personal Property

                            Part 1, Question 3: Checking, savings, money market, or financial brokerage accounts



Name of institution (bank or brokerage                                            Last 4 digits of account         Current value of debtor's
                                             Type of account
firm)                                                                             number                           interest
BANK OF AMERICA                             Lockbox                              0614                                                      $0.00

BANK OF AMERICA                             Lockbox                              1558                                                      $0.00

BANK OF AMERICA                             Lockbox Concentration                6466                                              $3,290,952.17

FIDELITY                                    Deferred Comp                        1576                                             $12,478,286.65

PNC                                         Deposit                              0015                                                      $0.00

THE BANK OF NEW YORK MELLON                 Investment                           4238                                                      $0.00

UBS                                         Investment                           2902                                                      $0.00

                                                                                                       TOTAL                      $15,769,238.82




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  Debtor Name: iHeartCommunications, Inc.                                                             Case Number: 18-31273 (MI)

                                                    Assets - Real and Personal Property

                                 Part 2, Question 7: Deposits, including security deposits and utility deposits




Description                                                    Name of holder of deposit                          Current value of debtor's interest
Advisor Deposit                                                Alvarez & Marsal                                                         $450,000.00
Legal Deposit                                                  Gibson Dunn                                                              $137,708.33
Legal Deposit                                                  Jones Day                                                                 $50,000.00
Legal Deposit                                                  Robert Half Legal                                                         $29,571.84
                                                                                                      TOTAL                             $667,280.17




                                                                Page 1 of 1
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  Debtor Name: iHeartCommunications, Inc.                                                          Case Number: 18-31273 (MI)

                                                   Assets - Real and Personal Property

              Part 2, Question 8: Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent




Description                                                   Name of holder of prepayment                  Current value of debtor's interest
Prepaid Expenses                                              Citibank                                                             $32,258.00
                                                                                                   TOTAL                           $32,258.00




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Debtor Name: iHeartCommunications, Inc.                                                                 Case Number: 18-31273 (MI)

                                                      Assets - Real and Personal Property

   Part 4, Question 15: Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
                                                            partnership, or joint venture


                                                                                      Valuation method used for      Current value of debtor's
Name of Entity                                  % of ownership
                                                                                      current value                  interest
JELLI, INC.                                                           Undetermined                                                     Undetermined

Clear Channel Investments, Inc.                                            100.00%                                                     Undetermined

iHeartMedia Management Services, Inc.                                      100.00%                                                     Undetermined

Clear Channel Holdings, Inc.                                               100.00%                                                     Undetermined

iHeart Media Tower Co. Holdings, LLC                                       100.00%                                                     Undetermined

iHM Identity, Inc.                                                         100.00%                                                     Undetermined

CC Finco Holdings, LLC                                                     100.00%                                                     Undetermined

Clear Channel Metro, LLC                                                   100.00%                                                     Undetermined

                                                                                                            TOTAL                          $0.00
                                                                                                                          + undetermined amounts




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Debtor Name:           iHeartCommunications, Inc.                                                       Case Number:             18-31273 (MI)

                                                      Assets - Real and Personal Property

         Part 9, Question 55: Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest




Description and location of         Nature and extent of            Net book value of         Valuation method used        Current value of
property                            debtor's interest               debtor's interest         for current value            debtor's interest
Office/Studio Lease - Atlanta, GA   Leased                                    Undetermined N/A                                         Undetermined
Studios, Creative Svcs, TTWN ,
1819 Peachtree Road, Atlanta,
GA
Office/Studio Lease - Los      Leased                                         Undetermined N/A                                         Undetermined
Angeles, CA Studios, Internet
Group, 3400 West Olive Avenue,
Burbank, CA 91505
Office/Studio Lease - San Antonio Leased                                      Undetermined N/A                                         Undetermined
iHM Service Center, Katz, 20880
Stone Oak Parkway, San Antonio,
TX 78258
Office/Studio Lease dated       Leased                                        Undetermined N/A                                         Undetermined
1/16/2015 - San Antonio iHM
Service Center, Katz, 20880
Stone Oak Parkway, San Antonio,
TX 78258
Tower Lease - KBKS-FM Tower,        Leased                                    Undetermined N/A                                         Undetermined
10812 279th Avenue, SE,
Issaquah, WA 98024
Tower Lease - TTWN , 15401 Ten Leased                                         Undetermined N/A                                         Undetermined
Mile Rd, Oak Park, MI 48237
Tower Lease - WHKF-FM Tower , Leased                                          Undetermined N/A                                         Undetermined
Reeser's Summit, Fairview
Twnshp., PA 17070
Tower Lease - WZHT-FM,              Leased                                    Undetermined N/A                                         Undetermined
WHLW-FM Tower, 2018 Fannin
Mill Road, Grady, AL 36036
                                                                                                                 TOTAL                     $0.00
                                                                                                                          + undetermined amounts




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Debtor Name: iHeartCommunications, Inc.                                                             Case Number: 18-31273 (MI)

                                                  Assets - Real and Personal Property

                                  Part 10, Question 60: Patents, copyrights, trademarks, and trade secrets



                                            Net book value of debtor's            Valuation method used for    Current value of debtor's
General description
                                            interest                              current value                interest
COPYRIGHT NUMBER PAu1695554 ,                                     Undetermined N/A                                               Undetermined
REGISTERED ON 12/3/1992 FOR THE
DORK SIDE OF THE MOON
COPYRIGHT NUMBER SR80713 ,                                        Undetermined N/A                                               Undetermined
REGISTERED ON 2/17/1987 FOR THE BEST
OF GILBERT GNARLEY : G-N-A-R-L-E-Y
COPYRIGHT NUMBER SR83552 ,                                        Undetermined N/A                                               Undetermined
REGISTERED ON 1/14/1987 FOR THE BEST
OF EARL PITTS (PITTS OFF!) / FEATURING
700 W L W’S GARY BURBANK
COPYRIGHT NUMBER SR83553 ,                                        Undetermined N/A                                               Undetermined
REGISTERED ON 1/14/1987 FOR THE BEST
OF EARL PITTS (PITTS OFF!) / FEATURING
700 W L W’S GARY BURBANK
COPYRIGHT NUMBER SRu114182 ,                                      Undetermined N/A                                               Undetermined
REGISTERED ON 1/14/1987 FOR JAMES
BROWN CAR ALARM
COPYRIGHT NUMBER TX7265624 ,                                      Undetermined N/A                                               Undetermined
REGISTERED ON 2/17/2009 FOR CLEAR
VISION : THE STORY OF CLEAR CHANNEL
COMMUNICATIONS
COPYRIGHT NUMBER VA821-928,                                       Undetermined N/A                                               Undetermined
REGISTERED ON 9/8/1987 FOR THE TOM
LANDRY SHOW
PATENT NUMBER 14/833610 FOR                                       Undetermined N/A                                               Undetermined
LOCATION-BASED SELECTION OF A
SATELLITE TRANSMITTER OF A VEHICLE
TRADEMARK NUMBER 1174931216,                                      Undetermined N/A                                               Undetermined
REGISTERED ON 8/24/2001 FOR HOME
IMPROVEMENT HOTLINE
TRADEMARK NUMBER 1174931916,                                      Undetermined N/A                                               Undetermined
REGISTERED ON 8/24/2001 FOR
GARDENLINE
TRADEMARK NUMBER 1174932016,                                      Undetermined N/A                                               Undetermined
REGISTERED ON 8/24/2001 FOR MONEY
MATTERS
TRADEMARK NUMBER 800058218,                                       Undetermined N/A                                               Undetermined
REGISTERED ON 2/22/2002 FOR
TALKRADIO 950 KPRC
TRADEMARK NUMBER 800081248,                                       Undetermined N/A                                               Undetermined
REGISTERED ON 4/24/2002 FOR
HOUSTON'S PLACE TO TALK
TRADEMARK NUMBER M11398,                                          Undetermined N/A                                               Undetermined
REGISTERED ON 12/28/2010 FOR
FACEPALM MEDIA
TRADEMARK NUMBER TK01013006,                                      Undetermined N/A                                               Undetermined
REGISTERED ON 1/30/2001 FOR CLASSIC
ROCK THAT REALLY ROCKS
                                                                                                       TOTAL                         $0.00
                                                                                                                    + undetermined amounts




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Debtor Name: iHeartCommunications, Inc.                                                          Case Number: 18-31273 (MI)

                                                 Assets - Real and Personal Property

                                                 Part 11, Question 71: Notes receivable



                                                                                Doubtful or uncollectible   Current value of debtor's
Description                                  Face amount
                                                                                amount                      interest
Intercompany Note Receivable - Citicasters                    $750,000,000.00                                             $750,000,000.00
Co.
Intercompany Note Receivable - Clear                          $212,000,000.00                                             $212,000,000.00
Channel Holdings, Inc.
                                                                                                    TOTAL                 $962,000,000.00




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Debtor Name: iHeartCommunications, Inc.                                                                 Case Number: 18-31273 (MI)

                                                      Assets - Real and Personal Property

                                        Part 11, Question 73: Interests in insurance policies or annuities



                                                                                                                   Current value of debtor's
Description                                   Policy type                            Policy number
                                                                                                                   interest
Liberty Surplus Insurance Corporation         Environmental/Storage Tank             TXENYB1230011 7                                 Undetermined

National Union Fire Insurance Company of      Aviation                               GM 069810924-07                                 Undetermined
Pittsburgh, PA through AIG
Great American Insurance Company              Crime                                  UKA3001583.16                                   Undetermined

Lloyd's & Company Markets                     Individual Disability Insurance        DR1701577/003                                   Undetermined

Zurich American Insurance Company             Property                               PPR0113580-02                                   Undetermined

National Union Fire Insurance Company of      Crime                                  01-863-44-35                                    Undetermined
Pittsburgh
Illinois National Insurance Company           Fiduciary                              01-863-47-36                                    Undetermined

Illinois National Insurance Company           Directors and Officers Liability       01-869-22-32                                    Undetermined
                                              (Primary)
Starr Indemnity & Liability Company           Directors and Officers Liability       1000059671171                                   Undetermined
                                              (Excess #1)
QBE Insurance Corporation                     Directors and Officers Liability       QPLO368669                                      Undetermined
                                              (Excess #2)
ACE American Insurance Company                Directors and Officers Liability       G23661214 010                                   Undetermined
                                              (Excess #3)
Illinois National Insurance Company           Directors and Officers Liability       01-878-00-93                                    Undetermined
                                              (Excess #4)
Starpoint                                     Directors and Officers Liability       FSUSC1701813                                    Undetermined
                                              (Excess #5)
XL Specialty Insurance Company                Directors and Officers Liability       ELU151693-17                                    Undetermined
                                              (Excess #6)
Beazley Insurance Company, Inc.               Directors and Officers Liability       V15UVV171001                                    Undetermined
                                              (Excess #7)
Axis Insurance Company                        Directors and Officers Liability       MNN738149/01/20 17                              Undetermined
                                              (Excess #8)
Freedom Specialty Insurance Company           Directors and Officers Liability       XMF1701856                                      Undetermined
                                              (Excess #9)
Navigators Insurance Company                  Directors and Officers Liability       IS17DOL300599I V                                Undetermined
                                              (Excess #10)
Lloyd's Of London                             Directors and Officers Liability       FSUSC1701814                                    Undetermined
                                              (Excess #11)
Allianz Global Risks US Insurance Company     Directors and Officers Liability       DOX2009915                                      Undetermined
                                              (Excess #12)
Endurance American Insurance Company          Directors and Officers Liability       DOX10007656302                                  Undetermined
                                              (Excess #14)
Illinois National Insurance Company           Directors and Officers Liability       01-877-99-68                                    Undetermined
                                              (Excess #15)
Beazley Insurance Company, Inc.               Directors and Officers Liability       V1C679170201                                    Undetermined
                                              (Excess #16)
Old Republic Insurance Company                Directors and Officers Liability       ORPRO 39881                                     Undetermined
                                              (Excess #17)- CCOH
Old Republic Insurance Company                Directors and Officers Liability       ORPRO 39880                                     Undetermined
                                              (Excess #17)- iHM
Illinois National Insurance Company           Directors and Officers Liability       01-888-35-53                                    Undetermined
                                              (Excess #18)- CCOH



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Debtor Name: iHeartCommunications, Inc.                                                                  Case Number: 18-31273 (MI)

                                                      Assets - Real and Personal Property

                                         Part 11, Question 73: Interests in insurance policies or annuities



                                                                                                                    Current value of debtor's
Description                                    Policy type                            Policy number
                                                                                                                    interest
Illinois National Insurance Company            Directors and Officers Liability       01-877-99-71                                    Undetermined
                                               (Excess #18)- iHM
Federal Insurance Company                      Directors and Officers Liability       8222-4648                                       Undetermined
                                               (Excess #19)- CCOH
Federal Insurance Company                      Directors and Officers Liability       8210-5036                                       Undetermined
                                               (Excess #19)- CCOH
Endurance American Insurance Company           Directors and Officers Liability       ADX10009783601                                  Undetermined
                                               (Excess #20)- CCOH
Endurance American Insurance Company           Directors and Officers Liability       ADX10009783901                                  Undetermined
                                               (Excess #20)- CCOH
XL Specialty Insurance Company                 Directors and Officers Liability       ELU151689-17                                    Undetermined
                                               (Excess #21)- CCOH
XL Specialty Insurance Company                 Directors and Officers Liability       ELU151691-17                                    Undetermined
                                               (Excess #21)- CCOH
Illinois National Insurance Company            Errors and Omissions                   02-580-92-16                                    Undetermined

Axis Insurance Company                         Errors and Omissions                   MNN777323/01/20 17                              Undetermined

ACE American Insurance Company                 Errors and Omissions                   EON G21642794 016                               Undetermined

Lloyd's Of London                              Umbrella Liability (1st Layer)         B1526CSUSA1702 781                              Undetermined

Fireman's Fund Insurance Company               Excess Liability (2nd Layer)           SHX00049000136                                  Undetermined

XL Insurance America, Inc.                     Excess Liability (3rd Layer)           US00066207LI17 A                                Undetermined

Great American Insurance Company               Excess Liability (4th Layer)           EXC 2191688                                     Undetermined

Travelers Property Casualty Company of         Excess Liability (5th Layer-Shared)    ZUP-41M43414- 17-NF                             Undetermined
America
Ohio Casualty Insurance Company                Excess Liability (5th Layer-Shared)    ECO (18) 5836                                   Undetermined
                                                                                      4311
ACE American Insurance Company                 General Liability- Foreign Package     CSZ G27173810 006                               Undetermined

Magna Carta Insurance Ltd                      Punitives                              CSUSA1702954                                    Undetermined

Argo Re Ltd.                                   Directors and Officers Liability       ARGO-FULL-17- 000930.2                          Undetermined
                                               (Excess #13)
Zurich American Insurance Company              Property (Canada)                      8844182                                         Undetermined

XL Insurance America, Inc.                     Workers Compensation (All Other        RWD300052902                                    Undetermined
                                               States)
XL Specialty Insurance Company                 Workers Compensation (AK and WI) RWR300053002                                          Undetermined

Greenwich Insurance Company                    General Liability                      RGD300052802                                    Undetermined

Greenwich Insurance Company                    Auto Liability                         RAD943770902                                    Undetermined

Greenwich Insurance Company                    Railroad Protective Liability          RGO943771003                                    Undetermined

Greenwich Insurance Company                    Railroad Protective Liability          RGO943771103                                    Undetermined

Greenwich Insurance Company                    Railroad Protective Liability          RGO943771203                                    Undetermined

Greenwich Insurance Company                    Railroad Protective Liability          RGO943771303                                    Undetermined




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Debtor Name: iHeartCommunications, Inc.                                                               Case Number: 18-31273 (MI)

                                                   Assets - Real and Personal Property

                                      Part 11, Question 73: Interests in insurance policies or annuities



                                                                                                                   Current value of debtor's
Description                                 Policy type                            Policy number
                                                                                                                   interest
Greenwich Insurance Company                 Railroad Protective Liability          RGO943771403                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943771503                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943771603                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943771703                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943771803                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943771903                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772003                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772103                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772203                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772303                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772403                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772503                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772603                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943772703                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943773403                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943774603                                    Undetermined

Greenwich Insurance Company                 Railroad Protective Liability          RGO943788201                                    Undetermined

Lincoln Life Elements                       Key Person Life Insurance              T400130248                                      Undetermined

                                                                                                           TOTAL                         $0.00
                                                                                                                        + undetermined amounts




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Debtor Name: iHeartCommunications, Inc.                                                               Case Number: 18-31273 (MI)

                                                    Assets - Real and Personal Property

                     Part 11, Question 74: Causes of action against third parties (whether or not a lawsuit has been filed)



                                                                                                                    Current value of debtor's
Description                                  Nature of claim                        Amount requested
                                                                                                                    interest
FRANKLIN ADVISERS, INC., ET AL,              BUSINESS GOVERNANCE                                    Undetermined                    Undetermined
APPELLANTS V.
IHEARTCOMMUNICATIONS, APELLEE
IHEARTCOMMUNICATIONS, INC. V. U.S.  BUSINESS GOVERNANCE                                             Undetermined                    Undetermined
BANK NATIONAL ASSOCIATION,
WILMINGTON TRUST, NATIONAL
ASSOCIATION, F/K/A WILMINGTON TRUST
FSB, CITIBANK, N.A.
IHEARTCOMMUNICATIONS, INC., F/K/A   BUSINESS GOVERNANCE                                             Undetermined                    Undetermined
CLEAR CHANNEL COMMUNICATIONS, INC.
V. BENEFIT STREET PARTNERS LLC,
CANYON CAPITAL ADVISORS LLC, D.E.
SHAW GALVANIC PORTFOLIOS, LLC, M.H.
DAVIDSON & CO., DAVIDSON KEMPNER
PARTNERS, DAVIDSON KEMPNER
INTERNATIONAL, LTD., DAVIDSON
KEMPNER INSTITUTIONAL PARTNERS,
L.P., MIDTOWN ACQUISITIONS L.P.,
ISLINGTON PARTNERS, L.P. BLUEJAY
SECURITIES LLC, FRANKLIN MUTUAL
ADVISERS, LLC, FRANKLIN ADVISERS,
INC., TACONIC OPPORTUNITY MASTER
FUND L.P., TACONIC MASTER FUND 1.5
L.P., WATERSHED CAPITAL PARTNERS
(OFFSHORE)MASTER FUND, L.P.,
WATERSHED CAPITAL PARTNERS
(OFFSHORE) MASTER FUND II, L.P.,
WATERSHED CAPITAL PARTNERS
(OFFSHORE) MASTER FUND III, L.P.,
WATERSHED CAPITAL PARTNERS
(OFFSHORE) MASTER FUND IV, L.P.,
WATERSHED CAPITAL INSTITUTIONAL
PARTNERS III, L.P., WINGSPAN
INVESTMENT MANAGEMENT, LP, U.S.
BANK NATIONAL ASSOCIATION,
WILMINGTON TRUST, NATIONAL
ASSOCIATION, F/K/A WILMINGTON TRUST
FSB
                                                                                                          TOTAL                           $0.00
                                                                                                                         + undetermined amounts




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Debtor Name:           iHeartCommunications, Inc.                                                       Case Number:           18-31273 (MI)

                                                       Assets - Real and Personal Property

                                         Part 11, Question 77: Other property of any kind not already listed




Description                                                                          Current value of debtor's interest

Washington Redskins season football tickets. Face value of remaining tickets:                                                        Undetermined
$15,860.72
Washington Redskins season football tickets. Face value of remaining tickets:                                                        Undetermined
$4,760.00
Other Current Assets                                                                                                              $404,756,985.00

                                                                            TOTAL                                                  $404,756,985.00
                                                                                                                          + undetermined amounts




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          iHeartCommunications, Inc.
                                 Southern                      Texas,
                                                               Houston
                     18-31273 (MI)                             Divison




X




CITIBANK N.A., AS ADMINISTRATIVE AGENT
                                                                                                  Undetermined       Undetermined

                                            Describe the lien
CITIGROUP GLOBAL LOANS                      UCC Lien Number 080025553755 Dated 07/31/2008
2 PENNS WAY, SUITE 100
NEW CASTLE, DE 19720



                                            X

                        Undetermined
                                            X



X                                           X
                                            X




CITIBANK N.A., AS ADMINISTRATIVE AGENT
                                                                                                  Undetermined       Undetermined

                                            Describe the lien
CITIGROUP GLOBAL LOANS                      UCC Lien Number 080025553755 Dated 05/23/2013
2 PENNS WAY, SUITE 100
NEW CASTLE, DE 19720


                                            X

                        Undetermined
                                            X



 X                                          X
                                            X




                                                                                                6,786,336,950.02
                                                                                            + undetermined amounts


                                                                                                                          30
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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




            Additional Page                                                                                                   Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.

2.3   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      CITIBANK N.A., AS ADMINISTRATIVE AGENT

      Creditor's mailing address                             Describe the lien
      CITIGROUP GLOBAL LOANS                                 UCC Lien Number 080025553755 Dated 10/01/2014
      2 PENNS WAY, SUITE 100
      NEW CASTLE, DE 19720




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.4   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      CITIBANK N.A., AS ADMINISTRATIVE AGENT

      Creditor's mailing address                             Describe the lien
      CITIGROUP GLOBAL LOANS                                 UCC Lien Number 080025553755 Dated 04/16/2015
      2 PENNS WAY, SUITE 100
      NEW CASTLE, DE 19720




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines



Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 2 of 30
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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




            Additional Page                                                                                                   Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.5   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      CITIBANK N.A., AS ADMINISTRATIVE AGENT

      Creditor's mailing address                             Describe the lien
      CITIGROUP GLOBAL LOANS                                 UCC Lien Number 080025553755 Dated 01/19/2016
      2 PENNS WAY, SUITE 100
      NEW CASTLE, DE 19720




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.6   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      CITIBANK N.A., AS ADMINISTRATIVE AGENT

      Creditor's mailing address                             Describe the lien
      CITIGROUP GLOBAL LOANS                                 UCC Lien Number 080025554221 Dated 07/31/2008
      2 PENNS WAY, SUITE 100
      NEW CASTLE, DE 19720




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 3 of 30
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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




            Additional Page                                                                                                   Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.7   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      CITIBANK N.A., AS ADMINISTRATIVE AGENT

      Creditor's mailing address                             Describe the lien
      CITIGROUP GLOBAL LOANS                                 UCC Lien Number 080025554221 Dated 05/23/2013
      2 PENNS WAY, SUITE 100
      NEW CASTLE, DE 19720




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.8   Creditor's name                                        Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
      CITIBANK N.A., AS ADMINISTRATIVE AGENT

      Creditor's mailing address                             Describe the lien
      CITIGROUP GLOBAL LOANS                                 UCC Lien Number 080025554221 Dated 04/16/2015
      2 PENNS WAY, SUITE 100
      NEW CASTLE, DE 19720




      Creditor's email address, if known                     Is the creditor an insider or related party?
                                                              X No
                                                                Yes
      Date debt was incurred Undetermined
      Last 4 digits of account
      number                                                 Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

      Do multiple creditors have an interest in the          As of the petition date, the claim is:
      same property?                                         Check all that apply.
         X No                                                 X Contingent
          Yes. Have you already specified the                 X Unliquidated
               relative priority?                               Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 4 of 30
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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.9    Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       CITIBANK N.A., AS ADMINISTRATIVE AGENT

       Creditor's mailing address                            Describe the lien
       CITIGROUP GLOBAL LOANS                                UCC Lien Number 080025554221 Dated 01/19/2016
       2 PENNS WAY, SUITE 100
       NEW CASTLE, DE 19720




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.10   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       CITIBANK N.A., AS ADMINISTRATIVE AGENT

       Creditor's mailing address                            Describe the lien
       CITIGROUP GLOBAL LOANS                                UCC Lien Number 080025554221 Dated 10/01/2014
       2 PENNS WAY, SUITE 100
       NEW CASTLE, DE 19720




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 5 of 30
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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.11   Creditor's name                                       Describe debtor's property that is subject to a lien                 $5,089,124,672.22        $ Undetermined
       CITIBANK, N.A.                                        See Schedule D Disclosures

       Creditor's mailing address                            Describe the lien
       ATTN: KIRKWOOD R. ROLAND                              Term Loan D, maturity date of January 30, 2019
       390 GREENWICH ST, 1ST FLOOR
       NEW YORK, NY 10013




       Creditor's email address, if known                    Is the creditor an insider or related party?
       kirkwood.roland@citi.com                               X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                   Contingent
           Yes. Have you already specified the                  Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.12   Creditor's name                                       Describe debtor's property that is subject to a lien                 $1,325,230,748.11        $ Undetermined
       CITIBANK, N.A.                                        See Schedule D Disclosures

       Creditor's mailing address                            Describe the lien
       ATTN: KIRKWOOD R. ROLAND                              Term Loan E, maturity date of July 30, 2019
       390 GREENWICH ST, 1ST FLOOR
       NEW YORK, NY 10013




       Creditor's email address, if known                    Is the creditor an insider or related party?
       kirkwood.roland@citi.com                               X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                   Contingent
           Yes. Have you already specified the                  Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 6 of 30
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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.13   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 110005522783 Dated 04/16/2015
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.14   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 120033994172 Dated 01/19/2016
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 7 of 30
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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.15   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 130006613989 Dated 03/01/2013
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.16   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 130006613989 Dated 10/01/2014
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 8 of 30
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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.17   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 130006613989 Dated 04/16/2015
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.18   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 120033994172 Dated 10/26/2012
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.19   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 110005522783 Dated 08/27/2015
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.20   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 110005522783 Dated 01/19/2016
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.21   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 120033994172 Dated 10/01/2014
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.22   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 120033994172 Dated 04/22/2015
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.23   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 110005522783 Dated 10/01/2014
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.24   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 130006613989 Dated 01/19/2016
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.25   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 120033994172 Dated 08/15/2017
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.26   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 110005522783 Dated 02/23/2011
       60 WALL STREET, 27TH FLOOR
       MS: NYC60-2710
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.27   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 140029049827 Dated 01/19/2016
       60 WALL STREET, 16TH FLOOR
       MS: NYC60-1630
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.28   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 140029049827 Dated 09/10/2014
       60 WALL STREET, 16TH FLOOR
       MS: NYC60-1630
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.29   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 140029049827 Dated 04/16/2015
       60 WALL STREET, 16TH FLOOR
       MS: NYC60-1630
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.30   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 150005913317 Dated 02/26/2015
       60 WALL STREET, 16TH FLOOR
       MS: NYC60-1630
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 15 of 30
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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.31   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 140029049827 Dated 10/01/2014
       60 WALL STREET, 16TH FLOOR
       MS: NYC60-1630
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.32   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 150005913317 Dated 04/16/2015
       60 WALL STREET, 16TH FLOOR
       MS: NYC60-1630
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 16 of 30
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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.33   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       DEUTSCHE BANK TRUST COMPANY
       AMERICAS, AS COLLATERAL AGENT
                                                             Describe the lien
       Creditor's mailing address                            UCC Lien Number 150005913317 Dated 01/19/2016
       60 WALL STREET, 16TH FLOOR
       MS: NYC60-1630
       NEW YORK, NY 10005


       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.34   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       PACIFIC OFFICE AUTOMATION

       Creditor's mailing address                            Describe the lien
       10201 CENTURION PARKWAY NORTH                         UCC Lien Number 170029729815 Dated 09/08/2017
       SUITE 100
       JACKSONVILLE, FL 32256




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 17 of 30
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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.35   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       PACIFIC OFFICE AUTOMATION

       Creditor's mailing address                            Describe the lien
       10201 CENTURION PARKWAY NORTH                         UCC Lien Number 170026728588 Dated 08/02/2017
       SUITE 100
       JACKSONVILLE, FL 32256




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.36   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       PACIFIC OFFICE AUTOMATION

       Creditor's mailing address                            Describe the lien
       10201 CENTURION PARKWAY NORTH                         UCC Lien Number 170022089948 Dated 06/28/2017
       SUITE 100
       JACKSONVILLE, FL 32256




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.37   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       PACIFIC OFFICE AUTOMATION

       Creditor's mailing address                            Describe the lien
       10201 CENTURION PARKWAY NORTH                         UCC Lien Number 170023352104 Dated 07/06/2017
       SUITE 100
       JACKSONVILLE, FL 32256




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.38   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       PACIFIC OFFICE AUTOMATION

       Creditor's mailing address                            Describe the lien
       10201 CENTURION PARKWAY NORTH                         UCC Lien Number 170023352104 Dated 07/19/2017
       SUITE 100
       JACKSONVILLE, FL 32256




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                  Column A                 Column B
Part 1:                                                                                                                       Amount of claim          Value of collateral
                                                                                                                              Do not deduct the        that supports this
                                                                                                                              value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.39   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       PACIFIC OFFICE AUTOMATION

       Creditor's mailing address                            Describe the lien
       10201 CENTURION PARKWAY NORTH                         UCC Lien Number 170029665581 Dated 08/29/2017
       SUITE 100
       JACKSONVILLE, FL 32256




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.40   Creditor's name                                       Describe debtor's property that is subject to a lien                   $ Undetermined         $ Undetermined
       PACIFIC OFFICE AUTOMATION

       Creditor's mailing address                            Describe the lien
       10201 CENTURION PARKWAY NORTH                         UCC Lien Number 170029729815 Dated 08/30/2017
       SUITE 100
       JACKSONVILLE, FL 32256




       Creditor's email address, if known                    Is the creditor an insider or related party?
                                                              X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
         X No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartCommunications, Inc.                                                                   Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                       Column A                 Column B
Part 1:                                                                                                                            Amount of claim          Value of collateral
                                                                                                                                   Do not deduct the        that supports this
                                                                                                                                   value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.41   Creditor's name                                       Describe debtor's property that is subject to a lien                        $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of CIT Bank, N.A. in the amount of
       888 7TH AVE, 35TH FLOOR                               $1,500,000
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.42   Creditor's name                                       Describe debtor's property that is subject to a lien                        $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of Entercom Communications Corp
       888 7TH AVE, 35TH FLOOR                               in the amount of $4,500,000
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartCommunications, Inc.                                                                   Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                     Column A                 Column B
Part 1:                                                                                                                          Amount of claim          Value of collateral
                                                                                                                                 Do not deduct the        that supports this
                                                                                                                                 value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.43   Creditor's name                                       Describe debtor's property that is subject to a lien                      $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of Lumbermens Mutual Casualty
       888 7TH AVE, 35TH FLOOR                               Company in the amount of $52,253
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.44   Creditor's name                                       Describe debtor's property that is subject to a lien                      $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of Argonaut Insurance Co. in the
       888 7TH AVE, 35TH FLOOR                               amount of $18,397,455
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartCommunications, Inc.                                                                   Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                     Column A                 Column B
Part 1:                                                                                                                          Amount of claim          Value of collateral
                                                                                                                                 Do not deduct the        that supports this
                                                                                                                                 value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.45   Creditor's name                                       Describe debtor's property that is subject to a lien                      $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of CFS Air, LLC in the amount of
       888 7TH AVE, 35TH FLOOR                               $7,000,000
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.46   Creditor's name                                       Describe debtor's property that is subject to a lien                      $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of XL Specialty Insurance in the
       888 7TH AVE, 35TH FLOOR                               amount of $6,605,000
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartCommunications, Inc.                                                                    Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                      Column A                 Column B
Part 1:                                                                                                                           Amount of claim          Value of collateral
                                                                                                                                  Do not deduct the        that supports this
                                                                                                                                  value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.47   Creditor's name                                       Describe debtor's property that is subject to a lien                      $371,981,529.69         $ Undetermined
       TPG SPECIALTY LENDING, INC.                           See Schedule D Disclosures

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   ABL Credit Agreement, maturity date of November 30, 2020
       888 7TH AVE, 35TH FLOOR
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                                No
                                                              X Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                   Contingent
           Yes. Have you already specified the                  Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.48   Creditor's name                                       Describe debtor's property that is subject to a lien                       $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of Citibank N.A. in the amount of
       888 7TH AVE, 35TH FLOOR                               $9,167,689
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




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Debtor           iHeartCommunications, Inc.                                                                   Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                     Column A                 Column B
Part 1:                                                                                                                          Amount of claim          Value of collateral
                                                                                                                                 Do not deduct the        that supports this
                                                                                                                                 value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.49   Creditor's name                                       Describe debtor's property that is subject to a lien                      $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of ACE American Insurance in the
       888 7TH AVE, 35TH FLOOR                               amount of $250,000
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.50   Creditor's name                                       Describe debtor's property that is subject to a lien                      $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of Executive Tower of Colorado
       888 7TH AVE, 35TH FLOOR                               Springs, LLC in the amount of $100,000
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           Page 25 of 30
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Debtor           iHeartCommunications, Inc.                                                                  Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                      Column A                 Column B
Part 1:                                                                                                                           Amount of claim          Value of collateral
                                                                                                                                  Do not deduct the        that supports this
                                                                                                                                  value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.51   Creditor's name                                       Describe debtor's property that is subject to a lien                       $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of Berkley Insurance Company in
       888 7TH AVE, 35TH FLOOR                               the amount of $6,692,309
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.52   Creditor's name                                       Describe debtor's property that is subject to a lien                       $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of IC 233 Building Company LLC in
       888 7TH AVE, 35TH FLOOR                               the amount of $2,350,000
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                            Page 26 of 30
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Debtor           iHeartCommunications, Inc.                                                                   Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                     Column A                 Column B
Part 1:                                                                                                                          Amount of claim          Value of collateral
                                                                                                                                 Do not deduct the        that supports this
                                                                                                                                 value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.53   Creditor's name                                       Describe debtor's property that is subject to a lien                      $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of XL Specialty Insurance in the
       888 7TH AVE, 35TH FLOOR                               amount of $240,000
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.54   Creditor's name                                       Describe debtor's property that is subject to a lien                      $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of 125 West 55th Street Realty
       888 7TH AVE, 35TH FLOOR                               Company LLC in the amount of $6,555,110
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           Page 27 of 30
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Debtor           iHeartCommunications, Inc.                                                                  Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                    Column A                 Column B
Part 1:                                                                                                                         Amount of claim          Value of collateral
                                                                                                                                Do not deduct the        that supports this
                                                                                                                                value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.55   Creditor's name                                       Describe debtor's property that is subject to a lien                     $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of ACE/Chubb American Insurance
       888 7TH AVE, 35TH FLOOR                               in the amount of $173,535
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.56   Creditor's name                                       Describe debtor's property that is subject to a lien                     $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of Douglas Emmett 1997, LLC in
       888 7TH AVE, 35TH FLOOR                               the amount of $271,684
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          Page 28 of 30
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Debtor           iHeartCommunications, Inc.                                                                    Case number (if known) 18-31273 (MI)
                Name




             Additional Page                                                                                                     Column A                 Column B
Part 1:                                                                                                                          Amount of claim          Value of collateral
                                                                                                                                 Do not deduct the        that supports this
                                                                                                                                 value of collateral      claim
 Copy this page only if more space is needed. Continue numbering the lines sequentially
 from the previous page.
2.57   Creditor's name                                       Describe debtor's property that is subject to a lien                      $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of DIV Cabot Road, LLC in the
       888 7TH AVE, 35TH FLOOR                               amount of $667,745
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines

2.58   Creditor's name                                       Describe debtor's property that is subject to a lien                      $ Undetermined         $ Undetermined
       TPG SPECIALTY LENDING, INC.

       Creditor's mailing address                            Describe the lien
       ATTN: ALEX KNEAPLER                                   Letter of Credit for the benefit of Palisades East, LLC in the
       888 7TH AVE, 35TH FLOOR                               amount of $2,200,000
       NEW YORK, NY 10106




       Creditor's email address, if known                    Is the creditor an insider or related party?
       AKneapler@tpg.com                                      X No
                                                                Yes
       Date debt was incurred Undetermined
       Last 4 digits of account
       number                                                Is anyone else liable on this claim?

                                                              X No
                                                                Yes. Fill out Schedule H: Codebtors (Official Form 206H)

       Do multiple creditors have an interest in the         As of the petition date, the claim is:
       same property?                                        Check all that apply.
           No                                                 X Contingent
           Yes. Have you already specified the                X Unliquidated
                relative priority?                              Disputed

                No. Specify each creditor, including
                 this creditor, and its relative priority.




                Yes. The relative priority of creditors is
                   specified on lines




Official Form 206D              Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           Page 29 of 30
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Debtor         iHeartCommunications, Inc.                                                         Case number (if known) 18-31273 (MI)
              Name




Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no other need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                               On which line in Part 1    Last 4 digits of
         Name and address                                                                                      did you enter the          account number
                                                                                                               related creditor?          for this entity


    CITIBANK, N.A.
    ATTN: KIMBERLY M. SHELTON                                                                                     Line 11
    1615 BRETT ROAD
    NEW CASTLE, DE 19720



    CITIBANK, N.A.
    ATTN: KIMBERLY M. SHELTON                                                                                     Line 12
    1615 BRETT ROAD
    NEW CASTLE, DE 19720




Official Form 206D              Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                             Page 30 of 30
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          iHeartCommunications, Inc.
                                 Southern               Texas,
                                                        Houston
           18-31273 (MI)                                Divison


                                                                                 X




X




                                                                  Undetermined       Undetermined
GEORGIA DEPARTMENT OF REVENUE
PO BOX 105408                               X
ATLANTA, GA 30348-5408                      X
                                            X

                                            Tax Audit
Undetermined


                                            X

                       8


                                                                  Undetermined       Undetermined
OFFICE OF FINANCE-CITY OF LOS ANGELES
PO BOX 513996                               X
LOS ANGELES, CA 90051-3996                  X
                                            X

                                            Tax Audit
Undetermined


                                            X

                       8




                                                                                              54
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         iHeartCommunications, Inc.                                           18-31273 (MI)




EMPLOYEE NAME ON FILE 2018-622746                                                                          Undetermined
ADDRESS ON FILE                                      X
                                                     X
                                                     X

                                                         Worker's Compensation

                                      04/07/2004
                                                     X



                                                                                                           Undetermined
EMPLOYEE NAME ON FILE 2018-622741
ADDRESS ON FILE                                      X
                                                     X
                                                     X

                                                         Worker's Compensation

                                      08/24/2003
                                                     X



EMPLOYEE NAME ON FILE 2018-622744                                                                          Undetermined
ADDRESS ON FILE                                      X
                                                     X
                                                     X
                                                         Worker's Compensation

                                      11/18/2005
                                                     X


                                                                                                           Undetermined
EMPLOYEE NAME ON FILE 2018-622747
ADDRESS ON FILE                                      X
                                                     X
                                                     X

                                                         Worker's Compensation

                                      01/28/2003
                                                     X


                                                                                                           Undetermined
EMPLOYEE NAME ON FILE 2018-622743
ADDRESS ON FILE                                      X
                                                     X
                                                     X
                                                         Worker's Compensation

                                      01/29/2008
                                                     X



AG CAPITAL RECOVERY PARTNERS VIII, L.P.                                                                    Undetermined
C/O WHITE & CASE, LLP                                X
ATTN: GREGORY M. STARNER                             X
1221 AVENUE OF THE AMERICAS                          X
NEW YORK, NY 10020
                                                         Litigation; Noteholder Litigation, Case Number 1:18-CV-01807

                                      Undetermined
                                                     X




                                                                                                           page 2 of 54
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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.7       Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         AG CENTRE STREET PARTNERSHIP, L.P.                              As of the petition filing date, the claim is:
         C/O WHITE & CASE, LLP                                           Check all that apply.
         ATTN: GREGORY M. STARNER
         1221 AVENUE OF THE AMERICAS                                      X
         NEW YORK, NY 10020                                               X
                                                                          X

                                                                         Basis for the claim: Litigation; Noteholder Litigation, Case Number 1:18-CV-01807

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.8       Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         AG CORPORATE CREDIT OPPORTUNITIES FUND, L.P.                    As of the petition filing date, the claim is:
         C/O WHITE & CASE, LLP                                           Check all that apply.
         ATTN: GREGORY M. STARNER
         1221 AVENUE OF THE AMERICAS                                      X
         NEW YORK, NY 10020                                               X
                                                                          X

                                                                         Basis for the claim: Litigation; Noteholder Litigation, Case Number 1:18-CV-01807

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.9       Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         AG MM, L.P.                                                     As of the petition filing date, the claim is:
         C/O WHITE & CASE, LLP                                           Check all that apply.
         ATTN: GREGORY M. STARNER
         1221 AVENUE OF THE AMERICAS                                      X
         NEW YORK, NY 10020                                               X
                                                                          X

                                                                         Basis for the claim: Litigation; Noteholder Litigation, Case Number 1:18-CV-01807

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.10      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         AG SUPER FUND INTERBATIONAL PARTNERS, L.P                       As of the petition filing date, the claim is:
         C/O WHITE & CASE, LLP                                           Check all that apply.
         ATTN: GREGORY M. STARNER
         1221 AVENUE OF THE AMERICAS                                      X
         NEW YORK, NY 10020                                               X
                                                                          X

                                                                         Basis for the claim: Litigation; Noteholder Litigation, Case Number 1:18-CV-01807

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.11      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         AG SUPER FUND, L.P.                                             As of the petition filing date, the claim is:
         C/O WHITE & CASE, LLP                                           Check all that apply.
         ATTN: GREGORY M. STARNER
         1221 AVENUE OF THE AMERICAS                                      X
         NEW YORK, NY 10020                                               X
                                                                          X

                                                                         Basis for the claim: Litigation; Noteholder Litigation, Case Number 1:18-CV-01807

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

Official Form 206E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 3 of 54
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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.12      Nonpriority creditor's name and mailing address                                                                                 $3,070,819,374.00

         AMFM OPERATING, INC.                                            As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Note Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.13      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         BENEFIT STREET PARTNERS LLC                                     As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Numbers 2016-CI-07857
                                                                         And 2016-CI-12468
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.14      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         BLUEJAY SECURITIES LLC                                          As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Numbers 2016-CI-07857
                                                                         And 2016-CI-12468
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.15      Nonpriority creditor's name and mailing address                                                                                    $57,885,125.00

         BNY MELLON                                                      As of the petition filing date, the claim is:
         ATTN: MOSES BALLENGER                                           Check all that apply.
         601 TRAVIS STREET, 16TH FLOOR
         HOUSTON, TX 77002



                                                                         Basis for the claim: 5.5% Legacy Notes Due 2016, maturity date of December 15,
                                                                         2016
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.16      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         CANYON CAPITAL ADVISORS LLC                                     As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Numbers 2016-CI-07857
                                                                         And 2016-CI-12468
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

Official Form 206E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 4 of 54
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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                           Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.17      Nonpriority creditor's name and mailing address                                                                                            $3,781.25

         CATAPULT STAFFING LLC                                           As of the petition filing date, the claim is:
         ATTN ALEX ANDERSON                                              Check all that apply.
         1820 PRESTON PARK BLVD STE 1600
         PLANO, TX 75093



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.18      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         CITIBANK, N.A.                                                  As of the petition filing date, the claim is:
         C/O ROSENTHAL PAUERSTEIN SANDOLOSKI AGATHER LLP                 Check all that apply.
         ATTN: STEPHEN K. LECHOLOP, II AND JONATHAN D. PAUERSTEIN
         755 EAST MULBERRY, SUITE 200                                     X
         SAN ANTONIO, TX 78212                                            X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-21286

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.19      Nonpriority creditor's name and mailing address                                                                                 $1,031,721,306.00

         CLEAR CHANNEL OUTDOOR HOLDINGS, INC.                            As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

3.20      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         CREDITOR NAME ON FILE                                           As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X
                                                                          X


                                                                         Basis for the claim: Guaranty of Contract Claim

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.21      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         D.E. SHAW GALVANIC PORTFOLIOS, LLC                              As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

Official Form 206E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 5 of 54
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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.22      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         DAVIDSON KEMPNER INSTITUTIONAL PARTNERS, L.P.                   As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.23      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         DAVIDSON KEMPNER INTERNATIONAL, LTD.                            As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.24      Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         DAVIDSON KEMPNER PARTNERS                                       As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.25      Nonpriority creditor's name and mailing address                                                                                            $81.45

         DICK ADGATE FLORIST INC                                         As of the petition filing date, the claim is:
         2300 ELM RD NE                                                  Check all that apply.
         WARREN, OH 44483
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.26      Nonpriority creditor's name and mailing address                                                                                       $175,193.19

         EMPLOYEE NAME ON FILE 2017-2778224                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.27      Nonpriority creditor's name and mailing address                                                                                        $15,792.90

         EMPLOYEE NAME ON FILE 2017-2778264                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.28      Nonpriority creditor's name and mailing address                                                                                        $38,583.99

         EMPLOYEE NAME ON FILE 2017-2778288                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.29      Nonpriority creditor's name and mailing address                                                                                        $72,637.91

         EMPLOYEE NAME ON FILE 2017-2778300                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.30      Nonpriority creditor's name and mailing address                                                                                       $621,507.66

         EMPLOYEE NAME ON FILE 2017-2778500                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.31      Nonpriority creditor's name and mailing address                                                                                        $41,384.10

         EMPLOYEE NAME ON FILE 2017-2778531                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.32      Nonpriority creditor's name and mailing address                                                                                        $19,895.25

         EMPLOYEE NAME ON FILE 2017-2778564                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.33      Nonpriority creditor's name and mailing address                                                                                        $27,704.41

         EMPLOYEE NAME ON FILE 2017-2778732                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.34      Nonpriority creditor's name and mailing address                                                                                            $330.23

         EMPLOYEE NAME ON FILE 2017-2778777                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.35      Nonpriority creditor's name and mailing address                                                                                        $66,962.16

         EMPLOYEE NAME ON FILE 2017-2778829                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.36      Nonpriority creditor's name and mailing address                                                                                        $45,809.94

         EMPLOYEE NAME ON FILE 2017-2778831                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.37      Nonpriority creditor's name and mailing address                                                                                       $286,795.90

         EMPLOYEE NAME ON FILE 2017-2778851                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.38      Nonpriority creditor's name and mailing address                                                                                        $30,449.12

         EMPLOYEE NAME ON FILE 2017-2778867                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.39      Nonpriority creditor's name and mailing address                                                                                            $9,593.04

         EMPLOYEE NAME ON FILE 2017-2778904                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.40      Nonpriority creditor's name and mailing address                                                                                        $11,981.76

         EMPLOYEE NAME ON FILE 2017-2779008                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.41      Nonpriority creditor's name and mailing address                                                                                       $106,257.05

         EMPLOYEE NAME ON FILE 2017-2779068                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.42      Nonpriority creditor's name and mailing address                                                                                        $12,544.62

         EMPLOYEE NAME ON FILE 2017-2779174                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.43      Nonpriority creditor's name and mailing address                                                                                        $31,209.90

         EMPLOYEE NAME ON FILE 2017-2779178                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.44      Nonpriority creditor's name and mailing address                                                                                         $6,567.05

         EMPLOYEE NAME ON FILE 2017-2779196                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.45      Nonpriority creditor's name and mailing address                                                                                        $47,146.79

         EMPLOYEE NAME ON FILE 2017-2779233                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.46      Nonpriority creditor's name and mailing address                                                                                        $13,752.58

         EMPLOYEE NAME ON FILE 2017-2779266                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.47      Nonpriority creditor's name and mailing address                                                                                        $25,896.67

         EMPLOYEE NAME ON FILE 2017-2779345                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.48      Nonpriority creditor's name and mailing address                                                                                        $13,024.25

         EMPLOYEE NAME ON FILE 2017-2779373                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.49      Nonpriority creditor's name and mailing address                                                                                         $5,712.90

         EMPLOYEE NAME ON FILE 2017-2779441                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.50      Nonpriority creditor's name and mailing address                                                                                       $258,366.27

         EMPLOYEE NAME ON FILE 2017-2779464                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.51      Nonpriority creditor's name and mailing address                                                                                        $16,164.04

         EMPLOYEE NAME ON FILE 2017-2779544                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.52      Nonpriority creditor's name and mailing address                                                                                         $2,104.53

         EMPLOYEE NAME ON FILE 2017-2779741                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.53      Nonpriority creditor's name and mailing address                                                                                         $5,380.92

         EMPLOYEE NAME ON FILE 2017-2779768                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.54      Nonpriority creditor's name and mailing address                                                                                        $47,991.18

         EMPLOYEE NAME ON FILE 2017-2779915                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.55      Nonpriority creditor's name and mailing address                                                                                        $18,523.10

         EMPLOYEE NAME ON FILE 2017-2779938                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.56      Nonpriority creditor's name and mailing address                                                                                        $14,463.14

         EMPLOYEE NAME ON FILE 2017-2779964                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.57      Nonpriority creditor's name and mailing address                                                                                             $173.45

         EMPLOYEE NAME ON FILE 2017-2780028                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.58      Nonpriority creditor's name and mailing address                                                                                        $19,247.93

         EMPLOYEE NAME ON FILE 2017-2780052                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.59      Nonpriority creditor's name and mailing address                                                                                        $46,620.43

         EMPLOYEE NAME ON FILE 2017-2780105                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.60      Nonpriority creditor's name and mailing address                                                                                        $97,285.25

         EMPLOYEE NAME ON FILE 2017-2780197                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.61      Nonpriority creditor's name and mailing address                                                                                       $482,403.25

         EMPLOYEE NAME ON FILE 2017-2780280                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.62      Nonpriority creditor's name and mailing address                                                                                        $27,394.64

         EMPLOYEE NAME ON FILE 2017-2780296                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.63      Nonpriority creditor's name and mailing address                                                                                         $8,512.58

         EMPLOYEE NAME ON FILE 2017-2780341                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.64      Nonpriority creditor's name and mailing address                                                                                        $55,522.98

         EMPLOYEE NAME ON FILE 2017-2780439                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.65      Nonpriority creditor's name and mailing address                                                                                        $17,364.50

         EMPLOYEE NAME ON FILE 2017-2780540                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.66      Nonpriority creditor's name and mailing address                                                                                        $50,554.49

         EMPLOYEE NAME ON FILE 2017-2780542                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.67      Nonpriority creditor's name and mailing address                                                                                        $30,044.94

         EMPLOYEE NAME ON FILE 2017-2780665                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.68      Nonpriority creditor's name and mailing address                                                                                        $16,514.55

         EMPLOYEE NAME ON FILE 2017-2780701                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.69      Nonpriority creditor's name and mailing address                                                                                        $56,753.83

         EMPLOYEE NAME ON FILE 2017-2781023                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.70      Nonpriority creditor's name and mailing address                                                                                        $10,057.34

         EMPLOYEE NAME ON FILE 2017-2781313                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.71      Nonpriority creditor's name and mailing address                                                                                     $2,031,723.27

         EMPLOYEE NAME ON FILE 2017-2781517                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.72      Nonpriority creditor's name and mailing address                                                                                         $5,054.34

         EMPLOYEE NAME ON FILE 2017-2781617                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.73      Nonpriority creditor's name and mailing address                                                                                        $13,154.28

         EMPLOYEE NAME ON FILE 2017-2781704                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.74      Nonpriority creditor's name and mailing address                                                                                        $75,509.16

         EMPLOYEE NAME ON FILE 2017-2781824                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.75      Nonpriority creditor's name and mailing address                                                                                        $78,180.19

         EMPLOYEE NAME ON FILE 2017-2781875                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.76      Nonpriority creditor's name and mailing address                                                                                       $321,233.55

         EMPLOYEE NAME ON FILE 2017-2781930                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.77      Nonpriority creditor's name and mailing address                                                                                       $627,907.37

         EMPLOYEE NAME ON FILE 2017-2781954                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.78      Nonpriority creditor's name and mailing address                                                                                             $472.62

         EMPLOYEE NAME ON FILE 2017-2781978                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.79      Nonpriority creditor's name and mailing address                                                                                        $83,117.48

         EMPLOYEE NAME ON FILE 2017-2781979                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.80      Nonpriority creditor's name and mailing address                                                                                       $110,037.73

         EMPLOYEE NAME ON FILE 2017-2781987                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.81      Nonpriority creditor's name and mailing address                                                                                       $110,416.12

         EMPLOYEE NAME ON FILE 2017-2782017                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.82      Nonpriority creditor's name and mailing address                                                                                        $32,346.33

         EMPLOYEE NAME ON FILE 2017-2782091                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.83      Nonpriority creditor's name and mailing address                                                                                        $33,884.06

         EMPLOYEE NAME ON FILE 2017-2782135                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.84      Nonpriority creditor's name and mailing address                                                                                         $4,348.28

         EMPLOYEE NAME ON FILE 2017-2782230                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.85      Nonpriority creditor's name and mailing address                                                                                        $29,427.91

         EMPLOYEE NAME ON FILE 2017-2782292                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.86      Nonpriority creditor's name and mailing address                                                                                        $21,266.22

         EMPLOYEE NAME ON FILE 2017-2782293                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.87      Nonpriority creditor's name and mailing address                                                                                         $3,034.32

         EMPLOYEE NAME ON FILE 2017-2782312                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.88      Nonpriority creditor's name and mailing address                                                                                         $9,084.65

         EMPLOYEE NAME ON FILE 2017-2782336                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.89      Nonpriority creditor's name and mailing address                                                                                        $17,434.60

         EMPLOYEE NAME ON FILE 2017-2782381                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.90      Nonpriority creditor's name and mailing address                                                                                         $2,256.67

         EMPLOYEE NAME ON FILE 2017-2782386                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.91      Nonpriority creditor's name and mailing address                                                                                        $14,920.17

         EMPLOYEE NAME ON FILE 2017-2782496                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.92      Nonpriority creditor's name and mailing address                                                                                        $40,845.72

         EMPLOYEE NAME ON FILE 2017-2782515                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.93      Nonpriority creditor's name and mailing address                                                                                        $31,369.16

         EMPLOYEE NAME ON FILE 2017-2782540                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.94      Nonpriority creditor's name and mailing address                                                                                        $67,539.74

         EMPLOYEE NAME ON FILE 2017-2782545                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.95      Nonpriority creditor's name and mailing address                                                                                       $178,876.79

         EMPLOYEE NAME ON FILE 2017-2782600                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.96      Nonpriority creditor's name and mailing address                                                                                        $30,881.52

         EMPLOYEE NAME ON FILE 2017-2782667                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.97      Nonpriority creditor's name and mailing address                                                                                        $60,742.14

         EMPLOYEE NAME ON FILE 2017-2782697                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.98      Nonpriority creditor's name and mailing address                                                                                        $10,723.92

         EMPLOYEE NAME ON FILE 2017-2782748                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.99      Nonpriority creditor's name and mailing address                                                                                        $39,825.38

         EMPLOYEE NAME ON FILE 2017-2782800                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.100     Nonpriority creditor's name and mailing address                                                                                        $13,914.57

         EMPLOYEE NAME ON FILE 2017-2782899                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.101     Nonpriority creditor's name and mailing address                                                                                        $13,168.02

         EMPLOYEE NAME ON FILE 2017-2782903                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.102     Nonpriority creditor's name and mailing address                                                                                        $17,965.67

         EMPLOYEE NAME ON FILE 2017-2783033                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.103     Nonpriority creditor's name and mailing address                                                                                        $15,883.45

         EMPLOYEE NAME ON FILE 2017-2783076                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.104     Nonpriority creditor's name and mailing address                                                                                        $40,940.70

         EMPLOYEE NAME ON FILE 2017-2783081                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.105     Nonpriority creditor's name and mailing address                                                                                         $3,211.24

         EMPLOYEE NAME ON FILE 2017-2783163                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.106     Nonpriority creditor's name and mailing address                                                                                        $31,199.41

         EMPLOYEE NAME ON FILE 2017-2783252                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.107     Nonpriority creditor's name and mailing address                                                                                       $257,935.15

         EMPLOYEE NAME ON FILE 2017-2783258                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.108     Nonpriority creditor's name and mailing address                                                                                       $400,575.50

         EMPLOYEE NAME ON FILE 2017-2783346                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.109     Nonpriority creditor's name and mailing address                                                                                         $8,821.95

         EMPLOYEE NAME ON FILE 2017-2783394                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.110     Nonpriority creditor's name and mailing address                                                                                       $164,660.89

         EMPLOYEE NAME ON FILE 2017-2783766                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.111     Nonpriority creditor's name and mailing address                                                                                        $25,249.81

         EMPLOYEE NAME ON FILE 2017-2783918                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.112     Nonpriority creditor's name and mailing address                                                                                       $309,924.08

         EMPLOYEE NAME ON FILE 2017-2783930                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.113     Nonpriority creditor's name and mailing address                                                                                        $61,511.12

         EMPLOYEE NAME ON FILE 2017-2783943                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.114     Nonpriority creditor's name and mailing address                                                                                        $12,695.75

         EMPLOYEE NAME ON FILE 2017-2783992                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.115     Nonpriority creditor's name and mailing address                                                                                        $13,350.76

         EMPLOYEE NAME ON FILE 2017-2784097                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.116     Nonpriority creditor's name and mailing address                                                                                       $140,309.10

         EMPLOYEE NAME ON FILE 2017-2784368                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.117     Nonpriority creditor's name and mailing address                                                                                        $49,837.37

         EMPLOYEE NAME ON FILE 2017-2784620                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.118     Nonpriority creditor's name and mailing address                                                                                        $15,727.64

         EMPLOYEE NAME ON FILE 2017-2784742                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.119     Nonpriority creditor's name and mailing address                                                                                        $19,712.12

         EMPLOYEE NAME ON FILE 2017-2784752                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.120     Nonpriority creditor's name and mailing address                                                                                         $9,541.25

         EMPLOYEE NAME ON FILE 2017-2785007                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.121     Nonpriority creditor's name and mailing address                                                                                        $11,276.04

         EMPLOYEE NAME ON FILE 2017-2785116                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.122     Nonpriority creditor's name and mailing address                                                                                        $19,153.54

         EMPLOYEE NAME ON FILE 2017-2785164                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.123     Nonpriority creditor's name and mailing address                                                                                        $39,407.94

         EMPLOYEE NAME ON FILE 2017-2785274                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.124     Nonpriority creditor's name and mailing address                                                                                        $98,955.97

         EMPLOYEE NAME ON FILE 2017-2785292                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.125     Nonpriority creditor's name and mailing address                                                                                        $35,719.90

         EMPLOYEE NAME ON FILE 2017-2785362                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.126     Nonpriority creditor's name and mailing address                                                                                        $57,399.12

         EMPLOYEE NAME ON FILE 2017-2785415                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.127     Nonpriority creditor's name and mailing address                                                                                        $17,739.23

         EMPLOYEE NAME ON FILE 2017-2785590                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.128     Nonpriority creditor's name and mailing address                                                                                       $102,924.61

         EMPLOYEE NAME ON FILE 2017-2786009                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.129     Nonpriority creditor's name and mailing address                                                                                         $6,551.00

         EMPLOYEE NAME ON FILE 2017-2786272                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.130     Nonpriority creditor's name and mailing address                                                                                        $16,438.50

         EMPLOYEE NAME ON FILE 2017-2786352                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.131     Nonpriority creditor's name and mailing address                                                                                        $83,458.47

         EMPLOYEE NAME ON FILE 2017-2786704                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.132     Nonpriority creditor's name and mailing address                                                                                        $65,847.22

         EMPLOYEE NAME ON FILE 2017-2786920                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.133     Nonpriority creditor's name and mailing address                                                                                        $20,201.09

         EMPLOYEE NAME ON FILE 2017-2787055                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.134     Nonpriority creditor's name and mailing address                                                                                        $23,732.58

         EMPLOYEE NAME ON FILE 2017-2787280                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.135     Nonpriority creditor's name and mailing address                                                                                        $78,782.16

         EMPLOYEE NAME ON FILE 2017-2787292                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.136     Nonpriority creditor's name and mailing address                                                                                        $66,170.63

         EMPLOYEE NAME ON FILE 2017-2787298                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.137     Nonpriority creditor's name and mailing address                                                                                        $96,939.52

         EMPLOYEE NAME ON FILE 2017-2787344                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.138     Nonpriority creditor's name and mailing address                                                                                        $89,181.70

         EMPLOYEE NAME ON FILE 2017-2787378                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.139     Nonpriority creditor's name and mailing address                                                                                        $22,088.88

         EMPLOYEE NAME ON FILE 2017-2787429                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.140     Nonpriority creditor's name and mailing address                                                                                        $21,275.34

         EMPLOYEE NAME ON FILE 2017-2787666                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.141     Nonpriority creditor's name and mailing address                                                                                        $43,527.85

         EMPLOYEE NAME ON FILE 2017-2787692                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.142     Nonpriority creditor's name and mailing address                                                                                        $44,589.83

         EMPLOYEE NAME ON FILE 2017-2787796                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.143     Nonpriority creditor's name and mailing address                                                                                        $22,763.60

         EMPLOYEE NAME ON FILE 2017-2787838                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.144     Nonpriority creditor's name and mailing address                                                                                        $18,246.38

         EMPLOYEE NAME ON FILE 2017-2788053                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.145     Nonpriority creditor's name and mailing address                                                                                        $13,336.16

         EMPLOYEE NAME ON FILE 2017-2788094                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.146     Nonpriority creditor's name and mailing address                                                                                        $19,283.42

         EMPLOYEE NAME ON FILE 2017-2788113                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
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Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.147     Nonpriority creditor's name and mailing address                                                                                         $5,800.49

         EMPLOYEE NAME ON FILE 2017-2788302                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.148     Nonpriority creditor's name and mailing address                                                                                         $7,257.10

         EMPLOYEE NAME ON FILE 2017-2788456                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.149     Nonpriority creditor's name and mailing address                                                                                       $120,747.45

         EMPLOYEE NAME ON FILE 2017-2788652                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.150     Nonpriority creditor's name and mailing address                                                                                        $28,853.78

         EMPLOYEE NAME ON FILE 2017-2788930                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.151     Nonpriority creditor's name and mailing address                                                                                        $38,076.04

         EMPLOYEE NAME ON FILE 2017-2788953                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.152     Nonpriority creditor's name and mailing address                                                                                         $5,399.31

         EMPLOYEE NAME ON FILE 2017-2789182                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.153     Nonpriority creditor's name and mailing address                                                                                        $32,122.06

         EMPLOYEE NAME ON FILE 2017-2789188                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.154     Nonpriority creditor's name and mailing address                                                                                        $50,878.09

         EMPLOYEE NAME ON FILE 2017-2789204                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.155     Nonpriority creditor's name and mailing address                                                                                         $3,464.00

         EMPLOYEE NAME ON FILE 2017-2789226                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.156     Nonpriority creditor's name and mailing address                                                                                         $5,006.45

         EMPLOYEE NAME ON FILE 2017-2789323                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.157     Nonpriority creditor's name and mailing address                                                                                        $33,675.15

         EMPLOYEE NAME ON FILE 2017-2789359                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.158     Nonpriority creditor's name and mailing address                                                                                        $51,514.80

         EMPLOYEE NAME ON FILE 2017-2789388                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.159     Nonpriority creditor's name and mailing address                                                                                        $23,912.66

         EMPLOYEE NAME ON FILE 2017-2789547                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.160     Nonpriority creditor's name and mailing address                                                                                        $35,302.35

         EMPLOYEE NAME ON FILE 2017-2789616                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.161     Nonpriority creditor's name and mailing address                                                                                         $6,519.22

         EMPLOYEE NAME ON FILE 2017-2790130                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.162     Nonpriority creditor's name and mailing address                                                                                        $10,552.91

         EMPLOYEE NAME ON FILE 2017-2790399                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.163     Nonpriority creditor's name and mailing address                                                                                       $325,221.75

         EMPLOYEE NAME ON FILE 2017-2790464                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.164     Nonpriority creditor's name and mailing address                                                                                        $31,294.58

         EMPLOYEE NAME ON FILE 2017-2790584                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.165     Nonpriority creditor's name and mailing address                                                                                        $25,688.35

         EMPLOYEE NAME ON FILE 2017-2790844                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.166     Nonpriority creditor's name and mailing address                                                                                        $30,512.43

         EMPLOYEE NAME ON FILE 2017-2790856                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.167     Nonpriority creditor's name and mailing address                                                                                         $5,396.57

         EMPLOYEE NAME ON FILE 2017-2790874                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.168     Nonpriority creditor's name and mailing address                                                                                         $4,609.37

         EMPLOYEE NAME ON FILE 2017-2790876                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.169     Nonpriority creditor's name and mailing address                                                                                        $37,950.89

         EMPLOYEE NAME ON FILE 2017-2790937                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.170     Nonpriority creditor's name and mailing address                                                                                        $32,498.37

         EMPLOYEE NAME ON FILE 2017-2790964                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.171     Nonpriority creditor's name and mailing address                                                                                        $32,041.35

         EMPLOYEE NAME ON FILE 2017-2790984                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.172     Nonpriority creditor's name and mailing address                                                                                        $17,508.05

         EMPLOYEE NAME ON FILE 2017-2790993                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.173     Nonpriority creditor's name and mailing address                                                                                        $78,849.38

         EMPLOYEE NAME ON FILE 2017-2791088                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.174     Nonpriority creditor's name and mailing address                                                                                        $39,729.01

         EMPLOYEE NAME ON FILE 2017-2791137                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.175     Nonpriority creditor's name and mailing address                                                                                        $37,194.12

         EMPLOYEE NAME ON FILE 2017-2791170                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.176     Nonpriority creditor's name and mailing address                                                                                       $213,491.97

         EMPLOYEE NAME ON FILE 2017-2791172                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.177     Nonpriority creditor's name and mailing address                                                                                       $164,175.31

         EMPLOYEE NAME ON FILE 2017-2791276                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.178     Nonpriority creditor's name and mailing address                                                                                         $3,913.50

         EMPLOYEE NAME ON FILE 2017-2791280                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.179     Nonpriority creditor's name and mailing address                                                                                       $138,992.29

         EMPLOYEE NAME ON FILE 2017-2791480                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.180     Nonpriority creditor's name and mailing address                                                                                        $38,090.49

         EMPLOYEE NAME ON FILE 2017-2791549                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.181     Nonpriority creditor's name and mailing address                                                                                        $12,588.54

         EMPLOYEE NAME ON FILE 2017-2791663                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
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Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.182     Nonpriority creditor's name and mailing address                                                                                        $69,734.88

         EMPLOYEE NAME ON FILE 2017-2791733                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.183     Nonpriority creditor's name and mailing address                                                                                        $31,878.06

         EMPLOYEE NAME ON FILE 2017-2791783                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.184     Nonpriority creditor's name and mailing address                                                                                        $11,067.37

         EMPLOYEE NAME ON FILE 2017-2791915                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.185     Nonpriority creditor's name and mailing address                                                                                        $65,853.68

         EMPLOYEE NAME ON FILE 2017-2792072                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.186     Nonpriority creditor's name and mailing address                                                                                        $28,033.10

         EMPLOYEE NAME ON FILE 2017-2792075                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.187     Nonpriority creditor's name and mailing address                                                                                         $6,813.68

         EMPLOYEE NAME ON FILE 2017-2798172                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.188     Nonpriority creditor's name and mailing address                                                                                        $12,043.43

         EMPLOYEE NAME ON FILE 2017-2799082                              As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.189     Nonpriority creditor's name and mailing address                                                                                         $5,540.96

         EMPLOYEE NAME ON FILE 2018-615077                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.190     Nonpriority creditor's name and mailing address                                                                                        $39,178.86

         EMPLOYEE NAME ON FILE 2018-615078                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.191     Nonpriority creditor's name and mailing address                                                                                         $5,754.26

         EMPLOYEE NAME ON FILE 2018-615079                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.192     Nonpriority creditor's name and mailing address                                                                                        $51,514.88

         EMPLOYEE NAME ON FILE 2018-615080                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.193     Nonpriority creditor's name and mailing address                                                                                        $54,474.25

         EMPLOYEE NAME ON FILE 2018-615081                               As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: Deferred Compensation

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.194     Nonpriority creditor's name and mailing address                                                                                             $218.92

         ENGRAVERS UNLIMITED INC                                         As of the petition filing date, the claim is:
         6065 BARFIELD RD STE114                                         Check all that apply.
         ATLANTA, GA 30328
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.195     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         FRANKLIN ADVISERS, INC.                                         As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: J. LAURENS WILKES AND NICOLE M. PERRY
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Numbers 04:16-0532-CV
                                                                         And 2016-CI-07857
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.196     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         FRANKLIN MUTUAL ADVISERS, LLC                                   As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.197     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         HUTCHIN HILL CAPITAL PRIMARY FUND, LTD.                         As of the petition filing date, the claim is:
         C/O WHITE & CASE, LLP                                           Check all that apply.
         ATTN: GREGORY M. STARNER
         1221 AVENUE OF THE AMERICAS                                      X
         NEW YORK, NY 10020                                               X
                                                                          X

                                                                         Basis for the claim: Litigation; Noteholder Litigation, Case Number 1:18-CV-01807

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.198     Nonpriority creditor's name and mailing address                                                                                $10,482,552,385.00

         IHEARTMEDIA MANAGEMENT SERVICES, INC.                           As of the petition filing date, the claim is:
         20880 STONE OAK PKWY                                            Check all that apply.
         SAN ANTONIO, TX 78258




                                                                         Basis for the claim: Intercompany Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                  X Yes

3.199     Nonpriority creditor's name and mailing address                                                                                         $7,448.10

         INDIVIDUAL NAME ON FILE                                         As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.200     Nonpriority creditor's name and mailing address                                                                                             $480.00

         INSIGHT GLOBAL INC                                              As of the petition filing date, the claim is:
         POB 198226                                                      Check all that apply.
         ATLANTA, GA 30384-8226




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.201     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         ISLINGTON PARTNERS, L.P.                                        As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.202     Nonpriority creditor's name and mailing address                                                                                             $248.87

         JASONS DELI                                                     As of the petition filing date, the claim is:
         2929 MOSSROCK STE 119                                           Check all that apply.
         SAN ANTONIO, TX 78230




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.203     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         KINGDON CREDIT MASTER FUND, L.P.                                As of the petition filing date, the claim is:
         C/O WHITE & CASE, LLP                                           Check all that apply.
         ATTN: GREGORY M. STARNER
         1221 AVENUE OF THE AMERICAS                                      X
         NEW YORK, NY 10020                                               X
                                                                          X

                                                                         Basis for the claim: Litigation; Noteholder Litigation, Case Number 1:18-CV-01807

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.204     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         LAND TRANSPORT AUTHORITY OF SINGAPORE                           As of the petition filing date, the claim is:
         1 HAMPSHIRE ROAD                                                Check all that apply.
         219428
         SINGAPORE                                                        X
                                                                          X


                                                                         Basis for the claim: Guaranty Claim

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.205     Nonpriority creditor's name and mailing address                                                                                 $2,406,523,699.57

         LAW DEBENTURE TRUST COMPANY                                     As of the petition filing date, the claim is:
         ATTN: JAMES HEANEY                                              Check all that apply.
         400 MADISON AVENUE
         NEW YORK, NY 10017



                                                                         Basis for the claim: 14% Senior Notes, maturity date of February 1, 2021

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.206     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         LITIGATION PARTY - NAME ON FILE                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X
                                                                          X
                                                                          X

                                                                         Basis for the claim: Litigation; Employment Matter, Case Number 4523095

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.207     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         LITIGATION PARTY - NAME ON FILE                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X
                                                                          X
                                                                          X

                                                                         Basis for the claim: Litigation; Personal Injury, Case Number 2017DCV0153

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.208     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         LITIGATION PARTY - NAME ON FILE                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X
                                                                          X
                                                                          X

                                                                         Basis for the claim: Litigation; Libel, Defamation And Slander, Case Number 2015-C-
                                                                         406
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.209     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         LITIGATION PARTY - NAME ON FILE                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X
                                                                          X
                                                                          X

                                                                         Basis for the claim: Litigation; Libel, Defamation And Slander, Case Number 2015-C-
                                                                         406
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.210     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         LITIGATION PARTY - NAME ON FILE                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X
                                                                          X
                                                                          X

                                                                         Basis for the claim: Litigation; Libel, Defamation And Slander, Case Number 2015-C-
                                                                         406
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.211     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         LITIGATION PARTY - NAME ON FILE                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X
                                                                          X
                                                                          X

                                                                         Basis for the claim: Litigation; Employment Matter, Case Number ADJ8469276

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.212     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         LITIGATION PARTY - NAME ON FILE                                 As of the petition filing date, the claim is:
         ADDRESS ON FILE                                                 Check all that apply.
                                                                          X
                                                                          X
                                                                          X

                                                                         Basis for the claim: Litigation; Employment Matter, Case Number ADJ8129929

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.213     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         LOS ANGELES CLIPPERS, PROFESSIONAL BASKETBALL CLUB DBA          As of the petition filing date, the claim is:
         OKLAHOMA CITY THUNDER FKA SEATTLE SUPERSONICS                   Check all that apply.
         C/O GASKELL & BROWN, LLP
         ATTN: DEBORAH GASKELL                                            X
         159 E. CITY PLACE DRIVE                                          X
         SANTA ANA, CA 92705                                              X

                                                                         Basis for the claim: Litigation; Employment Matter, Case Numbers ADJ8129929 And
                                                                         ADJ8469276
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.214     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         M KINGDON OFFSHORE MASTER FUND, L.P.                            As of the petition filing date, the claim is:
         C/O WHITE & CASE, LLP                                           Check all that apply.
         ATTN: GREGORY M. STARNER
         1221 AVENUE OF THE AMERICAS                                      X
         NEW YORK, NY 10020                                               X
                                                                          X

                                                                         Basis for the claim: Litigation; Noteholder Litigation, Case Number 1:18-CV-01807

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.215     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         M.H. DAVIDSON & CO.                                             As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.216     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         MIDTOWN ACQUISITIONS L.P.                                       As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.217     Nonpriority creditor's name and mailing address                                                                                         $5,258.62

         MUNSCH HARDT                                                    As of the petition filing date, the claim is:
         500 N AKARD ST                                                  Check all that apply.
         3800 LINCOLN PLZ
         DALLAS, TX 75201



                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.218     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         NORFOLK COUNTY RETIREMENT SYSTEM                                As of the petition filing date, the claim is:
         C/O LABATON SUCHAROW LLP                                        Check all that apply.
         ATTN: NED WEINBERGER AND THOMAS CURRY
         300 DELAWARE AVE, SUITE 1340                                     X
         WILMINGTON, DE 19801                                             X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2017-0930

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.219     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         NUTMEG PARTNERS, L.P.                                           As of the petition filing date, the claim is:
         C/O WHITE & CASE, LLP                                           Check all that apply.
         ATTN: GREGORY M. STARNER
         1221 AVENUE OF THE AMERICAS                                      X
         NEW YORK, NY 10020                                               X
                                                                          X

                                                                         Basis for the claim: Litigation; Noteholder Litigation, Case Number 1:18-CV-01807

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.220     Nonpriority creditor's name and mailing address                                                                                             $450.19

         OH NATL TIRE & BAT #523                                         As of the petition filing date, the claim is:
         1128 BOARDMAN POLAND RD                                         Check all that apply.
         POLAND, OH 44514
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.221     Nonpriority creditor's name and mailing address                                                                                             $544.46

         OHIO EDISON                                                     As of the petition filing date, the claim is:
         POB 3637                                                        Check all that apply.
         AKRON, OH 44309
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.222     Nonpriority creditor's name and mailing address                                                                                              $75.58

         OHIO TREASURER JOSH MANDEL                                      As of the petition filing date, the claim is:
         POB 183089                                                      Check all that apply.
         COLUMBUS, OH 43218
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.223     Nonpriority creditor's name and mailing address                                                                                             $252.00

         POSTMASTER                                                      As of the petition filing date, the claim is:
         407 BOARDMAN-CANFIELD RD                                        Check all that apply.
         YOUNGSTOWN, OH 44512
                                                                          X



                                                                         Basis for the claim: Unclaimed Property

         Date or dates debt was incurred                                 Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.224     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         TACONIC MASTER FUND 1.5 L.P.                                    As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.225     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         TACONIC OPPORTUNITY MASTER FUND L.P.                            As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.226     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         THE BANK OF NEW YORK MELLON TRUST CO., N.A.                     As of the petition filing date, the claim is:
         C/O REED SMITH LLP                                              Check all that apply.
         ATTN: LOUIS M. SOLOMON
         599 LEXINGTON AVENUE, 22ND FLOOR                                 X
         NEW YORK, NY 10022                                               X
                                                                          X

                                                                         Basis for the claim: Litigation; Noteholder Litigation, Case Number 1:18-CV-01807

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.227     Nonpriority creditor's name and mailing address                                                                                         $1,000.00

         THE BANK OF NEW YORK MELLON                                     As of the petition filing date, the claim is:
         500 ROSS ST                                                     Check all that apply.
         PITTSBURGH, PA 15262




                                                                         Basis for the claim: General Trade Payable

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                              No
         Last 4 digits of account number                                      Yes

3.228     Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         THE BANK OF NEW YORK N/K/A THE BANK OF NEW YORK MELLON          As of the petition filing date, the claim is:
         CORPORATION                                                     Check all that apply.
         C/O REED SMITH LLP
         ATTN: KENNETH E. BROUGHTON AND MICHAEL H. BERNICK                X
         811 MAIN STREET                                                  X
         SUITE 1700                                                       X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-21289

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.229     Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         U.S. BANK NATIONAL ASSOCIATION                                  As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: GEOFFREY S. STEWART, THOMAS F. CULLEN, JR. AND DAVID
         S. TORBORG                                                       X
         51 LOUISIANA AVENUE, N.W.                                        X
         WASHINGTON, DC 20001-2113                                        X

                                                                         Basis for the claim: Litigation; Business Governance, Case Numbers 2016-CI-21286
                                                                         And 2016-CI-07857
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.230     Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         UMB BANK, NATIONAL ASSOCIATION                                  As of the petition filing date, the claim is:
         C/O KELLEY DRYE & WARREN LLP                                    Check all that apply.
         ATTN: WILLIAM J. JACKSON
         515 POST OAK BLVD., SUITE 900                                    X
         HOUSTON, TX 77027                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-21286

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.231     Nonpriority creditor's name and mailing address                                                                                 $1,104,940,969.38

         UMB BANK                                                        As of the petition filing date, the claim is:
         ATTN: LAURA ROBERSON                                            Check all that apply.
         2 SOUTH BROADWAY SUITE 600
         ST. LOUIS, MO 63102



                                                                         Basis for the claim: 11.25% Priority Guarantee Notes, maturity date of March 1, 2021

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

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Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




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                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.232     Nonpriority creditor's name and mailing address                                                                                 $1,000,468,750.00

         US BANK                                                         As of the petition filing date, the claim is:
         ATTN: KRISTEL D. RICHARDS                                       Check all that apply.
         13737 NOEL ROAD, SUITE 800
         DALLAS, TX 75240



                                                                         Basis for the claim: 10.625% Priority Guarantee Notes, maturity date of March 15,
                                                                         2023
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.233     Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         WATERSHED CAPITAL INSTITUTIONAL PARTNERS III, L.P.              As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.234     Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         WATERSHED CAPITAL PARTNERS (OFFSHORE) MASTER FUND II,           As of the petition filing date, the claim is:
         L.P.                                                            Check all that apply.
         C/O JONES DAY
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES                        X
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.235     Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         WATERSHED CAPITAL PARTNERS (OFFSHORE) MASTER FUND III,          As of the petition filing date, the claim is:
         L.P.                                                            Check all that apply.
         C/O JONES DAY
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES                        X
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.236     Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         WATERSHED CAPITAL PARTNERS (OFFSHORE) MASTER FUND IV,           As of the petition filing date, the claim is:
         L.P.                                                            Check all that apply.
         C/O JONES DAY
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES                        X
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

Official Form 206E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 48 of 54
                 Case 18-31274 Document 855 Filed in TXSB on 05/29/18 Page 113 of 234

Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.237     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         WATERSHED CAPITAL PARTNERS (OFFSHORE)MASTER FUND, L.P.          As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.238     Nonpriority creditor's name and mailing address                                                                                   $178,007,812.50

         WILMINGTON SAVINGS FUND SOCIETY, FSB                            As of the petition filing date, the claim is:
         WSFS BANK CENTER                                                Check all that apply.
         500 DELAWARE AVENUE
         WILMINGTON, DE 19801



                                                                         Basis for the claim: 6.875% Unsecured Notes, maturity date of June 15, 2018

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.239     Nonpriority creditor's name and mailing address                                                                                   $309,062,500.00

         WILMINGTON SAVINGS FUND SOCIETY, FSB                            As of the petition filing date, the claim is:
         WSFS BANK CENTER                                                Check all that apply.
         500 DELAWARE AVENUE
         WILMINGTON, DE 19801



                                                                         Basis for the claim: 7.25% Unsecured Notes, maturity date of October 15, 2027

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.240     Nonpriority creditor's name and mailing address                                                                                   $ Undetermined

         WILMINGTON TRUST, NATIONAL ASSOCIATION, F/K/A WILMINGTON        As of the petition filing date, the claim is:
         TRUST FSB                                                       Check all that apply.
         C/O DYKEMA COX SMITH
         ATTN: MICHAEL DEBS BERNARD                                       X
         112 E. PECAN STREET, SUITE 1800                                  X
         SAN ANTONIO, TX 78205                                            X

                                                                         Basis for the claim: Litigation; Business Governance, Case Numbers 2016-CI-21286
                                                                         And 2016-CI-07857
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.241     Nonpriority creditor's name and mailing address                                                                                 $1,045,000,000.00

         WILMINGTON TRUST                                                As of the petition filing date, the claim is:
         ATTN: JACK NEEDHAM                                              Check all that apply.
         1100 N. MARKET STREET
         WILMINGTON, DE 19890



                                                                         Basis for the claim: 9% Priority Guarantee Notes, maturity date of September 15,
                                                                         2022
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

Official Form 206E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 49 of 54
                 Case 18-31274 Document 855 Filed in TXSB on 05/29/18 Page 114 of 234

Debtor          iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
                Name




Part 2:       Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
                                                                                                                          Amount of claim
If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.242     Nonpriority creditor's name and mailing address                                                                                 $1,834,875,000.00

         WILMINGTON TRUST                                                As of the petition filing date, the claim is:
         ATTN: JACK NEEDHAM                                              Check all that apply.
         1100 N. MARKET STREET
         WILMINGTON, DE 19890



                                                                         Basis for the claim: 9% Priority Guarantee Notes, maturity date of March 1, 2021

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.243     Nonpriority creditor's name and mailing address                                                                                 $2,044,810,837.50

         WILMINGTON TRUST                                                As of the petition filing date, the claim is:
         ATTN: JACK NEEDHAM                                              Check all that apply.
         1100 N. MARKET STREET
         WILMINGTON, DE 19890



                                                                         Basis for the claim: 9% Priority Guarantee Notes, maturity date of December 15,
                                                                         2019
         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes

3.244     Nonpriority creditor's name and mailing address                                                                                    $ Undetermined

         WINGSPAN INVESTMENT MANAGEMENT, LP                              As of the petition filing date, the claim is:
         C/O JONES DAY                                                   Check all that apply.
         ATTN: N.SCOTT FLETCHER AND LAURENS WILKES
         717 TEXAS AVENUE, SUITE 3300                                     X
         HOUSTON, TX 77002                                                X
                                                                          X

                                                                         Basis for the claim: Litigation; Business Governance, Case Number 2016-CI-07857

         Date or dates debt was incurred Undetermined                    Is the claim subject to offset?
                                                                          X No
         Last 4 digits of account number                                      Yes




Official Form 206E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                     Page 50 of 54
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Debtor          iHeartCommunications, Inc.                                                              Case number (if known) 18-31273 (MI)
               Name




 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.
If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



      Name and mailing address                                                                 On which line in Part 1 or Part 2 is            Last 4 digits of
                                                                                               the related creditor (if any) listed?           account number, if
                                                                                                                                               any

   1 BENEFIT STREET PARTNERS LLC                                                              Line 13
     C/O JONES DAY
     ATTN: J. LAUREN WILKES AND NECOLE M. PERRY                                                    Not listed. Explain
     717 TEXAS AVENUE, SUITE 3300
     HOUSTON, TX 77002



   2 BENEFIT STREET PARTNERS LLC                                                              Line 13
     C/O GONZALEZ, CHISCANO, ANGULO & KASSON, PC
     ATTN: STEVE A. CHISCANO, DAVID S. ANGULO AND JEFFRIE BOYSEN LEWIS                             Not listed. Explain
     613 N.W. LOOP 410, SUITE 800
     SAN ANTONIO, TX 78216



   3 BENEFIT STREET PARTNERS LLC                                                              Line 13
     C/O JONES DAY
     ATTN: BRUCE S. BENNETT AND JAMES JOHNSTON                                                     Not listed. Explain
     555 SOUTH FLOWER STREET, 50TH FLOOR
     LOS ANGELES, CA 90071



   4 BENEFIT STREET PARTNERS LLC                                                              Line 13
     C/O JONES DAY
     ATTN: THOMAS F. CULLEN, JR. AND GEOFFREY STEWART                                              Not listed. Explain
     51 LOUISIANA AVENUE, N.W.
     WASHINGTON, DC 20001-2113



   5 BLUEJAY SECURITIES LLC                                                                   Line 14
     C/O FORD MURRAY, PLLC
     ATTN: WILLIAM H. FORD AND S. MARK MURRAY                                                      Not listed. Explain
     10001 REUNION PLACE, SUITE 640
     SAN ANTONIO, TX 78216



   6 BLUEJAY SECURITIES LLC                                                                   Line 14
     C/O DAVIS POLK & WARDWELL LLP
     ATTN: ELLIOTT MOSKOWITZ, ELI J. VONNEGUT AND LYNN E. BUSATH                                   Not listed. Explain
     450 LEXINGTON AVENUE
     NEW YORK, NY 10017



   7 CANYON CAPITAL ADVISORS LLC                                                              Line 16
     C/O JONES DAY
     ATTN: N.SCOTT FLETCHER AND LAURENS WILKES                                                     Not listed. Explain
     717 TEXAS AVENUE, SUITE 3300
     HOUSTON, TX 77002




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 51 of 54
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Debtor         iHeartCommunications, Inc.                                                Case number (if known) 18-31273 (MI)
              Name




Part 3:     Additional Page for Others to Be Notified About Unsecured Claims

     Name and mailing address                                                       On which line in Part 1 or Part 2 is        Last 4 digits of
                                                                                    the related creditor (if any) listed?       account number, if
                                                                                                                                any

   8 CANYON CAPITAL ADVISORS LLC                                                    Line 16
     C/O JONES DAY
     ATTN: N.SCOTT FLETCHER AND LAURENS WILKES                                           Not listed. Explain
     717 TEXAS AVENUE, SUITE 3300
     HOUSTON, TX 77002



   9 CITIBANK, N.A.                                                                 Line 18
     C/O CAHILL GORDON & REINDEL LLP
     ATTN: CHARLES A. GILMAN AND JOHNATHAN R.L. SHARKEY                                  Not listed. Explain
     80 PINE STREET
     NEW YORK, NY 10005



  10 FRANKLIN ADVISERS, INC.                                                        Line 195
     C/O JONES DAY
     ATTN: BRUCE BENNETT                                                                 Not listed. Explain
     555 SOUTH FLOWER STREET
     50TH FLOOR
     LOS ANGELES, CA 90071

  11 FRANKLIN ADVISERS, INC.                                                        Line 195
     C/O JONES DAY
     ATTN: THOMAS F. ALLEN, JR.                                                          Not listed. Explain
     2727 NORTH HARWOOD STREET
     DALLAS, TX 75201



  12 FRANKLIN ADVISERS, INC.                                                        Line 195
     C/O JONES DAY
     ATTN: THOMAS F. CULLEN, JR.                                                         Not listed. Explain
     51 LOUISIANA AVENUE, N.W.
     WASHINGTON, DC 20001



  13 FRANKLIN ADVISERS, INC.                                                        Line 195
     C/O GONZALEZ, CHISCANO, ANGULO & KASSON, PC
     ATTN: STEVE A. CHISCANO, DAVID S. ANGULO AND JEFFRIE BOYSEN LEWIS                   Not listed. Explain
     613 N.W. LOOP 410, SUITE 800
     SAN ANTONIO, TX 78216



  14 FRANKLIN ADVISERS, INC.                                                        Line 195
     C/O JONES DAY
     ATTN: N.SCOTT FLETCHER AND LAURENS WILKES                                           Not listed. Explain
     717 TEXAS AVENUE, SUITE 3300
     HOUSTON, TX 77002



  15 NORFOLK COUNTY RETIREMENT SYSTEM                                               Line 218
     C/O FRIEDMAN OSTER & TEJTEL PLLC
     ATTN: JEREMY S. FRIEDMAN, SPENCER OSTER AND DAVID F.E. TEJTEL                       Not listed. Explain
     240 EAST 79TH STREET, SUITE A
     NEW YORK, NY 10075



  16 NORFOLK COUNTY RETIREMENT SYSTEM                                               Line 218
     ATTN: JAY W. EISENHOFER, MICHAEL J. BARRY AND MARY S. THOMAS
     123 JUSTISON STREET                                                                 Not listed. Explain
     WILMINGTON, DE 19801




  17 THE BANK OF NEW YORK N/K/A THE BANK OF NEW YORK MELLON CORPORATION             Line 228
     C/O REED SMITH LLP
     ATTN: ERIC A. SCHAFFER                                                              Not listed. Explain
     225 FIFTH AVENUE
     PITTSBURGH, PA 15222-2716




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 52 of 54
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Debtor         iHeartCommunications, Inc.                                                Case number (if known) 18-31273 (MI)
              Name




Part 3:     Additional Page for Others to Be Notified About Unsecured Claims

     Name and mailing address                                                       On which line in Part 1 or Part 2 is        Last 4 digits of
                                                                                    the related creditor (if any) listed?       account number, if
                                                                                                                                any

  18 U.S. BANK NATIONAL ASSOCIATION                                                 Line 229
     C/O JONES DAY
     ATTN: BRUCE S. BENNETT AND JAMES O. JOHNSTON                                        Not listed. Explain
     555 SOUTH FLOWER STREET
     LOS ANGELES, CA 90071



  19 U.S. BANK NATIONAL ASSOCIATION                                                 Line 229
     C/O K & L GATES LLP
     ATTN: ELIZABETH ABBOTT GILMAN AND JOHN FRANCIS SULLIVAN, III                        Not listed. Explain
     1000 MAIN, SUITE 2550
     HOUSTON, TX 77002



  20 U.S. BANK NATIONAL ASSOCIATION                                                 Line 229
     C/O JONES DAY
     ATTN: J. LAUREN WILKES AND NICOLE MARIE PERRY                                       Not listed. Explain
     717 TEXAS, SUITE 3300
     HOUSTON, TX 77002



  21 U.S. BANK NATIONAL ASSOCIATION                                                 Line 229
     C/O JONES DAY
     ATTN: N.SCOTT FLETCHER AND LAURENS WILKES                                           Not listed. Explain
     717 TEXAS AVENUE, SUITE 3300
     HOUSTON, TX 77002



  22 UMB BANK, NATIONAL ASSOCIATION                                                 Line 230
     C/O KELLEY DRYE & WARREN LLP
     ATTN: ERIC R. WILSON AND WILLIAM S. GYVES                                           Not listed. Explain
     101 PARK AVENUE
     NEW YORK, NY 10178



  23 WILMINGTON TRUST, NATIONAL ASSOCIATION, F/K/A WILMINGTON TRUST FSB             Line 240
     C/O THOMPSON HINE LLP
     ATTN: CURTIS L. TUGGLE                                                              Not listed. Explain
     3900 KEY CENTER
     127 PUBLIC SQUARE
     CLEVELAND, OH 44114-1291

  24 WILMINGTON TRUST, NATIONAL ASSOCIATION, F/K/A WILMINGTON TRUST FSB             Line 240
     C/O JONES DAY
     ATTN: N.SCOTT FLETCHER AND LAURENS WILKES                                           Not listed. Explain
     717 TEXAS AVENUE, SUITE 3300
     HOUSTON, TX 77002




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                   Page 53 of 54
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iHeartCommunications, Inc.                           18-31273 (MI)




                                                                                       0.00
                                                                     + undetermined amounts




                                                                        24,578,653,230.61
                                                                     + undetermined amounts




                                                                        24,578,653,230.61
                                                                     + undetermined amounts




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    iHeartCommunications, Inc.

                          Southern                                Texas, Houston
                                                                  Divison
               18-31273 (MI)                                        11




X




                               Restriping of 200 Basse Parking Garage         200 BASSE PARTNERSHIP LTD
                                                                              200 E BASSE RD STE 300
                                                                              SAN ANTONIO, TX 78209


                               Undetermined




                               Guarantee of Office/Studio Lease - Columbus,   2323 REALTY GROUP, L.L.C.
                               OH Studios, 2323 West Fifth Avenue, Suite 2,   P O BOX 2079
                               Columbus, OH 43204                             BIRMINGHAM, MI 48012




                               Service Agreement - Renewal Letter Dated       A.J. MONIER & CO., INC.
                               01/01/2008                                     1446 N. FLORES ST.
                                                                              SAN ANTONIO, TX 78212


                               Undetermined




                               Service Agreement - Renewal Letter Dated       A.J. MONIER & CO., INC.
                               01/01/2008                                     1446 N. FLORES ST.
                                                                              SAN ANTONIO, TX 78212


                               Undetermined




                               Service Agreement - Renewal Letter Dated       A.J. MONIER & CO., INC.
                               01/01/2008                                     1446 N. FLORES ST.
                                                                              SAN ANTONIO, TX 78212


                               Undetermined




                                                                                                          93
               Case 18-31274 Document 855 Filed in TXSB on 05/29/18 Page 120 of 234

Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 A.J. MONIER & CO., INC.
            State what the contract or      Service Agreement - Renewal Letter
                                                                                 1446 N. FLORES ST.
            lease is for and the nature     Dated 01/01/2008
2.6                                                                              SAN ANTONIO, TX 78212
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            State what the contract or      General Conditions of Engagement -
                                                                                 9901 1H 10 WEST
            lease is for and the nature     Salaried Professionals Dated
2.7                                                                              SUITE 230
            of the debtor’s interest        11/19/2012
                                                                                 SAN ANTONIO , TX 78230


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ACCRETIVE SOLUTIONS
            State what the contract or      Consultant Engagement Dated
                                                                                 ATTN: DOUG MZYK
            lease is for and the nature     06/01/2011
2.8                                                                              VP - MARKET LEADER CENTRAL TAXES
            of the debtor’s interest
                                                                                 300 CONVENT STREET
                                                                                 SUITE 2460
                                                                                 SAN ANTONIO , TX 78205
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ACCRETIVE SOLUTIONS
            State what the contract or      Consultant Engagement Dated
                                                                                 ATTN: JANET C. IRWINE, BUSINESS DEVELOPMENT MANAGER
            lease is for and the nature     09/28/2009
2.9                                                                              ATTN: DOUG MZYK, VP AND MARKET LEADER
            of the debtor’s interest
                                                                                 300 CONVENT STREET
                                                                                 SUITE 2460
                                                                                 SAN ANTONIO , TX 78205
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ACCRETIVE SOLUTIONS
            State what the contract or      Consultant Engagement Dated
                                                                                 ATTN: JANET C. IRWINE, BUSINESS DEVELOPMENT MANAGER
            lease is for and the nature     10/22/2009
2.10                                                                             ATTN: DOUG MZYK, VP & MARKET LEADER
            of the debtor’s interest
                                                                                 300 CONVENT STREET
                                                                                 SUITE 2460
                                                                                 SAN ANTONIO , TX 78205
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ACCRETIVE SOLUTIONS
            State what the contract or      Consultant Engagement Dated
                                                                                 ATTN: 36990 TREASURY CENTER
            lease is for and the nature     10/03/2011
2.11                                                                             CHICAGO , IL 60694
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ACCRETIVE SOLUTIONS
            State what the contract or      Consultant Engagement Dated
                                                                                 ATTN: JANET C. IRWINE, BUSINESS DEVELOPMENT MANAGER
            lease is for and the nature     09/21/2009
2.12                                                                             ATTN: DOUG MZYK, VP & MARKET LEADER
            of the debtor’s interest
                                                                                 300 CONVENT STREET
                                                                                 SUITE 2460
                                                                                 SAN ANTONIO , TX 78205
            State the term remaining        Undetermined
            List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                          Page 2 of 93
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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                ACCRETIVE SOLUTIONS
            State what the contract or      Professional Executive Services
                                                                                ATTN: DOUG MZYK
            lease is for and the nature     Search Dated 01/07/2010
2.13                                                                            VP & MARKET LEADER
            of the debtor’s interest
                                                                                300 CONVENT STREET
                                                                                SUITE 2460
                                                                                SAN ANTONIO , TX 78205
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                ACCRETIVE SOLUTIONS
            State what the contract or      Letter Service Agreement Dated
                                                                                ATTN: DOUG MZYK
            lease is for and the nature     01/18/2010
2.14                                                                            VP & MARKET LEADER
            of the debtor’s interest
                                                                                300 CONVENT STREET
                                                                                SUITE 2460
                                                                                SAN ANTONIO , TX 78205
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                ACCRETIVE SOLUTIONS
            State what the contract or      Professional Executive Services
                                                                                ATTN: DOUG MZYK
            lease is for and the nature     Search Dated 12/09/2009
2.15                                                                            VP & MARKET LEADER
            of the debtor’s interest
                                                                                300 CONVENT STREET
                                                                                SUITE 2460
                                                                                SAN ANTONIO , TX 78205
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                ACCRETIVE SOLUTIONS
            State what the contract or      Letter Engagement Agreement Dated
                                                                                ATTN: JANET C. IRWINE, BUSINESS DEVELOPMENT MANAGER
            lease is for and the nature     11/02/2009
2.16                                                                            ATTN: DOUG MZYK, VP & MARKET LEADER
            of the debtor’s interest
                                                                                300 CONVENT STREET
                                                                                SUITE 2460
                                                                                SAN ANTONIO , TX 78258
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                ACCUSOFT CORP.
            State what the contract or      Service Agreement - Invoice Dated
                                                                                4001 N. RIVERSIDE DRIVE
            lease is for and the nature     09/21/2015
2.17                                                                            TAMPA, FL 33603
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                ACCUSOFT CORP.
            State what the contract or      Service Agreement - Invoice Dated
                                                                                4001 N. RIVERSIDE DRIVE
            lease is for and the nature     08/31/2016
2.18                                                                            TAMPA, FL 33603
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                ACE RISK MANAGEMENT GLOBAL CASUALTY
            State what the contract or      Insurance Binder Dated 11/01/2017
                                                                                436 WALNUT STREET, 11TH FLOOR
            lease is for and the nature
2.19                                                                            PHILADELPHIA, PA 19106
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                         Page 3 of 93
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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 ADDUCCO CONSULTING , LLC
            State what the contract or      Adducco Proposal Dated 03/24/2011
                                                                                 ATTN: DEAN BROWN
            lease is for and the nature
2.20                                                                             20079 STONE OAK PARKWAY
            of the debtor’s interest
                                                                                 SAN ANTONIO , TX 78259


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ADSWIZZ INC.
            State what the contract or      Letter Agreement Dated 06/14/2014
                                                                                 385 1ST AVENUE
            lease is for and the nature
2.21                                                                             SAN MATEO, CA 94401
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ADSWIZZ S.A.
            State what the contract or      Letter Agreement Dated 06/14/2014
                                                                                 ATTN DIRECTOR
            lease is for and the nature
2.22                                                                             5 DREVE DE RHODODENDRONS
            of the debtor’s interest
                                                                                 BRUSSELS 1170
                                                                                 BELGIUM
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AEQUOR TECHNOLOGIES, INC.
            State what the contract or      Statement of Work Dated 12/27/2010
                                                                                 ATTN: RAMESH NAIR
            lease is for and the nature
2.23                                                                             VICE PRESIDENT
            of the debtor’s interest
                                                                                 33 WOOD AVE SOUTH
                                                                                 5TH FLOOR
                                                                                 ISELIN , NJ 08830
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AEQUOR TECHNOLOGIES, INC.
            State what the contract or      Statement of Work Dated 01/01/2010
                                                                                 ATTN: RAMESH NAIR
            lease is for and the nature
2.24                                                                             VICE PRESIDENT
            of the debtor’s interest
                                                                                 33 WOOD AVE SOUTH
                                                                                 5TH FLOOR
                                                                                 ISELIN , NJ 08830
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AEQUOR TECHNOLOGIES, INC.
            State what the contract or      Statement of Work Dated 01/01/2010
                                                                                 ATTN: RAMESH NAIR
            lease is for and the nature
2.25                                                                             VICE PRESIDENT
            of the debtor’s interest
                                                                                 33 WOOD AVE SOUTH
                                                                                 5TH FLOOR
                                                                                 ISELIN , NJ 08830
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AEQUOR TECHNOLOGIES, INC.
            State what the contract or      Statement of Work Dated 09/27/2010
                                                                                 ATTN: RAMESH NAIR
            lease is for and the nature
2.26                                                                             VICE PRESIDENT
            of the debtor’s interest
                                                                                 33 WOOD AVE SOUTH
                                                                                 5TH FLOOR
                                                                                 ISELIN , NJ 08830
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AEQUOR TECHNOLOGIES
            State what the contract or      Exhibit A Statement of Work Dated
                                                                                ATTN: RAMESH NAIR
            lease is for and the nature     10/19/2009
2.27                                                                            VICE PRESIDENT
            of the debtor’s interest
                                                                                33 WOOD AVENUE SOUTH
                                                                                5TH FLOOR
                                                                                ISELIN , NJ 08830
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                ALOHA STATION TRUST LLC
            State what the contract or      Trust Agreement Dated 07/30/2008
                                                                                ATTN: JEANETTE TULLY
            lease is for and the nature
2.28                                                                            2119 CHITTAM PASS DR.
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78232


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AMER TECHNOLOGY INC
            State what the contract or      Master Services Agreement Dated
                                                                                5717 NW PARKWAY
            lease is for and the nature     09/13/2012
2.29                                                                            SUITE 103
            of the debtor’s interest
                                                                                SAN ANTONIO, TX 78249


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AMERICAN AIRLINES, INC.
            State what the contract or      Corporate Discount Pricing Terms
                                                                                4255 AMON CARTER BLVD.
            lease is for and the nature     Dated 12/15/2009
2.30                                                                            MD 4400
            of the debtor’s interest
                                                                                FT. WORTH , TX 76155


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AMERICAN FEDERATION OF TELEVISION AND RADIO ARTISTS- CHICAGO
            State what the contract or      Collective Bargaining Agreement
                                                                                LOCAL
            lease is for and the nature     Dated 09/01/2004
2.31                                                                            ATTN: EXECUTIVE DIRECTOR
            of the debtor’s interest
                                                                                ONE EAST ERIE, SUITE 650
                                                                                CHICAGO, IL 60611
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AMERICAN FEDERATION OF TELEVISION AND RADIO ARTISTS
            State what the contract or      Collective Bargaining Agreement
                                                                                260 MADISON AVE.
            lease is for and the nature     Dated 09/01/2004
2.32                                                                            NEW YORK, NY 10016
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AMERICAN FEDERATION OF TELEVISION AND RADIO ARTISTS
            State what the contract or      Collective Bargaining Agreement
                                                                                260 MADISON AVE.
            lease is for and the nature     Memorandum Dated 10/09/2008
2.33                                                                            NEW YORK, NY 10016
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 AMERICAN TELECONFERENCING SERVICES, LTD D/B/A PREMIERE GLOBAL
            State what the contract or      Amendment #2 to Costumer Service
                                                                                 SERVICES
            lease is for and the nature     Agreement Dated 06/11/2012
2.34                                                                             ATTN: LEGAL DEPARTMENT
            of the debtor’s interest
                                                                                 3280 PEACHTREE ROAD NW
                                                                                 SUITE 1000
                                                                                 ATLANTA, GA 30305-2422
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AMERICAN TELECONFERENCING SERVICES, LTD D/B/A PREMIERE GLOBAL
            State what the contract or      Amendment #2 Dated 06/11/2012
                                                                                 SERVICES
            lease is for and the nature
2.35                                                                             ATTN: LEGAL DEPARTMENT
            of the debtor’s interest
                                                                                 3280 PEACHTREE ROAD NW
                                                                                 SUITE 1000
                                                                                 ATLANTA, GA 30305-2422
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AMERICAN TELECONFERENCING SERVICES, LTD D/B/A PREMIERE GLOBAL
            State what the contract or      Amendment #1 to the Customer
                                                                                 SERVICES
            lease is for and the nature     Service Agreement Dated 06/03/2010
2.36                                                                             ATTN: LEGAL DEPARTMENT
            of the debtor’s interest
                                                                                 3280 PEACHTREE ROAD NW
                                                                                 SUITE 1000
                                                                                 ATLANTA, GA 30305-2422
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AMERICAN TELECONFERENCING SERVICES, LTD D/B/A PREMIERE GLOBAL
            State what the contract or      PGI Amendment #3 Dated 08/28/2014
                                                                                 SERVICES
            lease is for and the nature
2.37                                                                             3280 PEACHTREE ROAD, NE
            of the debtor’s interest
                                                                                 SUITE 1000
                                                                                 ATLANTA , GA 30305-2422
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AMERICAN TELECONFERENCING SERVICES, LTD. D/B/A PREMIERE GLOBAL
            State what the contract or      Customer Service Agreement Dated
                                                                                 SERVICES
            lease is for and the nature     10/23/2008
2.38                                                                             3280 PEACHTREE RD. NW
            of the debtor’s interest
                                                                                 SUITE 1000
                                                                                 ATLANTA, GA 30305-2422
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AMERICAN TOWER CORPORATION
            State what the contract or      Tower Lease - KBKS-FM Tower,
                                                                                 10 PRESIDENTIAL WAY
            lease is for and the nature     10812 279th Avenue, SE, Issaquah,
2.39                                                                             ATTENTION: CONTRACTS MANAGER
            of the debtor’s interest        WA 98024
                                                                                 WOBURN, MA 01801


            State the term remaining
            List the contract number of
            any government contract
                                                                                 AON RISK SERVICES SOUTHWEST, INC.
            State what the contract or      Power of Attorney & Surety Bond
                                                                                 555 SAN FELIPE ST
            lease is for and the nature     Dated 11/17/2015
2.40                                                                             SUITE 1500
            of the debtor’s interest
                                                                                 HOUSTON, TX 77056


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                             Case number (if known) 18-31273 (MI)
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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom
                                                                                      the debtor has an executory contract or unexpired lease

                                                                                      APEX SYSTEMS INC
            State what the contract or      Client Staffing Services Agreement
                                                                                      4400 COX ROAD
            lease is for and the nature     Dated 12/14/2011
2.41                                                                                  SUITE 200
            of the debtor’s interest
                                                                                      GLEN ALLEN, VA 23060


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                      APEX SYSTEMS INC
            State what the contract or      Exhibit A to Service Agreement Dated
                                                                                      4400 COX ROAD
            lease is for and the nature     10/13/2009
2.42                                                                                  SUITE 200
            of the debtor’s interest
                                                                                      GLEN ALLEN, VA 23060


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                      APEX SYSTEMS INC
            State what the contract or      Appendix A - Work Order Dated
                                                                                      4400 COX ROAD
            lease is for and the nature     10/22/2012
2.43                                                                                  SUITE 200
            of the debtor’s interest
                                                                                      GLEN ALLEN, VA 23060


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                      APEX SYSTEMS INC
            State what the contract or      Exhibit A to the Agreement Dated
                                                                                      4400 COX ROAD
            lease is for and the nature     11/20/2009
2.44                                                                                  SUITE 200
            of the debtor’s interest
                                                                                      GLEN ALLEN, VA 23060


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                      APEX SYSTEMS INC
            State what the contract or      Client Staffing Services Agreement
                                                                                      4400 COX ROAD
            lease is for and the nature     Dated 12/14/2011
2.45                                                                                  SUITE 200
            of the debtor’s interest
                                                                                      GLEN ALLEN, VA 23060


            State the term remaining        Undetermined
            List the contract number of
            any government contract

                                            Master Station License Agreement to
                                                                                      ARBITRON, INC.
            State what the contract or
                                            Receive and Use Arbitron Radio Audience   9705 PATUXENT WOODS DRIVE
            lease is for and the nature
2.46                                        Estimates , Plus First Addendum Dated     COLUMBIA , MD 21046-1572
            of the debtor’s interest        01/01/2011


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                      ARGENT
            State what the contract or      License Agreement - Term Sheet
                                                                                      TWO BRIDGEWATER ROAD
            lease is for and the nature
2.47                                                                                  FARMINGTON, CT 06032
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                         Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  ARGENT
            State what the contract or      Service Agreement - Invoice Dated
                                                                                  TWO BRIDGEWATER ROAD
            lease is for and the nature     11/01/2007
2.48                                                                              FARMINGTON, CT 06032
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  ARGONAUT INSURANCE COMPANY
            State what the contract or      Modification of General Indemnity
                                                                                  10101 REUNION PLACE
            lease is for and the nature     Agreement Dated 03/04/2015
2.49                                                                              SUITE 500
            of the debtor’s interest
                                                                                  SAN ANTONIO, TX 78216


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  ASHBY STREET OUTDOOR LLC
            State what the contract or      Partial Assignment Dated 03/17/2016
                                                                                  1100 SOUTH D STREET
            lease is for and the nature
2.50                                                                              FORT SMITH , AR 72901
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or      Pricing Schedule Dated 10/27/2010
                                                                                  20880 STONE OAK BLVD
            lease is for and the nature
2.51                                                                              SAN ANTONIO, TX 78249
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or      Internet Service Pricing Schedule
                                                                                  ONE AT&T WAY
            lease is for and the nature     Dated 07/14/2015
2.52                                                                              BEDMINSTER , NJ 07921-0752
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or      Contract Tariff Order Form Dated
                                                                                  10999 IH 10 WEST
            lease is for and the nature     05/04/2000
2.53                                                                              SUITE 800
            of the debtor’s interest
                                                                                  SAN ANTONIO, TX 78230


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  AT&T CORP.
            State what the contract or      Internet Protect Service Pricing
                                                                                  712 E HUNTLAND AVE.
            lease is for and the nature     Schedule Dated 10/27/2010
2.54                                                                              AUSTIN, TX 78752
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 AT&T CORP.
            State what the contract or      Contract Tariff Order Form Dated
                                                                                 10999 IH 10 WEST
            lease is for and the nature     05/15/2000
2.55                                                                             SUITE 800
            of the debtor’s interest
                                                                                 SAN ANTONIO, TX 78230


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AT&T CORP.
            State what the contract or      VPN Service Pricing Schedule Dated
                                                                                 1010 N SAINT MARYS ST.
            lease is for and the nature     08/11/2009
2.56                                                                             SAN ANTONIO, TX 78215
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AT&T CORP.
            State what the contract or      Master Agreement Dated 08/17/2000
                                                                                 ATTN: MASTER AGREEMENT SUPPORT TEAM
            lease is for and the nature
2.57                                                                             55 CORPORATE DRIVE
            of the debtor’s interest
                                                                                 BRIDGEWATER, NJ 08807


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AT&T CORP.
            State what the contract or      Pricing Schedule Dated 08/19/2009
                                                                                 ONE AT&T WAY
            lease is for and the nature
2.58                                                                             BEDMINSTER, NJ 07921-0752
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AT&T CORP.
            State what the contract or      Release and Settlement Agreement
                                                                                 ONE AT&T WAY
            lease is for and the nature     Dated 03/22/2016
2.59                                                                             BEDMINSTER, NJ 07921-0752
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AT&T CORP.
            State what the contract or      Master Services Agreement Dated
                                                                                 ONE AT&T WAY
            lease is for and the nature     07/28/2000
2.60                                                                             BEDMINSTER, NJ 07921-0752
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AT&T CORP.
            State what the contract or      Pricing Schedule Dated 07/14/2015
                                                                                 ONE AT&T WAY
            lease is for and the nature
2.61                                                                             BEDMINSTER, NJ 07921-0752
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 AT&T CORP.
            State what the contract or      Asynchronous Transfer Mode Service
                                                                                 ONE AT&T WAY
            lease is for and the nature     Agreement Amendment Dated
2.62                                                                             BEDMINSTER, NJ 07921-0752
            of the debtor’s interest        05/16/2000


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                 ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     11/18/2011
2.63                                                                             5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                 SUITE 1400
                                                                                 IRVING, TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                 ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     11/18/2011
2.64                                                                             5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                 SUITE 1400
                                                                                 IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                 ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     07/01/2012
2.65                                                                             5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                 SUITE 1400
                                                                                 IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                 ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     08/13/2012
2.66                                                                             5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                 SUITE 1400
                                                                                 IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AVANADE INC
            State what the contract or      Change Request and Approval Dated
                                                                                 ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     12/03/2012
2.67                                                                             5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                 SUITE 1400
                                                                                 IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AVANADE INC
            State what the contract or      Customer Service Agreement Work
                                                                                 ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     Order Dated 01/30/2012
2.68                                                                             5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                 SUITE 1400
                                                                                 IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AVANADE INC
            State what the contract or      Change Request and Approval Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     05/13/2013
2.69                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Service Agreement Work
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     Order Dated 02/20/2012
2.70                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     03/04/2013
2.71                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Change Request and Approval Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     12/03/2012
2.72                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     01/30/2012
2.73                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     01/30/2012
2.74                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     01/07/2013
2.75                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AVANADE INC
            State what the contract or      Change Request and Approval Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     05/13/2013
2.76                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     09/04/2012
2.77                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     06/25/2012
2.78                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     09/04/2012
2.79                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     12/03/2012
2.80                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Change Request and Approval Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     04/01/2013
2.81                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     11/26/2012
2.82                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AVANADE INC
            State what the contract or      Change Request and Approval Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     12/21/2012
2.83                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Change Request and Approval Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     02/11/2013
2.84                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     08/06/2012
2.85                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Change Request and Approval Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     10/31/2012
2.86                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     02/13/2012
2.87                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     08/27/2012
2.88                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     08/13/2012
2.89                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     08/01/2012
2.90                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Change Request and Approval Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     02/11/2013
2.91                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     02/06/2012
2.92                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     08/27/2012
2.93                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     08/13/2012
2.94                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     04/01/2013
2.95                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     02/11/2013
2.96                                                                            5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                SUITE 1400
                                                                                IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 AVANADE INC
            State what the contract or      Change Request and Approval Dated
                                                                                 ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     05/13/2013
2.97                                                                             5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                 SUITE 1400
                                                                                 IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AVANADE INC
            State what the contract or      Change Request and Approval Dated
                                                                                 ATTN: CONTRACTS COORDINATOR
            lease is for and the nature     05/13/2013
2.98                                                                             5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                 SUITE 1400
                                                                                 IRVING , TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AVANADE INC
            State what the contract or      Customer Services Agreement Dated
                                                                                 ATTN: ADAM M. DRUTZ
            lease is for and the nature     01/07/2013
2.99                                                                             5221 NORTH O'CONNOR BOULEVARD
            of the debtor’s interest
                                                                                 SUITE 1400
                                                                                 IRVING, TX 75039
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AVENTINE HILL PARTNERS INC
            State what the contract or      Master Services Agreement Dated
                                                                                 ATTN: ERICA BAKER
            lease is for and the nature     10/10/2012
2.100                                                                            13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                 SUITE 370
                                                                                 SAN ANTONIO, TX 78232
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AVENTINE HILL PARTNERS INC
            State what the contract or      Placement Agreement Dated
                                                                                 ATTN: ERICA BAKER
            lease is for and the nature     05/03/2012
2.101                                                                            13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                 SUITE 370
                                                                                 SAN ANTONIO, TX 78232
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 AVENTINE HILL PARTNERS INC
            State what the contract or      IT Contract Administration Support
                                                                                 ATTN: ERICA BAKER
            lease is for and the nature     Dated 05/01/2012
2.102                                                                            13750 SAN PEDRO AVENUE
            of the debtor’s interest
                                                                                 SUITE 370
                                                                                 SAN ANTONIO, TX 78232
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 BAINBRIDGE TECHNOLOGY SOLUTIONS INC
            State what the contract or      Consulting/Services Contract Dated
                                                                                 752 WINSLOW WAY EAST
            lease is for and the nature     12/08/2011
2.103                                                                            BAINBRIDGE ISLAND, WA 98110
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                               Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                                 State the name and mailing address for all other parties with whom
                                                                                        the debtor has an executory contract or unexpired lease

                                                                                        BAINBRIDGE TECHNOLOGY SOLUTIONS INC
            State what the contract or      Statement of Work Dated 12/08/2011
                                                                                        752 WINSLOW WAY EAST
            lease is for and the nature
2.104                                                                                   BAINBRIDGE ISLAND, WA 98110
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                        BEAST SOFTWARE, INC.
            State what the contract or      License Agreement - Invoice Dated
                                                                                        PO BOX 404927
            lease is for and the nature     11/01/2005
2.105                                                                                   ATLANTA, GA 30384-4927
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract

                                            Guarantee of Office/Studio Lease -
                                                                                        BECK FAMILY TRUSTS
            State what the contract or
                                            Temecula, CA Studio & Sales Office, 27349   42072 FIFTH ST, #202F
            lease is for and the nature
2.106                                       Jefferson Avenue, Temecula, CA 92590        TEMECULA, CA 92560
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                                                                        BELAYON
            State what the contract or      Statement of Work Dated 12/05/2011
                                                                                        15423 232ND AVE NE
            lease is for and the nature
2.107                                                                                   WOODLNVILLE, WA 98077
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                        BELAYON
            State what the contract or      Consulting/Services Agreement Dated
                                                                                        15423 232ND AVE NE
            lease is for and the nature     12/05/2011
2.108                                                                                   WOODLNVILLE, WA 98077
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                        BERKLEY SURETY GROUP
            State what the contract or      Commercial Surety General Indemnity
                                                                                        ATTN: SURETY CLAIMS DEPARTMENT
            lease is for and the nature     Agreement Dated 04/01/2009
2.109                                                                                   412 MOUNT KEMBLE AVE
            of the debtor’s interest
                                                                                        SUITE 310N
                                                                                        MORRISTOWN, NJ 07960
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                        BITIUM INC
            State what the contract or      Non-Disclosure Agreement Dated
                                                                                        2448 MAIN STREET
            lease is for and the nature     06/01/2016
2.110                                                                                   SANTA MONICA , CA 90405
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 BLUE CHIP CONSULTING GROUP LLC
            State what the contract or      Readiness Assessment Proposal
                                                                                 ATTN: SCOTT ARBOGAST; JEFFREY MASTERS; DOUG KOCH
            lease is for and the nature     Dated 08/18/2014
2.111                                                                            6050 OAK TREE BOULEVARD
            of the debtor’s interest
                                                                                 SUITE 290
                                                                                 INDEPENDENCE, OH 44131
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 BLUE CHIP CONSULTING GROUP LLC
            State what the contract or      Statement of Work Dated 09/15/2014
                                                                                 ATTN: SEAN POWER; LINCOLN RUSSELL; SCOTT ARBOGAST; JEFFREY
            lease is for and the nature
2.112                                                                            MASTERS; DOUG KOCH
            of the debtor’s interest
                                                                                 050 OAK TREE BOULEVARD
                                                                                 SUITE 290
                                                                                 INDEPENDENCE, OH 44131
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 BLUE CHIP CONSULTING GROUP LLC
            State what the contract or      Readiness Assessment Proposal
                                                                                 ATTN: SCOTT ARBOGAST; JEFFREY MASTERS; DOUG KOCH
            lease is for and the nature     Dated 08/18/2014
2.113                                                                            6050 OAK TREE BOULEVARD
            of the debtor’s interest
                                                                                 SUITE 290
                                                                                 INDEPENDENCE , OH 44131
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 BLUEGRASS BUSINESS SERVICES INC DBA BLUE GRASS
            State what the contract or      Data and Fulfillment Service
                                                                                 833 NANDINO BLVD
            lease is for and the nature     Agreement Dated 12/21/2009
2.114                                                                            LEXINGTON , KY 40511
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 BUSINESS OBJECTS AMERICAS
            State what the contract or      License and Services Agreement
                                                                                 ATTN: CONTRACT MANAGER
            lease is for and the nature     Dated 09/21/2004
2.115                                                                            3030 ORCHARD PARKWAY
            of the debtor’s interest
                                                                                 SAN JOSE, CA 95134


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 BUSINESS OBJECTS AMERICAS
            State what the contract or      Engagement Letter Dated 09/21/2004
                                                                                 3030 ORCHARD PARKWAY
            lease is for and the nature
2.116                                                                            SAN JOSE, CA 95134
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 BUSINESS OBJECTS AMERICAS
            State what the contract or      Order Schedule Dated 09/23/2004
                                                                                 ATTN: CONTACTS ADMINISTRATION
            lease is for and the nature
2.117                                                                            3030 ORCHARD PARKWAY
            of the debtor’s interest
                                                                                 SAN JOSE, CA 95134


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 BUSINESS OBJECTS AMERICAS
            State what the contract or      License Agreement - Proposal Dated
                                                                                 ATTN: CONTRACTS MANAGER
            lease is for and the nature     09/22/2004
2.118                                                                            3030 ORCHARD PARKWAY
            of the debtor’s interest
                                                                                 SAN JOSE, CA 95134


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 BUSINESS OBJECTS AMERICAS
            State what the contract or      License Agreement - Purchase Order
                                                                                 3030 ORCHARD PARKWAY
            lease is for and the nature     Dated 09/22/2004
2.119                                                                            SAN JOSE, CA 95134
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CAPGEMINI AMERICA INC
            State what the contract or      Confidentiality Agreement Dated
                                                                                 5 TIMES SQUARE
            lease is for and the nature     08/01/2006
2.120                                                                            NEW YORK, NY 10036
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CATAPULT SYSTEMS INC
            State what the contract or      Consulting Agreement Dated
                                                                                 1221 SOUTH MOPAC EXPRESSWAY THREE BARTON SKYWAY
            lease is for and the nature     09/22/2006
2.121                                                                            SUITE 350
            of the debtor’s interest
                                                                                 AUSTIN , TX 78746


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CATAPULT SYSTEMS INC
            State what the contract or      Termination of Agreement Dated
                                                                                 1221 SOUTH MOPAC EXPRESSWAY THREE BARTON SKYWAY
            lease is for and the nature     11/05/2013
2.122                                                                            SUITE 350
            of the debtor’s interest
                                                                                 AUSTIN , TX 78746


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CATAPULT SYSTEMS INC
            State what the contract or      Statement of Work Dated 09/01/2007
                                                                                 1221 SOUTH MOPAC EXPRESSWAY THREE BARTON SKYWAY
            lease is for and the nature
2.123                                                                            SUITE 350
            of the debtor’s interest
                                                                                 AUSTIN , TX 78746


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CATAPULT SYSTEMS INC
            State what the contract or      Termination of Agreement Dated
                                                                                 1221 SOUTH MOPAC EXPRESSWAY, THREE BARTON SKYWAY
            lease is for and the nature     11/05/2013
2.124                                                                            SUITE 350
            of the debtor’s interest
                                                                                 AUSTIN, TX 78746


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                          Case number (if known) 18-31273 (MI)
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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                            State the name and mailing address for all other parties with whom
                                                                                   the debtor has an executory contract or unexpired lease

                                                                                   CATAPULT SYSTEMS INC
            State what the contract or      Statement of Work Dated 08/01/2007
                                                                                   MAURICIO IANNINI
            lease is for and the nature
2.125                                                                              3001 BEE CAVES ROAD
            of the debtor’s interest
                                                                                   SUITE 300
                                                                                   AUSTIN, TX 78746
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   CATAPULT SYSTEMS INC
            State what the contract or      Statement of Work Dated 09/29/2006
                                                                                   ATTN: ANDREW MONTZ
            lease is for and the nature
2.126                                                                              3001 BEE CAVES ROAD
            of the debtor’s interest
                                                                                   SUITE 300
                                                                                   AUSTIN, TX 78746
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   CATAPULT SYSTEMS INC
            State what the contract or      Statement of Work Dated 10/07/2006
                                                                                   ATTN: ANDREW MONTZ
            lease is for and the nature
2.127                                                                              3001 BEE CAVES ROAD
            of the debtor’s interest
                                                                                   SUITE 300
                                                                                   AUSTIN , TX 78746
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   CAVALIERS/GUND ARENA COMPANY
            State what the contract or      Moondog Coronation Ball - Letter
                                                                                   GUND ARENA
            lease is for and the nature     Agreement Dated 11/21/2003
2.128                                                                              ONE CENTER COURT
            of the debtor’s interest
                                                                                   CLEVELAND, OH 44115


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   CBS RADIO, INC.
            State what the contract or      Amendment to Traffic and Weather
                                                                                   1515 BROADWAY
            lease is for and the nature     Together License Agreement Dated
2.129                                                                              46TH FLOOR
            of the debtor’s interest        05/14/2007
                                                                                   NEW YORK, NY 10036


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   CEB GLOBAL LIMITED
            State what the contract or      Letter of Agreement Dated 06/21/2016
                                                                                   1201 WILSON BOULEVARD
            lease is for and the nature
2.130                                                                              ARLINGTON, VA 22209
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   CEB INC.
            State what the contract or      Letter of Agreement Dated 06/21/2016
                                                                                   1201 WILSON BOULEVARD
            lease is for and the nature
2.131                                                                              ARLINGTON, VA 22209
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                          Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                            State the name and mailing address for all other parties with whom
                                                                                   the debtor has an executory contract or unexpired lease

                                                                                   CEB INC.
            State what the contract or      Letter of Agreement Dated 06/21/2016
                                                                                   1201 WILSON BOULEVARD
            lease is for and the nature
2.132                                                                              ARLINGTON, VA 22209
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   CELLCO PARTNERSHIP (D/B/A VERIZON WIRELESS)
            State what the contract or      Amendment No. 1 Dated 03/02/2010
                                                                                   ONE VERIZON WAY
            lease is for and the nature
2.133                                                                              BASKING RIDGE, NJ 07920-1097
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   CELLCO PARTNERSHIP (D/B/A VERIZON WIRELESS)
            State what the contract or      National Account Agreement Dated
                                                                                   ONE VERIZON WAY
            lease is for and the nature     01/25/2008
2.134                                                                              BASKING RIDGE, NJ 07920-1097
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   CELLCO PARTNERSHIP
            State what the contract or      National Account Agreement Dated
                                                                                   VERIZON WIRELESS
            lease is for and the nature     01/25/2008
2.135                                                                              ATTN: HQ LEGAL -- B2B
            of the debtor’s interest
                                                                                   LEGAL & EXTERNAL AFFAIRS DEPT.
                                                                                   ONE VERIZON WAY, VC52S401
                                                                                   BASKING RIDGE, NJ 07920-1097
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   CHASE-WALKER CONSULTING LLC
            State what the contract or      Contract Agreement Dated
                                                                                   13150 N HUNTERS CIR
            lease is for and the nature     06/06/2011
2.136                                                                              SAN ANTONIO, TX 78230
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   CHRYSLER GROUP LLC,
            State what the contract or      Volume Incentive Program Letter and
                                                                                   1000 CHRYSLER DRIVE,
            lease is for and the nature     Attachments Dated 08/19/2011
2.137                                                                              AUBURN HILLS, MI 48326-2766
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   CISCO SYSTEMS CAPITAL CORP.
            State what the contract or      Service Agreement Dated 01/01/2008
                                                                                   170 WEST TASMAN DRIVE
            lease is for and the nature
2.138                                                                              SAN JOSE, CA 95134
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                CISCO SYSTEMS CAPITAL CORP.
            State what the contract or      Amendment to Service Agreement
                                                                                170 WEST TASMAN DRIVE
            lease is for and the nature     Dated 01/01/2008
2.139                                                                           SAN JOSE, CA 95134
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                CITY PUBLIC SERVICE OF SAN ANTONIO
            State what the contract or      Memorandum - Energy Services
                                                                                PO BOX 1771
            lease is for and the nature     Dated 03/19/2002
2.140                                                                           SAN ANTONIO, TX 78296
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                CLEAR CHANNEL COMMUNICATIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     01/01/2016
2.141                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                CLEAR CHANNEL OUTDOOR HOLDINGS, INC.
            State what the contract or      First Amendment to Revolving
                                                                                20880 STONE OAK PKWY
            lease is for and the nature     Promissory Note Dated 12/23/2009
2.142                                                                           SAN ANTONIO, TX 78258
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                CLEAR CHANNEL OUTDOOR HOLDINGS, INC.
            State what the contract or      First Amendment to Revolving
                                                                                20880 STONE OAK PKWY
            lease is for and the nature     Promissory Note Dated 12/23/2009
2.143                                                                           SAN ANTONIO, TX 78258
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                CLEAR CHANNEL OUTDOOR HOLDINGS, INC.
            State what the contract or      Third Amendment to Revolving
                                                                                20880 STONE OAK PKWY
            lease is for and the nature     Promissory Note Dated 11/01/2017
2.144                                                                           SAN ANTONIO, TX 78258
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                CLEAR CHANNEL OUTDOOR HOLDINGS, INC.
            State what the contract or      EBIT Program Agreement Dated
                                                                                20880 STONE OAK PKWY
            lease is for and the nature     11/10/2005
2.145                                                                           SAN ANTONIO, TX 78258
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                         Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  CLEAR CHANNEL OUTDOOR HOLDINGS, INC.
            State what the contract or      Employee Matters Agreement Dated
                                                                                  20880 STONE OAK PKWY
            lease is for and the nature     11/10/2005
2.146                                                                             SAN ANTONIO, TX 78258
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  CLEAR CHANNEL OUTDOOR HOLDINGS, INC.
            State what the contract or      Master Agreement Dated 11/10/2005
                                                                                  20880 STONE OAK PKWY
            lease is for and the nature
2.147                                                                             SAN ANTONIO, TX 78258
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  CLEAR CHANNEL OUTDOOR HOLDINGS, INC.
            State what the contract or      Tax Matters Agreement Dated
                                                                                  20880 STONE OAK PKWY
            lease is for and the nature     11/10/2005
2.148                                                                             SAN ANTONIO, TX 78258
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  CLEAR CHANNEL OUTDOOR HOLDINGS, INC.
            State what the contract or      Registration Rights Agreement Dated
                                                                                  20880 STONE OAK PKWY
            lease is for and the nature     11/10/2005
2.149                                                                             SAN ANTONIO, TX 78258
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  CLEAR CHANNEL OUTDOOR HOLDINGS, INC.
            State what the contract or      Amendment to EIBT Program
                                                                                  20880 STONE OAK PKWY
            lease is for and the nature     Agreement Dated 09/18/2012
2.150                                                                             SAN ANTONIO, TX 78258
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  CLEAR CHANNEL OUTDOOR HOLDINGS, INC.
            State what the contract or      Second Amendment to Revolving
                                                                                  20880 STONE OAK PKWY
            lease is for and the nature     Promissory Note Dated 11/01/2017
2.151                                                                             SAN ANTONIO, TX 78258
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  CLEAR SEARCH CONSULTING
            State what the contract or      Work Order Dated 04/04/2013
                                                                                  ATTN: VIJAY KUMAR
            lease is for and the nature
2.152                                                                             CLEAR SEARCH CONSULTING
            of the debtor’s interest
                                                                                  2014 FLAMINGO DR.
                                                                                  SAN ANTONIO , TX 78209
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or      Appendix A - Work Order Dated
                                                                                 ATTN: VIJAY KUMAR
            lease is for and the nature     04/15/2013
2.153                                                                            CLEAR SEARCH CONSULTING
            of the debtor’s interest
                                                                                 2014 FLAMINGO DR.
                                                                                 SAN ANTONIO , TX 78209
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or      Appendix A - Work Order Dated
                                                                                 ATTN: VIJAY KUMAR
            lease is for and the nature     06/25/2013
2.154                                                                            CLEAR SEARCH CONSULTING
            of the debtor’s interest
                                                                                 2014 FLAMINGO DR.
                                                                                 SAN ANTONIO , TX 78209
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or      Work Order Dated 06/25/2013
                                                                                 ATTN: VIJAY KUMAR
            lease is for and the nature
2.155                                                                            CLEAR SEARCH CONSULTING
            of the debtor’s interest
                                                                                 2014 FLAMINGO DR.
                                                                                 SAN ANTONIO , TX 78209
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or      Client Staffing Services Agreement
                                                                                 2014 FLAMINGO DR
            lease is for and the nature     Dated 01/10/2012
2.156                                                                            SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or      Work Order Dated 06/30/2013
                                                                                 2014 FLAMINGO DR
            lease is for and the nature
2.157                                                                            SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or      Statement of Work Dated 07/19/2012
                                                                                 2014 FLAMINGO DR
            lease is for and the nature
2.158                                                                            SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or      Staffing Services Agreement Dated
                                                                                 2014 FLAMINGO DR
            lease is for and the nature     07/20/2012
2.159                                                                            SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or      Work Order Dated 01/10/2012
                                                                                 2014 FLAMINGO DR
            lease is for and the nature
2.160                                                                            SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or      Appendix A - Work Order Dated
                                                                                 2014 FLAMINGO DR
            lease is for and the nature     06/25/2013
2.161                                                                            SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or      Appendix A - Work Order Dated
                                                                                 2014 FLAMINGO DR
            lease is for and the nature     06/25/2013
2.162                                                                            SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or      Client Staffing Services Agreement
                                                                                 2014 FLAMINGO DR
            lease is for and the nature     Dated 01/10/2012
2.163                                                                            SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or      Appendix A - Work Order Dated
                                                                                 2014 FLAMINGO DR
            lease is for and the nature     01/04/2013
2.164                                                                            SAN ANTONIO, TX 78209
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CLEAR SEARCH CONSULTING
            State what the contract or      Work Order Dated 03/25/2013
                                                                                 ATTN: JOHN E. ELLIOT
            lease is for and the nature
2.165                                                                            2014 FLAMINGO DRIVE
            of the debtor’s interest
                                                                                 SAN ANTONIO, TX 78209


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or      Change Order Dated 09/05/2012
                                                                                 500 FRANK W. BURR BLVD
            lease is for and the nature
2.166                                                                            TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                   Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                     State the name and mailing address for all other parties with whom
                                                                            the debtor has an executory contract or unexpired lease

                                                                            COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or      Change Order Dated 10/17/2012
                                                                            500 FRANK W. BURR BLVD
            lease is for and the nature
2.167                                                                       TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                            COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or      Change Order Dated 11/21/2012
                                                                            500 FRANK W BURR BLVD
            lease is for and the nature
2.168                                                                       TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                            COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or      Change Order Dated 01/07/2013
                                                                            500 FRANK W. BURR BLVD.
            lease is for and the nature
2.169                                                                       TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                            COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or      Change Order Dated 02/28/2013
                                                                            500 FRANK W. BURR BLVD
            lease is for and the nature
2.170                                                                       TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                            COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or      Change Order Dated 03/22/2013
                                                                            500 FRANK W. BURR BLVD
            lease is for and the nature
2.171                                                                       TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                            COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or      Change Order Dated 11/21/2012
                                                                            500 FRANK W. BURR BLVD
            lease is for and the nature
2.172                                                                       TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                            COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or      Statement of Work
                                                                            500 GLENPOINTE CENTRE WEST
            lease is for and the nature
2.173                                                                       TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                      Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or      Change Request Dated 03/18/2013
                                                                               500 GLENPOINTE CENTRE WEST
            lease is for and the nature
2.174                                                                          TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or      Change Order Dated 03/18/2013
                                                                               500 GLENPOINTE CENTRE WEST
            lease is for and the nature
2.175                                                                          TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or      Statement of Work
                                                                               500 GLENPOINTE CENTRE WEST
            lease is for and the nature
2.176                                                                          TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               COGNIZANT TECHNOLOGY SOLUTIONS U.S. CORPORATION
            State what the contract or      Master Services Agreement Dated
                                                                               500 GLENPOINTE CENTER WEST
            lease is for and the nature     04/10/2013
2.177                                                                          TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               COGNIZANT TECHNOLOGY SOLUTIONS US CORPORATION
            State what the contract or      Master Services Agreement Dated
                                                                               ATTN: GENERAL COUNSEL
            lease is for and the nature     04/10/2013
2.178                                                                          500 FRANK W. BURR BLVD.
            of the debtor’s interest
                                                                               TEANECK, NJ 07666


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 06/05/2014
                                                                               500 FRANK W. BURR BLVD
            lease is for and the nature
2.179                                                                          TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 10/21/2014
                                                                               500 FRANK W. BURR BLVD
            lease is for and the nature
2.180                                                                          TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order Dated 09/09/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.181                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 11/13/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.182                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 03/12/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.183                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #27 Dated 04/21/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.184                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 03/27/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.185                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 02/27/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.186                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 07/19/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.187                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #31 Dated 09/18/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.188                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #35 Dated 05/10/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.189                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 12/19/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.190                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #37 Dated 06/07/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.191                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 11/14/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.192                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #24 Dated 01/12/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.193                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #28 Dated 06/15/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.194                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #44 Dated 05/01/2017
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.195                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 03/27/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.196                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 12/05/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.197                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #36 Dated 05/20/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.198                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #25 Dated 04/14/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.199                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #34 Dated 03/09/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.200                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #39 Dated 11/01/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.201                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 03/29/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.202                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 11/04/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.203                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #15 Dated 03/26/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.204                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #26 Dated 02/19/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.205                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 06/26/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.206                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #9 Dated 11/25/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.207                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 07/16/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.208                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #11 Dated 01/29/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.209                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #21 Dated 07/25/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.210                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 03/18/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.211                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #14 Dated 03/12/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.212                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 12/19/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.213                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #12 Dated 01/29/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.214                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #18 Dated 05/28/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.215                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #20 Dated 07/17/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.216                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 03/06/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.217                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 12/16/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.218                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #17 Dated 04/28/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.219                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #05 Dated 06/08/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.220                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 10/02/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.221                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #40 Dated 12/22/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.222                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #46 Dated 07/05/2017
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.223                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 08/29/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.224                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 05/08/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.225                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 03/29/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.226                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #22 Dated 08/06/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.227                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #1 Dated 02/07/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.228                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #38 Dated 09/12/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.229                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #45 Dated 06/06/2017
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.230                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 04/21/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.231                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 06/30/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.232                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #42 Dated 01/16/2017
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.233                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #32 Dated 10/27/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.234                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #43 Dated 03/30/2017
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.235                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #16 Dated 04/23/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.236                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #33 Dated 02/12/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.237                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #13 Dated 03/12/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.238                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #14 Dated 03/12/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.239                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #12 Dated 01/29/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.240                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #10 Dated 11/25/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.241                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #04 Dated 03/12/2015
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.242                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 10/01/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.243                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 12/19/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.244                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #17 Dated 04/28/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.245                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #19 Dated 06/12/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.246                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #41 Dated 12/26/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.247                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 08/26/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.248                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 06/26/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.249                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #8 Dated 04/19/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.250                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 02/05/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.251                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 12/09/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.252                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #43 Dated 04/03/2017
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.253                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #12 Dated 01/29/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.254                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #07 Dated 01/10/2016
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.255                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #13 Dated 03/12/2014
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.256                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 07/01/2013
                                                                                500 FRANK W. BURR BLVD
            lease is for and the nature
2.257                                                                           TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                           Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                             State the name and mailing address for all other parties with whom
                                                                                    the debtor has an executory contract or unexpired lease

                                                                                    COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #30 Dated 09/09/2015
                                                                                    500 FRANK W. BURR BLVD
            lease is for and the nature
2.258                                                                               TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                    COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Attachment 11-A Dated 01/02/2015
                                                                                    500 FRANK W. BURR BLVD
            lease is for and the nature
2.259                                                                               TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                    COGNIZANT TECHNOLOGY SOLUTIONS
            State what the contract or      Change Order #8 Dated 04/16/2013
                                                                                    500 FRANK W. BURR BLVD
            lease is for and the nature
2.260                                                                               TEANECK, NJ 07666
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                    COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                    814 ARION PARKWAY, SUITE 101
            lease is for and the nature     12/07/2015
2.261                                                                               SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                    COMPUTER SOLUTIONS
            State what the contract or      Voucher Cover Page Dated
                                                                                    814 ARION PARKWAY, SUITE 101
            lease is for and the nature     04/30/2015
2.262                                                                               SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                    COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Multiple Invoices
                                                                                    814 ARION PARKWAY, SUITE 101
            lease is for and the nature     Dated 01/01/2015
2.263                                                                               SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                    COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                    814 ARION PARKWAY, SUITE 101
            lease is for and the nature     01/01/2015
2.264                                                                               SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     02/01/2015
2.265                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     03/01/2015
2.266                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     04/01/2015
2.267                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     05/01/2015
2.268                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     06/01/2015
2.269                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     07/01/2015
2.270                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     08/01/2015
2.271                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     09/01/2015
2.272                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     10/01/2015
2.273                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     11/01/2015
2.274                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     12/01/2015
2.275                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     02/01/2016
2.276                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     03/01/2016
2.277                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                COMPUTER SOLUTIONS
            State what the contract or      Service Agreement - Invoice Dated
                                                                                814 ARION PARKWAY, SUITE 101
            lease is for and the nature     04/01/2016
2.278                                                                           SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 COMPUTER SOLUTIONS
            State what the contract or      Statement of Work Dated 10/22/2009
                                                                                 814 ARION PARKWAY, SUITE 101
            lease is for and the nature
2.279                                                                            SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 COMSYS SERVICES LLC
            State what the contract or      Fast Track Purchase Order Dated
                                                                                 3512 PAESANOS PKWY
            lease is for and the nature     08/15/2010
2.280                                                                            SUITE 204
            of the debtor’s interest
                                                                                 SAN ANTONIO, TX 78231


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 COMSYS SERVICES LLC
            State what the contract or      Fast Track Purchase Order Dated
                                                                                 3512 PAESANOS PARKWAY
            lease is for and the nature     08/31/2010
2.281                                                                            SUITE 204
            of the debtor’s interest
                                                                                 SAN ANTONIO, TX 78231


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 COMSYS SERVICES LLC
            State what the contract or      Fast Track Purchase Order Dated
                                                                                 3512 PAESANOS PARKWAY
            lease is for and the nature     12/28/2009
2.282                                                                            SUITE 204
            of the debtor’s interest
                                                                                 SAN ANTONIO, TX 78231


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 COMSYS SERVICES LLC
            State what the contract or      Fast Track Purchase Order Dated
                                                                                 3512 PAESANOS PARKWAY
            lease is for and the nature     06/29/2010
2.283                                                                            SUITE 204
            of the debtor’s interest
                                                                                 SAN ANTONIO, TX 78231


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 COMSYS SERVICES LLC
            State what the contract or      Fast Track Purchase Order Dated
                                                                                 3512 PAESANOS PARKWAY
            lease is for and the nature     07/06/2010
2.284                                                                            SUITE 204
            of the debtor’s interest
                                                                                 SAN ANTONIO, TX 78231


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 COMSYS SERVICES LLC
            State what the contract or      Invoice Dated 08/15/2007
                                                                                 PO BOX 60260
            lease is for and the nature
2.285                                                                            CHARLOTTE, NC 28260
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 COMSYS SERVICES LLC
            State what the contract or      Exhibit A Dated 12/16/2009
                                                                                 PO BOX 60260
            lease is for and the nature
2.286                                                                            CHARLOTTE, NC 28260
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CONCUR TECHNOLOGIES, INC.
            State what the contract or      Service Agreement - Invoice Dated
                                                                                 ATTN: ACCOUNTS RECEIVABLE
            lease is for and the nature     01/14/2000
2.287                                                                            6222 185TH AVE. NE
            of the debtor’s interest
                                                                                 REDMOND, WA 98052


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CONTINENTAL AIRLINES, INC.
            State what the contract or      Corporate Discount Agreement Dated
                                                                                 1600 SMITH ST. HQS-SP
            lease is for and the nature     12/01/2010
2.288                                                                            HOUSTON, TX 77002
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CORETRUST PURCHASING GROUP
            State what the contract or      Participation Agreement Dated
                                                                                 ATTN: VICE PRESIDENT, MARKET DEVELOPMENT
            lease is for and the nature     07/15/2009
2.289                                                                            115 FRANKLIN RD.
            of the debtor’s interest
                                                                                 SUITE 400
                                                                                 BRENTWOOD, TN 37027
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CORETRUST PURCHASING GROUP
            State what the contract or      Purchasing Group Participation
                                                                                 155 FRANKLIN ROAD
            lease is for and the nature     Agreement Dated 07/15/2009
2.290                                                                            SUITE 400
            of the debtor’s interest
                                                                                 SUITE 400
                                                                                 BRENTWOOD, TN 37027
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CORETRUST PURCHASING GROUP
            State what the contract or      Amendment Dated 01/08/2010
                                                                                 155 FRANKLIN ROAD
            lease is for and the nature
2.291                                                                            SUITE 400
            of the debtor’s interest
                                                                                 SUITE 400
                                                                                 BRENTWOOD, TN 37027
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CORETRUST PURCHASING GROUP
            State what the contract or      Amendment Dated 04/01/2011
                                                                                 155 FRANKLIN ROAD
            lease is for and the nature
2.292                                                                            SUITE 400
            of the debtor’s interest
                                                                                 SUITE 400
                                                                                 BRENTWOOD, TN 37027
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 CORETRUST PURCHASING GROUP
            State what the contract or      Participation Agreement Amendment
                                                                                 155 FRANKLIN ROAD
            lease is for and the nature     to Add Committed Category Dated
2.293                                                                            SUITE 400
            of the debtor’s interest        01/08/2010
                                                                                 SUITE 400
                                                                                 BRENTWOOD, TN 37027
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CORETRUST PURCHASING GROUP
            State what the contract or      Participation Agreement Amendment
                                                                                 155 FRANKLIN ROAD
            lease is for and the nature     to Add Committed Category Dated
2.294                                                                            SUITE 400
            of the debtor’s interest        04/01/2011
                                                                                 SUITE 400
                                                                                 BRENTWOOD, TN 37027
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CORPORATE EXECUTIVE BOARD
            State what the contract or      Membership Agreement Dated
                                                                                 3393 COLLECTION CENTER DR
            lease is for and the nature     06/28/2013
2.295                                                                            CHICAGO, IL 60693
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 CORPORATE EXECUTIVE BOARD
            State what the contract or      Addendum to Membership Agreement
                                                                                 3393 COLLECTION CENTER DR
            lease is for and the nature     Dated 12/31/2013
2.296                                                                            CHICAGO, IL 60693
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-161154
            State what the contract or      Contract Agreement Dated
                                                                                 ADDRESS ON FILE
            lease is for and the nature     06/06/2010
2.297
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-175200
            State what the contract or      Master Services Agreement Dated
                                                                                 ADDRESS ON FILE
            lease is for and the nature     11/22/2013
2.298
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 COUNTERPARTY NAME ON FILE 2018-95436
            State what the contract or      Statement of Work Dated 01/26/2010
                                                                                 ADDRESS ON FILE
            lease is for and the nature
2.299
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                      Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               COUNTERPARTY NAME ON FILE
            State what the contract or      Guarantee of Talent Agreement
                                                                               ADDRESS ON FILE
            lease is for and the nature
2.300
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                                                               COVAST CORPORATION
            State what the contract or      Agreement Dated 03/13/2008
                                                                               3340 PEACHTREE ROAD
            lease is for and the nature
2.301                                                                          NE TOWER PLACE
            of the debtor’s interest
                                                                               SUITE 1800
                                                                               ATLANTA, GA 30326
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               COVAST CORPORATION
            State what the contract or      Evaluation Agreement Dated
                                                                               3340 PEACHTREE ROAD
            lease is for and the nature     05/13/2005
2.302                                                                          NE TOWER PLACE
            of the debtor’s interest
                                                                               SUITE 1800
                                                                               ATLANTA, GA 30326
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               CRITICAL TECHNOLOGIES, LLC
            State what the contract or      Software License Agreement Dated
                                                                               ATTN: NICHOLAS V. DUNCAN
            lease is for and the nature     08/05/1999
2.303                                                                          100 PARK AVENUE, SUITE 500
            of the debtor’s interest
                                                                               OKLAHOMA CITY, OK 73102


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               CRS ASSOCIATES LLC
            State what the contract or      Letter Dated 04/23/2009
                                                                               14 EDGEWOOD DRIVE
            lease is for and the nature
2.304                                                                          SUMMIT, NJ 07901
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               DAN LARSON GROUP LLC
            State what the contract or      Statement of Work 4 Dated
                                                                               405 S. DALE MABRY HWY,
            lease is for and the nature     01/01/2012
2.305                                                                          STE 105
            of the debtor’s interest
                                                                               TAMPA, FL 33609


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               DARREN CASEY INTERESTS, INC.
            State what the contract or      Restriping of 200 Basse Parking
                                                                               200 EAST BASSE
            lease is for and the nature     Garage
2.306                                                                          SUITE 300
            of the debtor’s interest
                                                                               SAN ANTONIO, TX 78209


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                         Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  DEACON RECRUITING
            State what the contract or      Service Letter Dated 11/22/2004
                                                                                  12500 SAN PEDRO
            lease is for and the nature
2.307                                                                             SUITE 140
            of the debtor’s interest
                                                                                  SAN ANTONINO, TX 78216


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  DELOITTE CONSULTING LLP
            State what the contract or      Agreement Letter Dated 10/21/2013
                                                                                  25 BROADWAY
            lease is for and the nature
2.308                                                                             NEW YORK, NY 10004
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  DELOITTE CONSULTING LLP
            State what the contract or      Engagement Letter Dated 10/21/2013
                                                                                  ATTN: DANIEL M. SIEGEL
            lease is for and the nature
2.309                                                                             PRINCIPAL
            of the debtor’s interest
                                                                                  100 KIMBALL DRIVE
                                                                                  PARSIPPANY , NJ 07054
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  DENIM GROUP, LTD.
            State what the contract or      Master Consulting Services
                                                                                  ATTN: GENERAL PARTNER
            lease is for and the nature     Agreement Dated 09/28/2012
2.310                                                                             3463 MAGIC DRIVE
            of the debtor’s interest
                                                                                  SUITE 315
                                                                                  SAN ANTONIO, TX 78229
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  DEUTSCHE BANK AG
            State what the contract or      Letter of Credit Agreement & Letter
                                                                                  ATTN: TRADE SERVICES
            lease is for and the nature     Dated 03/29/2010
2.311                                                                             60 WALL STREET
            of the debtor’s interest
                                                                                  25TH FLOOR
                                                                                  NEW YORK, NY 10005-2858
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  DUN & BRADSTREET
            State what the contract or      Sales & Marketing Solutions Order
                                                                                  NEEL CHAUHAN
            lease is for and the nature     Form Dated 07/01/2005
2.312                                                                             LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                  103 JFK PARKWAY
                                                                                  SHORT HILLS, NJ 07078
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  DUN & BRADSTREET
            State what the contract or      Order Form Dated 12/19/2007
                                                                                  NEEL CHAUHAN
            lease is for and the nature
2.313                                                                             LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                  103 JFK PARKWAY
                                                                                  SHORT HILLS, NJ 07078
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                                   State the name and mailing address for all other parties with whom
                                                                                          the debtor has an executory contract or unexpired lease

                                                                                          DUN & BRADSTREET
            State what the contract or      Order Form Dated 12/19/2005
                                                                                          NEEL CHAUHAN
            lease is for and the nature
2.314                                                                                     LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                          103 JFK PARKWAY
                                                                                          SHORT HILLS, NJ 07078
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                          DUN & BRADSTREET
            State what the contract or      Order Form Dated 04/03/2006
                                                                                          NEEL CHAUHAN
            lease is for and the nature
2.315                                                                                     LEADER PRODUCT MANAGEMENT
            of the debtor’s interest
                                                                                          103 JFK PARKWAY
                                                                                          SHORT HILLS, NJ 07078
            State the term remaining        Undetermined
            List the contract number of
            any government contract

                                            Guarantee of Office/Studio Lease - Phoenix,
                                                                                          EAST GATEWAY CENTER LLC
            State what the contract or
                                            AZ Studios, Music, Outdoor, 4686 E. Van       C/O PACIFICA PROPERTY MGMT COMPANY
            lease is for and the nature
2.316                                       Buren St, Phoenix, AZ 85008-0959              200 E. CARRILLO STREET, SUITE 100
            of the debtor’s interest
                                                                                          SANTA BARBARA, CA 93101


            State the term remaining
            List the contract number of
            any government contract
                                                                                          ELEMENT K
            State what the contract or      Master Agreement Dated 01/01/2008
                                                                                          ATTN: LEGAL DEPARTMENT
            lease is for and the nature
2.317                                                                                     500 CANAL VIEW BOULEVARD
            of the debtor’s interest
                                                                                          ROCHESTER, NY 14623


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                          EMC CORP.
            State what the contract or      Service Agreement - Quote Dated
                                                                                          2831 MISSION COLLEGE BOULEVARD
            lease is for and the nature     03/04/2007
2.318                                                                                     PO BOX 58199
            of the debtor’s interest
                                                                                          SANTA CLARA, CA 95052-8199


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                          EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or      Work Order Dated 03/06/2013
                                                                                          1 KATTELVILLE ROAD
            lease is for and the nature
2.319                                                                                     SUITE 4
            of the debtor’s interest
                                                                                          BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                          EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or      Work Order Dated 08/01/2012
                                                                                          1 KATTELVILLE ROAD
            lease is for and the nature
2.320                                                                                     SUITE 4
            of the debtor’s interest
                                                                                          BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or      Work Order Dated 07/27/2012
                                                                                 1 KATTELVILLE ROAD
            lease is for and the nature
2.321                                                                            SUITE 4
            of the debtor’s interest
                                                                                 BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or      Work Order Dated 07/07/2012
                                                                                 1 KATTELVILLE ROAD
            lease is for and the nature
2.322                                                                            SUITE 4
            of the debtor’s interest
                                                                                 BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or      Work Order Dated 03/06/2013
                                                                                 1 KATTELVILLE ROAD
            lease is for and the nature
2.323                                                                            SUITE 4
            of the debtor’s interest
                                                                                 BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or      Work Order Dated 03/06/2013
                                                                                 1 KATTELVILLE ROAD
            lease is for and the nature
2.324                                                                            SUITE 4
            of the debtor’s interest
                                                                                 BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or      Client Staffing Services Agreement
                                                                                 1 KATTELVILLE ROAD
            lease is for and the nature     Dated 07/27/2012
2.325                                                                            SUITE 4
            of the debtor’s interest
                                                                                 BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or      Work Order Dated 08/01/2012
                                                                                 1 KATTELVILLE ROAD
            lease is for and the nature
2.326                                                                            SUITE 4
            of the debtor’s interest
                                                                                 BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or      Work Order Dated 03/06/2013
                                                                                 1 KATTELVILLE ROAD
            lease is for and the nature
2.327                                                                            SUITE 4
            of the debtor’s interest
                                                                                 BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or      Work Order Dated 12/11/2014
                                                                                 1 KATTELVILLE ROAD
            lease is for and the nature
2.328                                                                            SUITE 4
            of the debtor’s interest
                                                                                 BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or      Work Order Dated 08/01/2012
                                                                                 1 KATTELVILLE ROAD
            lease is for and the nature
2.329                                                                            SUITE 4
            of the debtor’s interest
                                                                                 BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or      Work Order Dated 09/27/2012
                                                                                 1 KATTELVILLE ROAD
            lease is for and the nature
2.330                                                                            SUITE 4
            of the debtor’s interest
                                                                                 BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EMPLOYMENT CONTRACTOR SERVICES INC.
            State what the contract or      Work Order Dated 12/11/2014
                                                                                 1 KATTELVILLE ROAD
            lease is for and the nature
2.331                                                                            SUITE 4
            of the debtor’s interest
                                                                                 BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EMPLOYMENT CONTRACTOR SERVICES, INC.
            State what the contract or      Certificate of Liability Insurance
                                                                                 1 KATTLEVILLE ROAD
            lease is for and the nature     Dated 03/11/2013
2.332                                                                            SUITE 4
            of the debtor’s interest
                                                                                 BINGHAMTOM, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EMPLOYMENT CONTRACTOR SERVICES, INC.
            State what the contract or      Client Staffing Services Agreement
                                                                                 1 KATTELVILLE ROAD
            lease is for and the nature     Dated 07/27/2012
2.333                                                                            SUITE 4
            of the debtor’s interest
                                                                                 BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EMPLOYMENT CONTRACTOR SERVICES, INC.
            State what the contract or      Client Staffing Services Agreement
                                                                                 1 KATTELVILLE ROAD
            lease is for and the nature     Dated 07/27/2012
2.334                                                                            SUITE 4
            of the debtor’s interest
                                                                                 BINGHAMTON, NY 13901


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 ENVIRONMENTAL SYSTEMS RESEARCH INSTITUTE, INC.
            State what the contract or      Amendment No. 1 to Master License
                                                                                 380 NEW YORK ST.
            lease is for and the nature     Agreement Dated 12/30/2013
2.335                                                                            REDLANDS, CA 92373-8100
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ERNST & YOUNG LLP
            State what the contract or      Statement of Work Dated 07/19/2017
                                                                                 401 CONGRESS AVE.
            lease is for and the nature
2.336                                                                            SUITE 1800
            of the debtor’s interest
                                                                                 AUSTIN, TX 78701


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ERNST & YOUNG LLP
            State what the contract or      Amendment to Statement of Work
                                                                                 401 CONGRESS AVE.
            lease is for and the nature     Dated 12/13/2017
2.337                                                                            SUITE 1800
            of the debtor’s interest
                                                                                 AUSTIN, TX 78701


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ERNST & YOUNG, LLP
            State what the contract or      Audit Engagement Letter Dated
                                                                                 1700 FROST BANK TOWER
            lease is for and the nature     05/03/2017
2.338                                                                            100 W HOUSTON STREET
            of the debtor’s interest
                                                                                 SAN ANTONIO, TX 78205


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EXCELLERENT TECHNOLOGY
            State what the contract or      Work Order Dated 01/01/2014
                                                                                 ATTN: ORNE BEY
            lease is for and the nature
2.339                                                                            PRESIDENT
            of the debtor’s interest
                                                                                 SEVEN PARKWAY CENTER, SUITE 180
                                                                                 875 GREENTREE ROAD
                                                                                 PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 06/17/2013
                                                                                 ATTN: ORNE BEY
            lease is for and the nature
2.340                                                                            PRESIDENT
            of the debtor’s interest
                                                                                 SEVEN PARKWAY CENTER, SUITE 180
                                                                                 875 GREENTREE ROAD
                                                                                 PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 03/31/2014
                                                                                 ATTN: ORNE BEY
            lease is for and the nature
2.341                                                                            PRESIDENT
            of the debtor’s interest
                                                                                 SEVEN PARKWAY CENTER, SUITE 180
                                                                                 875 GREENTREE ROAD
                                                                                 PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                       State the name and mailing address for all other parties with whom
                                                                              the debtor has an executory contract or unexpired lease

                                                                              EXCELLERENT TECHNOLOGY SOLUTIONS, INC.
            State what the contract or      Master Services Agreement Dated
                                                                              875 GREENTREE ROAD
            lease is for and the nature     08/24/2012
2.342                                                                         SEVEN PARKWAY CENTER, SUITE 180
            of the debtor’s interest
                                                                              PITTSBURGH, PA 15220


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 02/03/2014
                                                                              ATTN: ORNE BEY
            lease is for and the nature
2.343                                                                         PRESIDENT
            of the debtor’s interest
                                                                              STEVEN PARKWAY CENTER, SUITE 180
                                                                              875 GREENTREE ROAD
                                                                              PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 09/18/2013
                                                                              ATTN: ORNE BEY
            lease is for and the nature
2.344                                                                         PRESIDENT
            of the debtor’s interest
                                                                              SEVEN PARKWAY CENTER, SUITE 180
                                                                              875 GREENTREE ROAD
                                                                              PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 09/18/2013
                                                                              ATTN: ORNE BEY
            lease is for and the nature
2.345                                                                         PRESIDENT
            of the debtor’s interest
                                                                              SEVEN PARKWAY CENTER, SUITE 180
                                                                              875 GREENTREE ROAD
                                                                              PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 01/01/2014
                                                                              ATTN: ORNE BEY
            lease is for and the nature
2.346                                                                         PRESIDENT
            of the debtor’s interest
                                                                              SEVEN PARKWAY CENTER, SUITE 180
                                                                              875 GREENTREE ROAD
                                                                              PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 03/05/2013
                                                                              ATTN: ORNE BEY
            lease is for and the nature
2.347                                                                         PRESIDENT
            of the debtor’s interest
                                                                              SEVEN PARKWAY CENTER, SUITE 180
                                                                              875 GREENTREE ROAD
                                                                              PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 05/29/2013
                                                                              ATTN: ORNE BEY
            lease is for and the nature
2.348                                                                         PRESIDENT
            of the debtor’s interest
                                                                              SEVEN PARKWAY CENTER, SUITE 180
                                                                              875 GREENTREE ROAD
                                                                              PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                 Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                   State the name and mailing address for all other parties with whom
                                                                          the debtor has an executory contract or unexpired lease

                                                                           EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 04/17/2013
                                                                           ATTN: ORNE BEY
            lease is for and the nature
2.349                                                                      PRESIDENT
            of the debtor’s interest
                                                                           SEVEN PARKWAY CENTER, SUITE 180
                                                                           875 GREENTREE ROAD
                                                                           PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                           EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 03/31/2014
                                                                           ATTN: ORNE BEY
            lease is for and the nature
2.350                                                                      PRESIDENT
            of the debtor’s interest
                                                                           SEVEN PARKWAY CENTER, SUITE 180
                                                                           875 GREENTREE ROAD
                                                                           PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                           EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 05/01/2014
                                                                           ATTN: ORNE BEY
            lease is for and the nature
2.351                                                                      PRESIDENT
            of the debtor’s interest
                                                                           SEVEN PARKWAY CENTER, SUITE 180
                                                                           875 GREENTREE ROAD
                                                                           PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                           EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 08/28/2014
                                                                           ATTN: ORNE BEY
            lease is for and the nature
2.352                                                                      PRESIDENT
            of the debtor’s interest
                                                                           SEVEN PARKWAY CENTER, SUITE 180
                                                                           875 GREENTREE ROAD
                                                                           PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                           EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 03/01/2013
                                                                           ATTN: ORNE BEY
            lease is for and the nature
2.353                                                                      PRESIDENT
            of the debtor’s interest
                                                                           SEVEN PARKWAY CENTER, SUITE 180
                                                                           875 GREENTREE ROAD
                                                                           PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                           EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 03/31/2014
                                                                           ATTN: ORNE BEY
            lease is for and the nature
2.354                                                                      PRESIDENT
            of the debtor’s interest
                                                                           SEVEN PARKWAY CENTER, SUITE 180
                                                                           875 GREENTREE ROAD
                                                                           PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                           EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 12/02/2013
                                                                           ATTN: ORNE BEY
            lease is for and the nature
2.355                                                                      PRESIDENT
            of the debtor’s interest
                                                                           SEVEN PARKWAY CENTER, SUITE 180
                                                                           875 GREENTREE ROAD
                                                                           PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                         Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 05/01/2014
                                                                                  ATTN: ORNE BEY
            lease is for and the nature
2.356                                                                             PRESIDENT
            of the debtor’s interest
                                                                                  SEVEN PARKWAY CENTER, SUITE 180
                                                                                  875 GREENTREE ROAD
                                                                                  PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  EXCELLERENT TECHNOLOGY SOLUTIONS
            State what the contract or      Work Order Dated 12/17/2012
                                                                                  ATTN: ORNE BEY
            lease is for and the nature
2.357                                                                             PRESIDENT
            of the debtor’s interest
                                                                                  SEVEN PARKWAY CENTER, SUITE 180
                                                                                  875 GREENTREE ROAD
                                                                                  PITTSBURGH, PA 15220
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  EXPEDIA, INC.
            State what the contract or      Advertising Commitment Dated
                                                                                  333 108TH AVENUE NE
            lease is for and the nature     04/28/2009
2.358                                                                             BELLEVUE, WA 98004
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  EXPERIS US, INC.
            State what the contract or      Direct Hire Agreement- Professional
                                                                                  100 MANPOWER PLACE
            lease is for and the nature     Dated 10/03/2013
2.359                                                                             MILWAUKEE, WI 53212
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  EXPERIS US, INC
            State what the contract or      Direct Hire Agreement Dated
                                                                                  100 MANPOWER PLACE
            lease is for and the nature     10/03/2013
2.360                                                                             MILWAUKEE, WI 63212
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  FALCON CREST AVIATION SUPPLY, INC.
            State what the contract or      Invoice Dated 12/06/2017
                                                                                  8318 BRANIFF
            lease is for and the nature
2.361                                                                             HOUSTON, TX 77061
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  FALCON CREST AVIATION SUPPLY, INC.
            State what the contract or      Invoice Dated 12/29/2017
                                                                                  8318 BRANIFF
            lease is for and the nature
2.362                                                                             HOUSTON, TX 77061
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                                Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                                  State the name and mailing address for all other parties with whom
                                                                                         the debtor has an executory contract or unexpired lease

                                                                                         FALCON CREST AVIATION SUPPLY, INC.
            State what the contract or      Invoice Dated 12/21/2017
                                                                                         8318 BRANIFF
            lease is for and the nature
2.363                                                                                    HOUSTON, TX 77061
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract

                                            Guarantee of Office/Studio Lease - Albany,
                                                                                         FCA GROUP, LLC
            State what the contract or
                                            NY Studios, 1203 Troy Schenectady Road,      22 CENTURY HILL DRIVE, SUITE 301
            lease is for and the nature
2.364                                       Latham, NY 12110-1046                        LATHAM, NY 12110
            of the debtor’s interest


            State the term remaining
            List the contract number of
            any government contract
                                                                                         FIDELITY INFORMATION SERVICES, LLC
            State what the contract or      Statement of Work Dated 02/06/2012
                                                                                         ATTN: PETER BOUCHER
            lease is for and the nature
2.365                                                                                    FIDELITY INFORMATION SERVICES
            of the debtor’s interest
                                                                                         601 RIVERSIDE AVENUE
                                                                                         JACKSONVILLE, FL 32204
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                         FIDELITY INFORMATION SERVICES, LLC
            State what the contract or      Statement of Work Dated 02/08/2012
                                                                                         ATTN CHRIS ROSEN
            lease is for and the nature
2.366                                                                                    601 RIVERSIDE AVENUE
            of the debtor’s interest
                                                                                         JACKSONVILLE, FL 32204


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                         FIDELITY INFORMATION SERVICES, LLC
            State what the contract or      Statement of Work Dated 11/28/2011
                                                                                         ATTN: PETER BOUCHER
            lease is for and the nature
2.367                                                                                    FIDELITY INFORMATION SERVICES
            of the debtor’s interest
                                                                                         601 RIVERSIDE AVENUE
                                                                                         JACKSONVILLE, FL 32204
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                         FIORANO SOFTWARE INC.
            State what the contract or      Quote and Order Form Dated
                                                                                         230 S. CALIFORNIA AVENUE
            lease is for and the nature     09/05/2013
2.368                                                                                    SUITE 103
            of the debtor’s interest
                                                                                         PALO ALTO, CA 94306


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                         FIORANO SOFTWARE, INC.
            State what the contract or      Quote and Order Form
                                                                                         230 S. CALIFORNIA AVENUE, SUITE 103
            lease is for and the nature
2.369                                                                                    PALO ALTO, CA 94306
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 FIORANO SOFTWARE, INC.
            State what the contract or      Service Quote and Order Form Dated
                                                                                 230 S. CALIFORNIA AVENUE
            lease is for and the nature     01/08/2014
2.370                                                                            SUITE 103
            of the debtor’s interest
                                                                                 PALO ALTO, CA 94306


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 FIORANO SOFTWARE, INC.
            State what the contract or      Quote and Order Form Dated
                                                                                 230 S. CALIFORNIA AVENUE,
            lease is for and the nature     01/08/2014
2.371                                                                            SUITE 103
            of the debtor’s interest
                                                                                 PALO ALTO, CA 94306


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 FIORANO SOFTWARE, INC.
            State what the contract or      Fiorano Professional Services and
                                                                                 230 S. CALIFORNIA AVENUE
            lease is for and the nature     Order Form Dated 01/08/2014
2.372                                                                            SUITE 103
            of the debtor’s interest
                                                                                 PALO ALTO, CA 94306


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 FLORANO SOFTWARE, INC.
            State what the contract or      Service Quote and Order Form Dated
                                                                                 220 S. CALIFORNIA AVENUE, SUITE 103
            lease is for and the nature     02/26/2014
2.373                                                                            PALO ALTO, CA 94306
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 FLUKE NETWORKS
            State what the contract or      License Agreement - Invoice Dated
                                                                                 PO BOX 777
            lease is for and the nature     04/01/2015
2.374                                                                            EVERETT, WA 98206
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 FLUKE NETWORKS
            State what the contract or      License Agreement - Invoice Dated
                                                                                 PO BOX 777
            lease is for and the nature     04/01/2016
2.375                                                                            EVERETT, WA 98206-0777
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 FOX NEWS NETWORK, LLC
            State what the contract or      Contract Database Input Form
                                                                                 ATTN: DIANNE BRANDI
            lease is for and the nature     Amendment Dated 01/01/2011
2.376                                                                            1211 AVENUE OF THE AMERICAS
            of the debtor’s interest
                                                                                 NEW YORK, NY 10036


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 FOX NEWS NETWORK, LLC
            State what the contract or      Contract Database Input Form Dated
                                                                                 ATTN: DIANNE BRANDI
            lease is for and the nature     05/17/2010
2.377                                                                            1211 AVENUE OF THE AMERICAS
            of the debtor’s interest
                                                                                 NEW YORK, NY 10036


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 FOX NEWS NETWORK, LLC
            State what the contract or      Amendment Letter Dated 03/08/2011
                                                                                 ATTN: DIANNE BRANDI
            lease is for and the nature
2.378                                                                            1211 AVENUE OF THE AMERICAS
            of the debtor’s interest
                                                                                 NEW YORK, NY 10036


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 FOX NEWS NETWORK, LLC
            State what the contract or      Contract Database Input Form -
                                                                                 ATTN: DIANNE BRANDI
            lease is for and the nature     Amendment to Master Agreement
2.379                                                                            1211 AVENUE OF THE AMERICAS
            of the debtor’s interest        Dated 01/01/2012
                                                                                 NEW YORK, NY 10036


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 FOX NEWS NETWORK, LLC
            State what the contract or      Contract Database Input Form
                                                                                 ATTN: DIANNE BRANDI
            lease is for and the nature     Amendment Dated 01/01/2011
2.380                                                                            1211 AVENUE OF THE AMERICAS
            of the debtor’s interest
                                                                                 NEW YORK, NY 10036


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 FOX NEWS NETWORK, LLC
            State what the contract or      Letter Amendment to Master
                                                                                 ATTN: DIANNE BRANDI
            lease is for and the nature     Agreement Dated 03/08/2012
2.381                                                                            1211 AVENUE OF THE AMERICAS
            of the debtor’s interest
                                                                                 NEW YORK, NY 10036


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 FOX NEWS NETWORK, LLC
            State what the contract or      Letter Amendment to Master
                                                                                 ATTN: DIANNE BRANDI
            lease is for and the nature     Agreement Dated 03/08/2011
2.382                                                                            1211 AVENUE OF THE AMERICAS
            of the debtor’s interest
                                                                                 NEW YORK, NY 10036


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 FOX NEWS RADIO
            State what the contract or      Radio Broadcast Affiliation Master
                                                                                 ATTN: ROBERT FINNERTY
            lease is for and the nature     Agreement Dated 08/03/2010
2.383                                                                            1211 AVENUE OF THE AMERICAS
            of the debtor’s interest
                                                                                 NEW YORK, NY 10036


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                                   State the name and mailing address for all other parties with whom
                                                                                          the debtor has an executory contract or unexpired lease

                                                                                          FOX NEWS, LLC
            State what the contract or      Invoice Dated 03/30/2012
                                                                                          1211 AVENUE OF THE AMERICAS
            lease is for and the nature
2.384                                                                                     NEW YORK, NY 10036
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract

                                            Guarantee of Office/Studio Lease -
                                                                                          G&I VII 1600 & MONEYGRAM LLC
            State what the contract or
                                            Minneapolis, MN Studios, Airports, Inergize   1550 UTICA AVENUE SOUTH, SUITE 140
            lease is for and the nature
2.385                                       Media, 1600 Utica Avenue South, 4th & 5th     ATTENTION: JOE LIPUMA
            of the debtor’s interest        Floors, St. Louis Park, MN 55416              ST. LOUIS PARK, MN 55416


            State the term remaining
            List the contract number of
            any government contract
                                                                                          GA MISSION LLC
            State what the contract or      Guarantee of Office/Studio Lease -
                                                                                          7 GIRALDA FARMS
            lease is for and the nature     Katz San Francisco, 101 Mission
2.386                                                                                     ATTN: GREG SHANKLIN, ESQUIRE
            of the debtor’s interest        Street, San Francisco, CA 94105
                                                                                          MADISON, NJ 07940


            State the term remaining
            List the contract number of
            any government contract
                                                                                          GARTNER, INC.
            State what the contract or      Service Agreement Dated 12/01/2016
                                                                                          56 TOP GALLANT RD.
            lease is for and the nature
2.387                                                                                     STANFORD, CT 06904
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                          GARTNER, INC.
            State what the contract or      Service Agreement Dated 10/01/2017
                                                                                          56 TOP GALLANT ROAD
            lease is for and the nature
2.388                                                                                     STAMFORD, CT 06904
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                          GE FLEET SERVICES
            State what the contract or      Purchase & Marketing Agreement
                                                                                          THREE CAPITAL DRIVE
            lease is for and the nature     Dated 08/02/2012
2.389                                                                                     EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                          GE FLEET SERVICES
            State what the contract or      Amendment to Master Lease
                                                                                          THREE CAPITAL DRIVE
            lease is for and the nature     Agreement Dated 06/04/2010
2.390                                                                                     EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                         Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  GE FLEET SERVICES
            State what the contract or      Purchase & Marketing Agreement -
                                                                                  THREE CAPITAL DRIVE
            lease is for and the nature     Schedule of Rates Dated 08/02/2012
2.391                                                                             EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  GE FLEET SERVICES
            State what the contract or      Amendment and Rate Schedule
                                                                                  THREE CAPITAL DRIVE
            lease is for and the nature     Dated 04/14/2010
2.392                                                                             EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  GE FLEET SERVICES
            State what the contract or      Amendment to Master Lease
                                                                                  THREE CAPITAL DRIVE
            lease is for and the nature     Agreement Dated 06/04/2010
2.393                                                                             EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  GE FLEET SERVICES
            State what the contract or      Name Change Agreement Dated
                                                                                  THREE CAPITAL DRIVE
            lease is for and the nature     04/01/2015
2.394                                                                             EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Letter of Credit Agreement & Letter
                                                                                  ATTN: CEFS CREDIT MANAGER
            lease is for and the nature     Dated 03/29/2010
2.395                                                                             THREE CAPITAL DRIVE
            of the debtor’s interest
                                                                                  EDEN PRAIRIE, MN 55344


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Fleet Management Solutions
                                                                                  THREE CAPITAL DRIVE
            lease is for and the nature     Addendum Dated 04/14/2010
2.396                                                                             EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Purchase & Marketing Agreement
                                                                                  THREE CAPITAL DRIVE
            lease is for and the nature     (Interim Interest) Dated 03/30/2012
2.397                                                                             EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Master Services Agreement Dated
                                                                                 THREE CAPITAL DRIVE
            lease is for and the nature     04/14/2010
2.398                                                                            EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Master Lease Agreement:
                                                                                 THREE CAPITAL DRIVE
            lease is for and the nature     Amendment and Rate Schedule Dated
2.399                                                                            EDEN PRAIRIE, MN 55344
            of the debtor’s interest        12/16/2010


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Amendment to Master Lease
                                                                                 THREE CAPITAL DRIVE
            lease is for and the nature     Agreement re: Chevrolet Silverado
2.400                                                                            EDEN PRAIRIE, MN 55344
            of the debtor’s interest        Dated 11/09/2012


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Master Services Agreement Dated
                                                                                 THREE CAPITAL DRIVE
            lease is for and the nature     04/14/2010
2.401                                                                            EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Letter of Credit Agreement Dated
                                                                                 THREE CAPITAL DRIVE
            lease is for and the nature     03/29/2010
2.402                                                                            EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Master Lease Agreement Amendment
                                                                                 THREE CAPITAL DRIVE
            lease is for and the nature     and Rate Schedule - Interim Rental
2.403                                                                            EDEN PRAIRIE, MN 55344
            of the debtor’s interest        Dated 12/16/2010


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Maintenance Management Addendum
                                                                                 THREE CAPITAL DRIVE
            lease is for and the nature     Dated 04/14/2010
2.404                                                                            EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                         Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      RapidTag Addendum Dated
                                                                                  THREE CAPITAL DRIVE
            lease is for and the nature     04/14/2010
2.405                                                                             EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Master Lease Agreement Dated
                                                                                  THREE CAPITAL DRIVE
            lease is for and the nature     04/14/2010
2.406                                                                             EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Partial Assignment And Assumption
                                                                                  THREE CAPITAL DRIVE
            lease is for and the nature     Dated 02/25/2016
2.407                                                                             EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Master Lease Agreement Dated
                                                                                  THREE CAPITAL DRIVE
            lease is for and the nature     04/14/2010
2.408                                                                             EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Purchase & Marketing Agreement
                                                                                  THREE CAPITAL DRIVE
            lease is for and the nature     Dated 03/30/2012
2.409                                                                             EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Non-Standard Tire Authorization
                                                                                  THREE CAPITAL DRIVE
            lease is for and the nature     Agreement Dated 08/30/2010
2.410                                                                             EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Partial Assignment Dated 03/17/2016
                                                                                  THREE CAPITAL DRIVE
            lease is for and the nature
2.411                                                                             EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                              Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                                State the name and mailing address for all other parties with whom
                                                                                       the debtor has an executory contract or unexpired lease

                                                                                       GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Personal Mileage Analysis Addendum
                                                                                       THREE CAPITAL DRIVE
            lease is for and the nature     Dated 04/14/2010
2.412                                                                                  EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                       GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Amendment to Master Lease
                                                                                       THREE CAPITAL DRIVE
            lease is for and the nature     Agreement Dated 11/09/2012
2.413                                                                                  EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                       GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Amendment to Master Lease
                                                                                       THREE CAPITAL DRIVE
            lease is for and the nature     Agreement Dated 05/30/2013
2.414                                                                                  EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                       GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Amendment to Master Lease
                                                                                       THREE CAPITAL DRIVE
            lease is for and the nature     Agreement Amendment and Rate
2.415                                                                                  EDEN PRAIRIE, MN 55344
            of the debtor’s interest        Schedule - Interim Rental Dated
                                            05/30/2013

            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                       GELCO CORPORATION D/B/A GE FLEET SERVICES
            State what the contract or      Non-standard Tire Authorization
                                                                                       THREE CAPITAL DRIVE
            lease is for and the nature     Agreement Dated 08/30/2010
2.416                                                                                  EDEN PRAIRIE, MN 55344
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                       HERMAN MILLER, INC.
            State what the contract or      Facility Purchasing Agreement Dated
                                                                                       ATTN: CONTRACTS MANAGER
            lease is for and the nature     01/22/2013
2.417                                                                                  LOCATION 0111
            of the debtor’s interest
                                                                                       855 E. MAIN AVE.
                                                                                       ZEELAND, MI 49464
            State the term remaining        Undetermined
            List the contract number of
            any government contract

                                            Guarantee of Office/Studio Lease - Grand
                                                                                       HGR-1, LLC
            State what the contract or
                                            Rapids, MI Studios, 77 Monroe Center NW,   750 TRADE CENTER WAY
            lease is for and the nature
2.418                                       Grand Rapids, MI 49503                     SUITE 100
            of the debtor’s interest
                                                                                       PORTAGE, MI 49002


            State the term remaining
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                         Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  HIGHWOODS REALTY LIMITED PARTNERSHIP
            State what the contract or      Guarantee of Office/Studio Lease -
                                                                                  3100 SMOKETREE COURT, SUITE 700
            lease is for and the nature     Raleigh, NC Studios, 3100 Smoketree
2.419                                                                             RALEIGH, NC 27604
            of the debtor’s interest        Court, Raleigh, NC 27604


            State the term remaining
            List the contract number of
            any government contract
                                                                                  ICON INTERNATIONAL, INC.
            State what the contract or      Letter Agreement Dated 06/01/2016
                                                                                  ATTN: JOHN P. KRAMER
            lease is for and the nature
2.420                                                                             FOUR STAMFORD PLAZA, 15TH FLOOR
            of the debtor’s interest
                                                                                  107 ELM STREET
                                                                                  STAMFORD, CT 06902
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  ICON INTERNATIONAL, INC.
            State what the contract or      Letter Agreement Dated 09/30/2016
                                                                                  ATTN: JOHN P KRAMER
            lease is for and the nature
2.421                                                                             FOUR STAMFORD PLAZA, 15TH FLOOR
            of the debtor’s interest
                                                                                  107 ELM STREET
                                                                                  STAMFORD, CT 06902
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  ICON INTERNATIONAL, INC.
            State what the contract or      Letter Agreement Dated 12/22/2016
                                                                                  ATTN: JOHN P KRAMER
            lease is for and the nature
2.422                                                                             FOUR STAMFORD PLAZA, 15TH FLOOR
            of the debtor’s interest
                                                                                  107 ELM STREET
                                                                                  STAMFORD, CT 06902
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  ICON INTERNATIONAL, INC.
            State what the contract or      Letter Agreement Dated 06/30/2016
                                                                                  ATTN: JOHN P KRAMER
            lease is for and the nature
2.423                                                                             FOURT STAMFORD PLAZA, 15TH FLOOR
            of the debtor’s interest
                                                                                  107 ELM STREET
                                                                                  STAMFORD, CT 06902
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  ICON INTERNATIONAL, INC.
            State what the contract or      Letter Agreement Dated 07/31/2017
                                                                                  ATTN: JOHN P KRAMER
            lease is for and the nature
2.424                                                                             FOUR STAMFORD PLAZA, 15TH FLOOR
            of the debtor’s interest
                                                                                  107 ELM STREET
                                                                                  STAMFORD, CT 06902
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  ICON INTERNATIONAL, INC.
            State what the contract or      Advertising Agreement Dated
                                                                                  ATTN: JOHN P. KRAMER, PRESIDENT
            lease is for and the nature     04/05/2017
2.425                                                                             FOUR STAMFORD PLAZA, 15TH FLOOR
            of the debtor’s interest
                                                                                  107 ELM STREET
                                                                                  STAMFORD, CT 06902
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 ICON INTERNATIONAL, INC.
            State what the contract or      Advertising Agreement Dated
                                                                                 ATTN: JOHN P. KRAMER, PRESIDENT
            lease is for and the nature     07/31/2017
2.426                                                                            FOUR STAMFORD PLAZA, 15TH FLOOR
            of the debtor’s interest
                                                                                 107 ELM STREET
                                                                                 STAMFORD, CT 06902
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ICON INTERNATIONAL, INC.
            State what the contract or      Advertising Agreement Dated
                                                                                 ATTN: JOHN P. KRAMER, PRESIDENT
            lease is for and the nature     06/30/2016
2.427                                                                            FOUR STAMFORD PLAZA, 15TH FLOOR
            of the debtor’s interest
                                                                                 107 ELM STREET
                                                                                 STAMFORD, CT 06902
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ICON INTERNATIONAL, INC.
            State what the contract or      Advertising Agreement Dated
                                                                                 ATTN: JOHN P. KELLY, PRESIDENT
            lease is for and the nature     12/22/2016
2.428                                                                            FOUR STAMFORD PLAZA, 15TH FLOOR
            of the debtor’s interest
                                                                                 107 ELM STREET
                                                                                 STAMFORD, CT 06902
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 IDE INTERNATIONAL INC.
            State what the contract or      Master Service Agreement Dated
                                                                                 105 BRANCJWOOD TRL
            lease is for and the nature     08/09/2012
2.429                                                                            COPPELL, TX 75019
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 IDE INTERNATIONAL INC.
            State what the contract or      Statement of Work Dated 08/13/2012
                                                                                 105 BRANCJWOOD TRL
            lease is for and the nature
2.430                                                                            COPPELL, TX 75019
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 IDE INTERNATIONAL INC.
            State what the contract or      Statement of Work Dated 09/17/2012
                                                                                 105 BRANCJWOOD TRL
            lease is for and the nature
2.431                                                                            COPPELL, TX 75019
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 IDE INTERNATIONAL INC.
            State what the contract or      Statement of Work Dated 08/13/2012
                                                                                 105 BRANCJWOOD TRL
            lease is for and the nature
2.432                                                                            COPPELL, TX 75019
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                          Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                            State the name and mailing address for all other parties with whom
                                                                                   the debtor has an executory contract or unexpired lease

                                                                                   IDE INTERNATIONAL INC.
            State what the contract or      Statement of Work Dated 08/13/2012
                                                                                   105 BRANCJWOOD TRL
            lease is for and the nature
2.433                                                                              COPPELL, TX 75019
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   IDE INTERNATIONAL INC.
            State what the contract or      Master Service Agreement Dated
                                                                                   105 BRANCKWOOD TRL
            lease is for and the nature     08/09/2012
2.434                                                                              COPPELL , TX 75019
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   IHM IDENTITY, INC.
            State what the contract or      Amended and Restated License
                                                                                   20880 STONE OAK PKWY
            lease is for and the nature     Agreement Dated 11/10/2005
2.435                                                                              SAN ANTONIO, TX 78258
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   INFINITY BROADCASTING CORPORATION
            State what the contract or      License Agreement Dated 07/24/2002
                                                                                   PRESIDENT
            lease is for and the nature
2.436                                                                              40 WEST 57TH STREET
            of the debtor’s interest
                                                                                   NEW YORK, NY 10019


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   INFINITY BROADCASTING CORPORATION
            State what the contract or      Traffic and Weather Together License
                                                                                   PRESIDENT
            lease is for and the nature     Agreement Dated 07/24/2002
2.437                                                                              40 WEST 57TH STREET
            of the debtor’s interest
                                                                                   NEW YORK, NY 10019


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   INFINITY
            State what the contract or      Settlement Email and Letter Dated
                                                                                   ATTN: SCOTT ZOLKE
            lease is for and the nature     10/24/2001
2.438                                                                              HEENAN BLAIKIE
            of the debtor’s interest
                                                                                   9401 WILSHIRE BOULEVARD
                                                                                   SUITE 1100
                                                                                   BEVERLY HILLS, CA 90212-2924
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   INFOSYS LIMITED
            State what the contract or      Change Request NO. CCIT- Smart
                                                                                   6100 TENNYSON PARKWAY
            lease is for and the nature     Bike-05 Dated 12/14/2012
2.439                                                                              SUITE 200
            of the debtor’s interest
                                                                                   PLANO , TX 75024


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                       State the name and mailing address for all other parties with whom
                                                                              the debtor has an executory contract or unexpired lease

                                                                              INFOSYS LIMITED
            State what the contract or      Change Request Dated 04/01/2012
                                                                              6100 TENNYSON PARKWAY
            lease is for and the nature
2.440                                                                         SUITE 200
            of the debtor’s interest
                                                                              PLANO , TX 75024


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS LIMITED
            State what the contract or      Change Request Dated 04/16/2012
                                                                              6100 TENNYSON PARKWAY
            lease is for and the nature
2.441                                                                         SUITE 200
            of the debtor’s interest
                                                                              PLANO , TX 75024


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS LIMITED
            State what the contract or      Change Request Dated 11/05/2012
                                                                              6100 TENNYSON PARKWAY
            lease is for and the nature
2.442                                                                         SUITE 200
            of the debtor’s interest
                                                                              PLANO , TX 75024


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS LIMITED
            State what the contract or      Change Request Dated 01/01/2013
                                                                              6100 TENNYSON PARKWAY
            lease is for and the nature
2.443                                                                         SUITE 200
            of the debtor’s interest
                                                                              PLANO , TX 75024


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS LIMITED
            State what the contract or      Change Request for Statement of
                                                                              6100 TENNYSON PARKWAY
            lease is for and the nature     Work Dated 01/01/2013
2.444                                                                         SUITE 200
            of the debtor’s interest
                                                                              PLANO , TX 75024


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS LIMITED
            State what the contract or      Change Request Dated 10/16/2012
                                                                              6100 TENNYSON PARKWAY
            lease is for and the nature
2.445                                                                         SUITE 200
            of the debtor’s interest
                                                                              PLANO , TX 75024


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS LIMITED
            State what the contract or      Change Request Dated 04/16/2012
                                                                              6100 TENNYSON PARKWAY
            lease is for and the nature
2.446                                                                         SUITE 200
            of the debtor’s interest
                                                                              PLANO , TX 75024


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                       State the name and mailing address for all other parties with whom
                                                                              the debtor has an executory contract or unexpired lease

                                                                              INFOSYS LIMITED
            State what the contract or      Change Request Dated 04/16/2012
                                                                              6100 TENNYSON PARKWAY
            lease is for and the nature
2.447                                                                         SUITE 200
            of the debtor’s interest
                                                                              PLANO , TX 75024


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS TECHNOLOGIES (CHINA) CO. LIMITED
            State what the contract or      Change Request NO. CCIT- Smart
                                                                              BUILDING 10
            lease is for and the nature     Bike-05 Dated 12/14/2012
2.448                                                                         3000 LONGDONG AVENUE
            of the debtor’s interest
                                                                              SHANGHAI 201203
                                                                              CHINA
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS TECHNOLOGIES (CHINA) CO. LIMITED
            State what the contract or      Change Request Dated 10/16/2012
                                                                              BUILDING 10
            lease is for and the nature
2.449                                                                         3000 LONGDONG AVENUE
            of the debtor’s interest
                                                                              SHANGHAI 201203
                                                                              CHINA
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS TECHNOLOGIES (CHINA) CO. LIMITED
            State what the contract or      Change Request NO. CCIT- Smart
                                                                              BUILDING 10
            lease is for and the nature     Bike-05 Dated 12/14/2012
2.450                                                                         3000 LONGDONG AVENUE
            of the debtor’s interest
                                                                              SHANGHAI 201203
                                                                              CHINA
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS TECHNOLOGIES (CHINA) CO. LIMITED
            State what the contract or      Change Request Dated 04/01/2012
                                                                              BUILDING 10
            lease is for and the nature
2.451                                                                         3000 LONGDONG AVENUE
            of the debtor’s interest
                                                                              SHANGHAI 201203
                                                                              CHINA
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS TECHNOLOGIES (CHINA) CO. LIMITED
            State what the contract or      Change Request Dated 04/16/2012
                                                                              BUILDING 10
            lease is for and the nature
2.452                                                                         3000 LONGDONG AVENUE
            of the debtor’s interest
                                                                              SHANGHAI 201203
                                                                              CHINA
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS TECHNOLOGIES (CHINA) CO. LIMITED
            State what the contract or      Change Request Dated 04/16/2012
                                                                              BUILDING 10
            lease is for and the nature
2.453                                                                         3000 LONGDONG AVENUE
            of the debtor’s interest
                                                                              SHANGHAI 201203
                                                                              CHINA
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                       State the name and mailing address for all other parties with whom
                                                                              the debtor has an executory contract or unexpired lease

                                                                              INFOSYS TECHNOLOGIES (CHINA) CO. LIMITED
            State what the contract or      Change Request Dated 11/05/2012
                                                                              BUILDING 10
            lease is for and the nature
2.454                                                                         3000 LONGDONG AVENUE
            of the debtor’s interest
                                                                              SHANGHAI 201203
                                                                              CHINA
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS TECHNOLOGIES (CHINA) CO. LIMITED
            State what the contract or      Change Request Dated 01/01/2013
                                                                              BUILDING 10
            lease is for and the nature
2.455                                                                         3000 LONGDONG AVENUE
            of the debtor’s interest
                                                                              SHANGHAI 201203
                                                                              CHINA
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS TECHNOLOGIES (CHINA) CO. LIMITED
            State what the contract or      Change Request Dated 04/01/2012
                                                                              BUILDING 10
            lease is for and the nature
2.456                                                                         3000 LONGDONG AVENUE
            of the debtor’s interest
                                                                              SHANGHAI 201203
                                                                              CHINA
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS TECHNOLOGIES (CHINA) CO. LIMITED
            State what the contract or      Change Request Dated 04/16/2012
                                                                              BUILDING 10
            lease is for and the nature
2.457                                                                         3000 LONGDONG AVENUE
            of the debtor’s interest
                                                                              SHANGHAI 201203
                                                                              CHINA
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              INFOSYS TECHNOLOGIES (SHANGHAI) CO. LIMITED
            State what the contract or      Change Request Dated 04/16/2012
                                                                              ROOM 401&501,
            lease is for and the nature
2.458                                                                         BUILDING 5,
            of the debtor’s interest
                                                                              NO. 555,
                                                                              DONGCHUAN ROAD,
                                                                              MINHANG DISTRICT,
            State the term remaining        Undetermined                      SHANGHAI 200241
            List the contract number of                                       CHINA
            any government contract
                                                                              INFOSYS TECHNOLOGIES (SHANGHAI) CO. LIMITED
            State what the contract or      Change Request Dated 04/16/2012
                                                                              ROOM 401&501,
            lease is for and the nature
2.459                                                                         BUILDING 5,
            of the debtor’s interest
                                                                              NO. 555,
                                                                              DONGCHUAN ROAD,
                                                                              MINHANG DISTRICT,
            State the term remaining        Undetermined                      SHANGHAI 200241
            List the contract number of                                       CHINA
            any government contract
                                                                              INFOSYS TECHNOLOGIES (SHANGHAI) CO. LIMITED
            State what the contract or      Change Request Dated 11/05/2012
                                                                              ROOM 401&501,
            lease is for and the nature
2.460                                                                         BUILDING 5,
            of the debtor’s interest
                                                                              NO. 555,
                                                                              DONGCHUAN ROAD,
                                                                              MINHANG DISTRICT,
            State the term remaining        Undetermined                      SHANGHAI 200241
            List the contract number of                                       CHINA
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 INFOSYS TECHNOLOGIES (SHANGHAI) CO. LIMITED
            State what the contract or      Change Request Dated 04/16/2012
                                                                                 ROOM 401&501,
            lease is for and the nature
2.461                                                                            BUILDING 5,
            of the debtor’s interest
                                                                                 NO. 555,
                                                                                 DONGCHUAN ROAD,
                                                                                 MINHANG DISTRICT,
            State the term remaining        Undetermined                         SHANGHAI 200241
            List the contract number of                                          CHINA
            any government contract
                                                                                 INFOSYS TECHNOLOGIES (SHANGHAI) CO. LIMITED
            State what the contract or      Change Request Dated 10/16/2012
                                                                                 ROOM 401&501,
            lease is for and the nature
2.462                                                                            BUILDING 5,
            of the debtor’s interest
                                                                                 NO. 555,
                                                                                 DONGCHUAN ROAD,
                                                                                 MINHANG DISTRICT,
            State the term remaining        Undetermined                         SHANGHAI 200241
            List the contract number of                                          CHINA
            any government contract
                                                                                 INFOSYS TECHNOLOGIES (SHANGHAI) CO. LIMITED
            State what the contract or      Change Request Dated 01/01/2013
                                                                                 ROOM 401&501,
            lease is for and the nature
2.463                                                                            BUILDING 5,
            of the debtor’s interest
                                                                                 NO. 555,
                                                                                 DONGCHUAN ROAD,
                                                                                 MINHANG DISTRICT,
            State the term remaining        Undetermined                         SHANGHAI 200241
            List the contract number of                                          CHINA
            any government contract
                                                                                 INFOSYS TECHNOLOGIES LIMITED
            State what the contract or      Master Services Agreement Dated
                                                                                 ATTN: HEAD OF THE LEGAL DEPARTMENT
            lease is for and the nature     04/22/2009
2.464                                                                            ELECTRONICS CITY, HOSUR ROAD
            of the debtor’s interest
                                                                                 BANGALORE 561 100
                                                                                 INDIA
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 INNERWORKINGS, INC.
            State what the contract or      Master Professional Services
                                                                                 600 W. CHICAGO
            lease is for and the nature     Agreement Dated 12/23/2009
2.465                                                                            SUITE 850
            of the debtor’s interest
                                                                                 CHICAGO, IL 60654


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or      Project Change Request Dated
                                                                                 PO BOX 643600
            lease is for and the nature     05/07/2012
2.466                                                                            PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or      Statement of Work Dated 09/21/2011
                                                                                 PO BOX 643600
            lease is for and the nature
2.467                                                                            PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or      Project Change Request Dated
                                                                                 PO BOX 643600
            lease is for and the nature     11/20/2013
2.468                                                                            PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or      Project Change Request Dated
                                                                                 PO BOX 643600
            lease is for and the nature     10/13/2016
2.469                                                                            PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or      Project Change Request Dated
                                                                                 PO BOX 643600
            lease is for and the nature     09/06/2016
2.470                                                                            PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or      Statement of Work Dated 08/10/2015
                                                                                 PO BOX 643600
            lease is for and the nature
2.471                                                                            PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or      Project Change Request Dated
                                                                                 PO BOX 643600
            lease is for and the nature     11/11/2015
2.472                                                                            PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or      Project Change Request Dated
                                                                                 PO BOX 643600
            lease is for and the nature     05/12/2016
2.473                                                                            PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 INTERNATIONAL BUSINESS MACHINES CORP.
            State what the contract or      Project Change Request Dated
                                                                                 PO BOX 643600
            lease is for and the nature     02/08/2012
2.474                                                                            PITTSBURGH, PA 15264-3600
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                J. MICHAEL LISH D/B/A THE LISH COMPANY
            State what the contract or      Texas Brokerage Agreement Dated
                                                                                9203 SADDLE HORN COURT
            lease is for and the nature     01/23/2012
2.475                                                                           PROSPER , TX 75078
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                JELLI, INC.
            State what the contract or      Exclusive Management and Reseller
                                                                                ATTN: MIKE DOUGHERTY, CEO
            lease is for and the nature     Agreement Dated 01/02/2015
2.476                                                                           703 SOUTH B STREET
            of the debtor’s interest
                                                                                2ND FLOOR
                                                                                SAN MATEO, CA 94401
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                JELLI, INC.
            State what the contract or      Sales of Series B Preferred Stock
                                                                                ATTN: MIKE DOUGHERTY, CEO
            lease is for and the nature     Closing Book Dated 01/02/2015
2.477                                                                           703 SOUTH B STREET
            of the debtor’s interest
                                                                                2ND FLOOR
                                                                                SAN MATEO, CA 94401
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                JELLI, INC.
            State what the contract or      Schedule of Exceptions Dated
                                                                                ATTN: MIKE DOUGHERTY, CEO
            lease is for and the nature     01/02/2015
2.478                                                                           703 SOUTH B STREET
            of the debtor’s interest
                                                                                2ND FLOOR
                                                                                SAN MATEO, CA 94401
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                JELLI, INC.
            State what the contract or      Investors' Rights Agreement Dated
                                                                                ATTN: MIKE DOUGHERTY, CEO
            lease is for and the nature     01/02/2015
2.479                                                                           703 SOUTH B STREET
            of the debtor’s interest
                                                                                2ND FLOOR
                                                                                SAN MATEO, CA 94401
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                KELLY SERVICES INC
            State what the contract or      KellyDirect Agreement Dated
                                                                                POB 820405
            lease is for and the nature     06/07/2012
2.480                                                                           PHILADELPHIA, PA 19182-0405
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                KELLY SERVICES INC
            State what the contract or      Customer Service Agreement Dated
                                                                                POB 820405
            lease is for and the nature     08/07/2012
2.481                                                                           PHILADELPHIA, PA 19182-0405
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                KFORCE, INC.
            State what the contract or      Services Dated 12/04/2009
                                                                                ATTN: CONTRACTS MANAGEMENT
            lease is for and the nature
2.482                                                                           1001 EAST PALM AVENUE
            of the debtor’s interest
                                                                                TAMPA, FL 33605


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                KFORCE, INC.
            State what the contract or      Client Services Agreement Dated
                                                                                ATTN: CONTRACTS MANAGEMENT
            lease is for and the nature     04/06/2010
2.483                                                                           1001 EAST PALM AVENUE
            of the debtor’s interest
                                                                                TAMPA, FL 33605


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                KFORCE, INC.
            State what the contract or      Client Services Work Order Dated
                                                                                ATTN: CONTRACTS MANAGEMENT
            lease is for and the nature     01/16/2012
2.484                                                                           1001 EAST PALM AVENUE
            of the debtor’s interest
                                                                                TAMPA, FL 33605


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                LAND TRANSPORT AUTHORITY OF SINGAPORE
            State what the contract or      Contractual Guaranty
                                                                                1 HAMPSHIRE ROAD
            lease is for and the nature
2.485                                                                           219428
            of the debtor’s interest
                                                                                SINGAPORE


            State the term remaining
            List the contract number of
            any government contract
                                                                                LE PARKER MERIDIEN NEW YORK
            State what the contract or      2017 Corporate Rate Agreement
                                                                                118 WEST 57TH STREET
            lease is for and the nature     Dated 01/13/2017
2.486                                                                           NEW YORK, NY 10019
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                LEXMARK ENTERPRISE SOFTWARE
            State what the contract or      License Agreement - Invoice Dated
                                                                                8900 RENNER BLVD.
            lease is for and the nature     01/01/2017
2.487                                                                           LENEXA, KS 66219-3049
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                LEXMARK ENTERPRISE SOFTWARE
            State what the contract or      License Agreement - Invoice Dated
                                                                                8900 RENNER BLVD.
            lease is for and the nature     01/01/2016
2.488                                                                           LENEXA, KS 66219-3049
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                                   State the name and mailing address for all other parties with whom
                                                                                          the debtor has an executory contract or unexpired lease

                                                                                          LEXMARK ENTERPRISE SOFTWARE
            State what the contract or      License Agreement - Quote Dated
                                                                                          8900 RENNER BLVD.
            lease is for and the nature     01/01/2016
2.489                                                                                     LENEXA, KS 66219-3049
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                          LIBERTY SURPLUS INSURANCE CORPORATION
            State what the contract or      Storage Tank Third Party Liability
                                                                                          PRESIDENTIAL SERVICE TEAM
            lease is for and the nature     Corrective Action and Cleanup Policy
2.490                                                                                     175 BERKELEY STREET
            of the debtor’s interest        Dated 12/15/2017
                                                                                          MS 10B
                                                                                          BOSTON, MA 02116
            State the term remaining        Undetermined
            List the contract number of
            any government contract

                                            Guarantee of Office/Studio Lease -
                                                                                          LINLO PROPERTIES
            State what the contract or
                                            Harrisburg, PA Radio Studios, 600 Corporate   1013 MUMMA ROAD
            lease is for and the nature
2.491                                       Circle, Harrisburg, PA 17110                  SUITE 100
            of the debtor’s interest
                                                                                          LEMOYNE, PA 17043


            State the term remaining
            List the contract number of
            any government contract
                                                                                          MATISIA CONSULTANT COMPANY
            State what the contract or      Statement of Work Dated 07/31/2013
                                                                                          ATTN: JOEY DELOVINO
            lease is for and the nature
2.492                                                                                     3134 ELLIOTT AVENUE
            of the debtor’s interest
                                                                                          SEATTLE, WA 98121


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                          MATISIA CONSULTANT COMPANY
            State what the contract or      Statement of Work Dated 09/17/2014
                                                                                          ATTN: JOEY DELOVINO
            lease is for and the nature
2.493                                                                                     3134 ELLIOTT AVENUE
            of the debtor’s interest
                                                                                          SEATTLE, WA 98121


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                          MATISIA CONSULTANT COMPANY
            State what the contract or      Statement of Work Dated 07/31/2013
                                                                                          ATTN: JOEY DELOVINO
            lease is for and the nature
2.494                                                                                     3134 ELLIOTT AVENUE
            of the debtor’s interest
                                                                                          SEATTLE, WA 98121


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                          MATISIA CONSULTANT COMPANY
            State what the contract or      Statement of Work Dated 07/31/2013
                                                                                          ATTN: JOEY DELOVINO
            lease is for and the nature
2.495                                                                                     3134 ELLIOTT AVENUE
            of the debtor’s interest
                                                                                          SEATTLE, WA 98121


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                             Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom
                                                                                      the debtor has an executory contract or unexpired lease

                                                                                      MATISIA CONSULTANT COMPANY
            State what the contract or      Statement of Work Dated 03/20/2014
                                                                                      ATTN: JOEY DELOVINO
            lease is for and the nature
2.496                                                                                 3134 ELLIOTT AVENUE
            of the debtor’s interest
                                                                                      SEATTLE, WA 98121


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                      MATISIA CONSULTANT COMPANY
            State what the contract or      Statement of Work Dated 05/01/2013
                                                                                      ATTN: JOEY DELOVINO
            lease is for and the nature
2.497                                                                                 3134 ELLIOTT AVENUE
            of the debtor’s interest
                                                                                      SEATTLE, WA 98121


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                      MATISIA CONSULTANT COMPANY
            State what the contract or      Statement of Work Dated 07/31/2013
                                                                                      ATTN: JOEY DELOVINO
            lease is for and the nature
2.498                                                                                 3134 ELLIOTT AVENUE
            of the debtor’s interest
                                                                                      SEATTLE, WA 98121


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                      MATISIA CONSULTANT COMPANY
            State what the contract or      Statement of Work Dated 05/01/2013
                                                                                      ATTN: JOEY DELOVINO
            lease is for and the nature
2.499                                                                                 3134 ELLIOTT AVENUE
            of the debtor’s interest
                                                                                      SEATTLE, WA 98121


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                      MATISIA CONSULTANT COMPANY
            State what the contract or      Master Service Agreement Dated
                                                                                      ATTN: JOEY DELOVINO
            lease is for and the nature     04/29/2013
2.500                                                                                 3134 ELLIOTT AVENUE
            of the debtor’s interest
                                                                                      SEATTLE, WA 98121


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                      MCGRIFF SEIBELS & WILLIAMS INC
            State what the contract or      Confirmation of Coverage: Aircraft Hull
                                                                                      3023 80TH AVE SE STE 300
            lease is for and the nature     & Liability Policy Dated 11/01/2017
2.501                                                                                 MERCER ISLAND, WA 98040
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                      MERCEDES-BENZ RESEARCH & DEVELOPMENT NORTH AMERICA, INC.
            State what the contract or      Mutual Nondisclosure Agreement
                                                                                      850 HANSEN WAY
            lease is for and the nature     Dated 11/12/2010
2.502                                                                                 PALO ALTO, CA 94304
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                       Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom
                                                                                the debtor has an executory contract or unexpired lease

                                                                                MHC SOFTWARE, INC.
            State what the contract or      Maintenance Agreement - Invoice
                                                                                PO BOX 1749
            lease is for and the nature     Dated 12/12/2015
2.503                                                                           BURNSVILLE, MN 55337
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                MICROSOFT CORP.
            State what the contract or      License Agreement - Work Order
                                                                                1950 N. STEMMONS FWY STE 5010
            lease is for and the nature     Dated 12/31/2017
2.504                                                                           DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                MICROSOFT CORP.
            State what the contract or      License Agreement - Work Order
                                                                                1950 N. STEMMONS FWY STE 5010
            lease is for and the nature     Support Exhibit Dated 12/31/2017
2.505                                                                           DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                MICROSOFT CORP.
            State what the contract or      License Confirmation
                                                                                1950 N. STEMMONS FWY STE 5010
            lease is for and the nature
2.506                                                                           DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                MICROSOFT CORP.
            State what the contract or      License Agreement - Invoice Dated
                                                                                1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature     12/31/2014
2.507                                                                           DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                MICROSOFT CORP.
            State what the contract or      Consulting Services Work Order
                                                                                1950 N. STEMMONS FWY, STE 5010
            lease is for and the nature     Dated 03/25/2013
2.508                                                                           DALLAS, TX 75207
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                MOELIS & COMPANY
            State what the contract or      Engagement Letter
                                                                                399 PARK AVENUE
            lease is for and the nature
2.509                                                                           5TH FLOOR
            of the debtor’s interest
                                                                                NEW YORK, NY 10022


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                               Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                                 State the name and mailing address for all other parties with whom
                                                                                        the debtor has an executory contract or unexpired lease

                                                                                        MOELIS & COMPANY
            State what the contract or      Engagement Letter Dated 01/03/2017
                                                                                        399 PARK AVENUE
            lease is for and the nature
2.510                                                                                   5TH FLOOR
            of the debtor’s interest
                                                                                        NEW YORK, NY 10022


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                        NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA.
            State what the contract or      Confirmation of Coverage: Aircraft Hull
                                                                                        CONNELL CORPORATE CENTER I
            lease is for and the nature     & Liability Policy Dated 11/01/2017
2.511                                                                                   100 CONNELL DRIVE, SUITE 2100
            of the debtor’s interest
                                                                                        BERKELEY HEIGHTS, NJ 07922


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                        NEXTERA ENERGY SERVICES CONNECTICUT, LLC
            State what the contract or      Business Electricity Authorization
                                                                                        20455 STATE HIGHWAY 249
            lease is for and the nature     Dated 07/05/2011
2.512                                                                                   SUITE 200
            of the debtor’s interest
                                                                                        HOUSTON, TX 77070


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                        NIGEL FRANK INTERNATIONAL INC.
            State what the contract or      Permanent Recruitment Services
                                                                                        65 BROADWAY, SUITE 1084
            lease is for and the nature
2.513                                                                                   NEW YORK, NY 10006
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract

                                            Guarantee of Office/Studio Lease - TTWN
                                                                                        OMNINET FREEWAY, LP
            State what the contract or
                                            Los Angeles, CA Traffic, 1500 Hughes Way,   9420 WILSHIRE BOULEVARD, 4TH FLOOR
            lease is for and the nature
2.514                                       Long Beach, CA 90810                        ATTN: MICHAEL DANIELPOUR
            of the debtor’s interest
                                                                                        BEVERLY HILLS, CA 90212


            State the term remaining
            List the contract number of
            any government contract
                                                                                        ONE SOURCE NETWORKS INC.
            State what the contract or      Professional Services Agreement
                                                                                        ATTN: CONTRACT ADMINISTRATION
            lease is for and the nature     Dated 06/15/2010
2.515                                                                                   2243 WINDING VIEW
            of the debtor’s interest
                                                                                        SAN ANTONIO, TX 78258


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                        ONE SOURCE NETWORKS, INC.
            State what the contract or      Service Order for Network Support
                                                                                        14402 BLANCO ROAD, SUITE 300
            lease is for and the nature     Services Dated 02/15/2013
2.516                                                                                   SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                              Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                                State the name and mailing address for all other parties with whom
                                                                                       the debtor has an executory contract or unexpired lease

                                                                                       OUTDOOR MANAGEMENT SERVICES, INC.
            State what the contract or      Amended and Restated License
                                                                                       20880 STONE OAK PKWY
            lease is for and the nature     Agreement Dated 11/10/2005
2.517                                                                                  SAN ANTONIO, TX 78258
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract

                                            Office/Studio Lease - Los Angeles, CA
                                                                                       P1 PINNACLE OWNER LLC
            State what the contract or
                                            Studios, Internet Group, 3400 West Olive   100 WILSHIRE BOULEVARD, SUITE 1600
            lease is for and the nature
2.518                                       Avenue, Burbank, CA 91505                  ATTENTION: JEFF WORTHE
            of the debtor’s interest
                                                                                       SANTA MONICA, CA 90401


            State the term remaining
            List the contract number of
            any government contract
                                                                                       PALISADES EAST LLC
            State what the contract or      Office/Studio Lease - Atlanta, GA
                                                                                       1819 PEACHTREE ROAD, SUITE 250
            lease is for and the nature     Studios, Creative Svcs, TTWN , 1819
2.519                                                                                  C/O ELV ASSOCIATES
            of the debtor’s interest        Peachtree Road, Atlanta, GA
                                                                                       ATLANTA, GA 30309


            State the term remaining
            List the contract number of
            any government contract
                                                                                       PERCEPTIVE SOFTWARE
            State what the contract or      License Agreement - Invoice Dated
                                                                                       8900 RENNDER BLVD.
            lease is for and the nature     01/01/2015
2.520                                                                                  LENEXA, KS 66219-3049
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                       PERFICIENT
            State what the contract or      IBM Software Renewal Dated
                                                                                       555 MARYVILLE UNIVERSITY DRIVE
            lease is for and the nature     03/01/2015
2.521                                                                                  SUITE 600
            of the debtor’s interest
                                                                                       SAINT LOUIS, MO 63141


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                       PLURALSIGHT LLC
            State what the contract or      Invoice Annual Subscription Dated
                                                                                       19719
            lease is for and the nature     03/11/2015
2.522                                                                                  5505 N CUMBERLAND AVE
            of the debtor’s interest
                                                                                       SUITE 307
                                                                                       CHICAGO, IL 60656
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                       PLURALSIGHT LLC
            State what the contract or      Invoice e-Learning Subscription Dated
                                                                                       5505 N CUMBERLAND
            lease is for and the nature     01/12/2016
2.523                                                                                  SUITE 307
            of the debtor’s interest
                                                                                       CHICAGO, IL 60656


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                            Case number (if known) 18-31273 (MI)
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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                              State the name and mailing address for all other parties with whom
                                                                                     the debtor has an executory contract or unexpired lease

                                                                                     PLURALSIGHT LLC
            State what the contract or      Invoice Annual Renewal Dated
                                                                                     5505 N CUMBERLAND
            lease is for and the nature     01/07/2015
2.524                                                                                SUITE 307
            of the debtor’s interest
                                                                                     CHICAGO, IL 60656


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                     POINT B, INC.
            State what the contract or      Master Service Agreement Dated
                                                                                     ATTN: SHELLEY HOLM
            lease is for and the nature     09/13/2012
2.525                                                                                1420 FIFTH AVENUE, SUITE 2200
            of the debtor’s interest
                                                                                     SEATTLE, WA 98101


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                     POINT B, INC.
            State what the contract or      Statement of Work Dated 02/25/2013
                                                                                     1420 5TH AVENUE, SUITE 2200
            lease is for and the nature
2.526                                                                                SEATTLE, WA 98101
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                     POINT B, INC.
            State what the contract or      Statement of work/letter outlining the
                                                                                     1420 5TH AVENUE
            lease is for and the nature     Arrangement Dated 03/18/2013
2.527                                                                                SUITE 2200
            of the debtor’s interest
                                                                                     SEATTLE, WA 98101


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                     POINT B, INC.
            State what the contract or      Statement of work/letter outlining the
                                                                                     1420 5TH AVENUE
            lease is for and the nature     arrangement Dated 09/17/2012
2.528                                                                                SUITE 2200
            of the debtor’s interest
                                                                                     SEATTLE, WA 98101


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                     POINT B, INC.
            State what the contract or      Additions to the statement or work
                                                                                     1420 5TH AVENUE
            lease is for and the nature     Dated 05/22/2014
2.529                                                                                SUITE 2200
            of the debtor’s interest
                                                                                     SEATTLE, WA 98101


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                     POINT B, INC.
            State what the contract or      Statement of Work Dated 05/17/2013
                                                                                     1420 5TH AVENUE
            lease is for and the nature
2.530                                                                                SUITE 2200
            of the debtor’s interest
                                                                                     SEATTLE, WA 98101


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                            Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                              State the name and mailing address for all other parties with whom
                                                                                     the debtor has an executory contract or unexpired lease

                                                                                     POINT B, INC.
            State what the contract or      Statement of work/Letter outlining the
                                                                                     1420 5TH AVENUE
            lease is for and the nature     Arrangement Dated 12/17/2012
2.531                                                                                SUITE 2200
            of the debtor’s interest
                                                                                     SEATTLE, WA 98101


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                     POINT, B. INC.
            State what the contract or      Statement of work/Letter Outlining the
                                                                                     1420 5TH AVENUE
            lease is for and the nature     Arrangement Dated 12/17/2012
2.532                                                                                SUITE 2200
            of the debtor’s interest
                                                                                     SEATTLE, WA 98101


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                     PREMIERE GLOBAL SERVICES
            State what the contract or      Customer Service Agreement Dated
                                                                                     3280 PEACHTREE ROAD NW
            lease is for and the nature     10/03/2008
2.533                                                                                SUITE 1000
            of the debtor’s interest
                                                                                     ATLANTA, GA 30305-2422


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                     RECRUITING POINT, INC.
            State what the contract or      Master Services Agreement Dated
                                                                                     ATTN: JOHN BILODEAU
            lease is for and the nature     04/24/2013
2.534                                                                                1700 7TH AVENUE, SUITE 2100
            of the debtor’s interest
                                                                                     SEATTLE, WA 98101


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                     RELIANT ENERGY
            State what the contract or      Electricity Sales Agreement Dated
                                                                                     ATTN: RETAIL CONTRACT MANAGEMENT
            lease is for and the nature     06/01/2010
2.535                                                                                1000 MAIN
            of the debtor’s interest
                                                                                     HOUSTON, TX 77253


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                     RELIANT ENERGY
            State what the contract or      Electricity Sales Agreement Dated
                                                                                     ATTN: RELIANT CONTRACT MANAGEMENT
            lease is for and the nature     09/04/2009
2.536                                                                                1000 MAIN
            of the debtor’s interest
                                                                                     HOUSTON, TX 77002


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                     ROBERT HALF INTERNATIONAL
            State what the contract or      General Conditions of Engagement -
                                                                                     ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            lease is for and the nature     Salaried Professionals Dated
2.537                                                                                9901 1H 10 WEST
            of the debtor’s interest        02/04/2013
                                                                                     SUITE 230
                                                                                     SAN ANTONIO , TX 78230
            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 ROBERT HALF INTERNATIONAL
            State what the contract or      General Conditions of Engagement -
                                                                                 ACCOUNTEMPS SALARIED PROFESSIONAL SERVICE
            lease is for and the nature     Salaried Professionals Dated
2.538                                                                            9901 1H 10 WEST
            of the debtor’s interest        01/14/2013
                                                                                 SUITE 230
                                                                                 SAN ANTONIO, TX 78230
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ROBERT HALF MANAGEMENT RESOURCES
            State what the contract or      General Conditions of Assignment
                                                                                 125 PARK AVENUE
            lease is for and the nature     Dated 01/02/2014
2.539                                                                            4TH FLOOR
            of the debtor’s interest
                                                                                 NEW YORK, NY 10017


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ROBERT HALF TECHNOLOGY
            State what the contract or      General Conditions of Assignment
                                                                                 9901 1H 10 WEST
            lease is for and the nature     Dated 12/10/2012
2.540                                                                            SUITE 230
            of the debtor’s interest
                                                                                 SAN ANTONIO , TX 78230


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ROBERT HALF TECHNOLOGY
            State what the contract or      General Conditions of Assignment
                                                                                 9901 1H 10 WEST
            lease is for and the nature     Dated 01/18/2011
2.541                                                                            SUITE 230
            of the debtor’s interest
                                                                                 SAN ANTONIO , TX 78230


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ROBERT HALF TECHNOLOGY
            State what the contract or      General Conditions of Assignment
                                                                                 9901 1H 10 WEST
            lease is for and the nature     Dated 12/10/2012
2.542                                                                            SUITE 230
            of the debtor’s interest
                                                                                 SAN ANTONIO, TX 78230


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 ROBERT HALF TECHNOLOGY
            State what the contract or      General Conditions of Assignment
                                                                                 9901 1H 10 WEST
            lease is for and the nature     Dated 07/15/2013
2.543                                                                            SUITE 230
            of the debtor’s interest
                                                                                 SAN ANTONIO, TX 78230


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 SALES BENCHMARK INDEX
            State what the contract or      Statement of Work Dated 02/26/2013
                                                                                 1595 PEACHTREE PKWY STE 204-328
            lease is for and the nature
2.544                                                                            CUMMING, GA 30041
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 SANDRA J. PIOTROWSKI, LLC
            State what the contract or      Statement of Work Dated 11/28/2011
                                                                                 19009 109TH AVE SE
            lease is for and the nature
2.545                                                                            SNOHOMISH, WA 98296
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 SANDRA J. PIOTROWSKI, LLC
            State what the contract or      Statement of Work - Contractor
                                                                                 19009 109TH AVE SE
            lease is for and the nature     Expertise Dated 11/28/2011
2.546                                                                            SNOHOMISH, WA 98296
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 SCREEN ACTORS GUILD-AMERICAN FEDERATION OF TELEVISION AND
            State what the contract or      Collective Bargaining Agreement
                                                                                 RADIO ARTISTS
            lease is for and the nature     Dated 11/01/2017
2.547                                                                            NEW YORK LOCAL
            of the debtor’s interest
                                                                                 1900 BROADWAY
                                                                                 NEW YORK, NY 10023
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 SCREEN ACTORS GUILD-AMERICAN FEDERATION OF TELEVISION AND
            State what the contract or      Collective Bargaining Agreement
                                                                                 RADIO ARTISTS
            lease is for and the nature     Dated 11/15/2014
2.548                                                                            5757 WILSHIRE BLVD.
            of the debtor’s interest
                                                                                 LOS ANGELES, CA 90036


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 SERVICENOW
            State what the contract or      Invoice IT Operations Management
                                                                                 4810 EASTGATE MALL
            lease is for and the nature     Dated 06/11/2015
2.549                                                                            SAN DIEGO, CA 92121
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 SHILSHOLE CONSULTING, INC.
            State what the contract or      Professional Services Agreement
                                                                                 2851 NW 61ST ST
            lease is for and the nature     Dated 10/25/2010
2.550                                                                            SEATTLE, WA 98107
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 SIGMA A PIVOT COMPANY
            State what the contract or      Invoice IT Consulting Dated
                                                                                 C/O SIGMA SOLUTIONS
            lease is for and the nature     12/25/2015
2.551                                                                            P.O. BOX 733113
            of the debtor’s interest
                                                                                 DALLAS, TX 75373


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                      Case number (if known) 18-31273 (MI)
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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                        State the name and mailing address for all other parties with whom
                                                                               the debtor has an executory contract or unexpired lease

                                                                               SIGMA TECHNOLOGY SOLUTIONS, INC. D/B/A SIGMA SOLUTIONS
            State what the contract or      Invoice IT Consulting Dated
                                                                               P.O. BOX 677680
            lease is for and the nature     01/26/2015
2.552                                                                          DALLAS, TX 75267
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               SMITH HANLEY CONSULTING GROUP, LLC
            State what the contract or      Letter Service Agreement Dated
                                                                               16225 PARK TEN PLACE #225
            lease is for and the nature     11/06/2009
2.553                                                                          HOUSTON , TX 77084
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               SOLARWINDS
            State what the contract or      Invoice IT Operations Management
                                                                               P.O. BOX 730720
            lease is for and the nature     Annual Maintenance Renewal Dated
2.554                                                                          DALLAS, TX 75373
            of the debtor’s interest        08/11/2016


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               SOLARWINDS
            State what the contract or      Invoice IT Operations Management
                                                                               P.O. BOX 730720
            lease is for and the nature     Annual Maintenance Renewal Dated
2.555                                                                          DALLAS, TX 75373
            of the debtor’s interest        01/17/2017


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               SOLARWINDS
            State what the contract or      Invoice IT Operations Management
                                                                               P.O. BOX 730720
            lease is for and the nature     Annual Maintenance Renewal Dated
2.556                                                                          DALLAS , TX 75373
            of the debtor’s interest        08/20/2015


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               SOUNDEXCHANGE INC
            State what the contract or      Restricted Use Agreement Dated
                                                                               ATTN ROYALTY ADMINISTRATION
            lease is for and the nature     02/23/2018
2.557                                                                          733 10TH ST NW FL10
            of the debtor’s interest
                                                                               WASHINGTON, DC 20001-4888


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                               SOURCE RIGHT SOLUTIONS
            State what the contract or      Recruitment Process Outsourcing
                                                                               925 NORTH POINT PARKWAY
            lease is for and the nature     Services Agreement Dated
2.558                                                                          ALPHARETTA, GA 30005
            of the debtor’s interest        05/15/2011


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                               Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                                 State the name and mailing address for all other parties with whom
                                                                                        the debtor has an executory contract or unexpired lease

                                                                                        SOURCECODE TECHNOLOGY HOLDINGS, INC.
            State what the contract or      Statement of Work Dated 02/15/2012
                                                                                        2615 151TH PLACE NE
            lease is for and the nature
2.559                                                                                   REDMOND , WA 98052
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                        SOURCECODE TECHNOLOGY HOLDINGS, INC.
            State what the contract or      Statement of Work Dated 02/15/2012
                                                                                        2615 151TH PLACE NE
            lease is for and the nature
2.560                                                                                   REDMOND , WA 98052
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                        SOURCECODE TECHNOLOGY HOLDINGS, INC.
            State what the contract or      Professional Services Agreement
                                                                                        2615 151TH PLACE NE
            lease is for and the nature     Dated 01/09/2012
2.561                                                                                   REDMOND , WA 98052
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                        STAPLES CONTRACT & COMMERCIAL, INC.
            State what the contract or      Master Purchasing Agreement Dated
                                                                                        500 STAPLES DRIVE
            lease is for and the nature     06/01/2009
2.562                                                                                   FRAMINGHAM, MA 01702
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                        STERLING METS, LP
            State what the contract or      Radio Broadcast Agreement Dated
                                                                                        ATTN: CHIEF REVENUE OFFICER
            lease is for and the nature     10/29/2013
2.563                                                                                   CITI FIELD
            of the debtor’s interest
                                                                                        FLUSHING, NY 11368


            State the term remaining        Undetermined
            List the contract number of
            any government contract

                                            Office/Studio Lease dated 1/16/2015 - San
                                                                                        STONE OAK 17 (TX) LLC
            State what the contract or
                                            Antonio iHM Service Center, Katz, 20880     50 ROCKEFELLER PLAZA
            lease is for and the nature
2.564                                       Stone Oak Parkway, San Antonio, TX 78258    C/O W.P CAREY INC.
            of the debtor’s interest
                                                                                        NEW YORK, NY 10020


            State the term remaining
            List the contract number of
            any government contract

                                            Office/Studio Lease - San Antonio iHM
                                                                                        STONE OAK 17 (TX) LLC
            State what the contract or
                                            Service Center, Katz, 20880 Stone Oak       50 ROCKEFELLER PLAZA
            lease is for and the nature
2.565                                       Parkway, San Antonio, TX 78258              C/O W.P CAREY INC.
            of the debtor’s interest
                                                                                        NEW YORK, NY 10020


            State the term remaining
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                          Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                            State the name and mailing address for all other parties with whom
                                                                                   the debtor has an executory contract or unexpired lease

                                                                                   STONE OAK 17 TX LLC
            State what the contract or      Storage Tank Third Party Liability
                                                                                   ATTN WP CARE INC
            lease is for and the nature     Corrective Action and Cleanup Policy
2.566                                                                              50 ROCKEFELLER PLAZA 2ND FL
            of the debtor’s interest        Dated 12/15/2017
                                                                                   NEW YORK, NY 10020


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   TBO INTERNATIONAL, LLC
            State what the contract or      Letter Services Agreement Dated
                                                                                   18866 STONE OAK PARKWAY
            lease is for and the nature     05/17/2010
2.567                                                                              SUITE 103-91
            of the debtor’s interest
                                                                                   SAN ANTONIO , TX 78285


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   TEAMSTERS LOCAL 107
            State what the contract or      Collective Bargaining Agreement
                                                                                   12275 TOWNSEND RD
            lease is for and the nature     Dated 06/01/2017
2.568                                                                              PHILADELPHIA, PA 19154
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   THE CORPORATE EXECUTIVE BOARD COMPANY
            State what the contract or      Membership Agreement Dated
                                                                                   3393 COLLECTION CENTER DR
            lease is for and the nature     08/06/2014
2.569                                                                              CHICAGO, IL 60693
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   THE CORPORATE EXECUTIVE BOARD COMPANY
            State what the contract or      Master Agreement Dated 06/30/2015
                                                                                   3393 COLLECTION CENTER DR
            lease is for and the nature
2.570                                                                              CHICAGO, IL 60693
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   THE CROMWELL GROUP, INC.
            State what the contract or      License Agreement Dated 06/22/2009
                                                                                   PO BOX 150846
            lease is for and the nature
2.571                                                                              NASHVILLE, TN 37215-0846
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                   THE CROMWELL GROUP, INC.
            State what the contract or      License Agreement Dated 11/18/2005
                                                                                   PO BOX 150846
            lease is for and the nature
2.572                                                                              NASHVILLE, TN 37215-0846
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                         Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  THE HERTZ CORPORATION
            State what the contract or      Corporate Account Agreement Dated
                                                                                  225 BRAE BOULEVARD
            lease is for and the nature     03/01/2010
2.573                                                                             PARK RIDGE, NJ 07656-0713
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  THE LAMAR COMPANY, LLC
            State what the contract or      Partial Assignment And Assumption
                                                                                  POB 96030
            lease is for and the nature     Dated 02/25/2016
2.574                                                                             BATON ROUGE, LA 70896
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  THE OPERARI GROUP
            State what the contract or      Consulting/Services Agreement Dated
                                                                                  P.O. BOX 690327
            lease is for and the nature     07/29/2010
2.575                                                                             SAN ANTONIO, TX
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  THE PRUDENTIAL INSURANCE COMPANY OF AMERICA
            State what the contract or      Guaranty of Lease Dated 02/27/2015
                                                                                  ATTN: CAITLIN O'CONNOR
            lease is for and the nature
2.576                                                                             4 EMBARCADERO CENTER
            of the debtor’s interest
                                                                                  27TH FLOOR
                                                                                  SAN FRANCISCO, CA 94111
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  THINK SOLUTIONS, INC.
            State what the contract or      Non-Disclosure Agreement Dated
                                                                                  601 U.S. HWY 206
            lease is for and the nature     09/08/2015
2.577                                                                             SUITE 26-401
            of the debtor’s interest
                                                                                  HILLSBOROUGH, NJ 08844


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  THINKSOLUTIONS, INC.
            State what the contract or      Non Disclosure Agreement Dated
                                                                                  61 U.S. HWY 206
            lease is for and the nature     09/08/2015
2.578                                                                             SUITE 26-401
            of the debtor’s interest
                                                                                  HILLSBOROUGH, NJ 08844


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  THOMSON REUTERS (TAX & ACCOUNTING) INC.
            State what the contract or      Invoice Dated 01/01/2016
                                                                                  ATTN: ORDER PROCESSING
            lease is for and the nature
2.579                                                                             2395 MIDWAY ROAD
            of the debtor’s interest
                                                                                  CARROLLTON, TX 75006-2521


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                           Case number (if known) 18-31273 (MI)
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           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                             State the name and mailing address for all other parties with whom
                                                                                    the debtor has an executory contract or unexpired lease

                                                                                    THOMSON REUTERS (TAX & ACCOUNTING) INC.
            State what the contract or      Letter Pricing Changes for 2018 Dated
                                                                                    ATTN: ORDER PROCESSING
            lease is for and the nature     09/01/2017
2.580                                                                               2395 MIDWAY ROAD
            of the debtor’s interest
                                                                                    CARROLLTON, TX 75006-2521


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                    THOMSON REUTERS (TAX & ACCOUNTING) INC.
            State what the contract or      Invoice Dated 01/01/2015
                                                                                    ATTN: ORDER PROCESSING
            lease is for and the nature
2.581                                                                               2395 MIDWAY ROAD
            of the debtor’s interest
                                                                                    CARROLLTON, TX 75006-2521


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                    TRAVELERS CASUALTY AND SURETY COMPANY OF AMERICA
            State what the contract or      General Contract of Indemnity Dated
                                                                                    ONE TOWER SQUARE
            lease is for and the nature     02/13/2009
2.582                                                                               HARTFORD, CT 06183
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                    TRI-STARR PERSONNEL
            State what the contract or      Client Staffing Services Agreement
                                                                                    121 INTERPARK BLVD.
            lease is for and the nature     Dated 12/12/2011
2.583                                                                               SAN ANTONIO, TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                    TRI-STARR PERSONNEL
            State what the contract or      Client Staffing Services Agreement
                                                                                    121 INTERPARK BLVD.
            lease is for and the nature     Dated 12/12/2011
2.584                                                                               SAN ANTONIO , TX 78216
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                    TRIANGLE COMMUNICATIONS, INC.
            State what the contract or      Tower Lease - WHKF-FM Tower ,
                                                                                    940 WEST MAIN STREET
            lease is for and the nature     Reeser's Summit, Fairview Twnshp.,
2.585                                                                               NEW HOLLAND, PA 17557
            of the debtor’s interest        PA 17070


            State the term remaining
            List the contract number of
            any government contract
                                                                                    TRIANGLE POINTE, LLC
            State what the contract or      Guarantee of Office/Studio Lease -
                                                                                    C/O NAI ELLIOTT
            lease is for and the nature     Portland, OR Studios, 13333 S.W.
2.586                                                                               901 NE GLISAN STREET, SUITE 100
            of the debtor’s interest        68th Parkway, Tigard, OR 97223
                                                                                    PORTLAND, OR 97232


            State the term remaining
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                     Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                       State the name and mailing address for all other parties with whom
                                                                              the debtor has an executory contract or unexpired lease

                                                                              TRUE NORTH RECRUITING, LLC
            State what the contract or      Rate Agreement Dated 12/19/2012
                                                                              70 NE LOOP 410
            lease is for and the nature
2.587                                                                         SUITE 850
            of the debtor’s interest
                                                                              SAN ANTONIO , TX 78216


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              TRUE NORTH RECRUITING, LLC
            State what the contract or      Rate Agreement Dated 10/08/2012
                                                                              70 NE LOOP 410
            lease is for and the nature
2.588                                                                         SUITE 850
            of the debtor’s interest
                                                                              SAN ANTONIO , TX 78216


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              TRUE NORTH RECRUITING, LLC
            State what the contract or      Rate Agreement Dated 10/05/2012
                                                                              70 NE LOOP 410
            lease is for and the nature
2.589                                                                         SUITE 850
            of the debtor’s interest
                                                                              SAN ANTONIO , TX 78216


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              TRUE NORTH RECRUITING, LLC
            State what the contract or      Rate Agreement Dated 03/04/2013
                                                                              70 NE LOOP 410
            lease is for and the nature
2.590                                                                         SUITE 850
            of the debtor’s interest
                                                                              SAN ANTONIO , TX 78216


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              TRUE NORTH RECRUITING, LLC
            State what the contract or      Rate Agreement Dated 12/10/2012
                                                                              70 NE LOOP 410
            lease is for and the nature
2.591                                                                         SUITE 850
            of the debtor’s interest
                                                                              SAN ANTONIO , TX 78216


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              TRUE NORTH RECRUITING, LLC
            State what the contract or      Rate Agreement Dated 12/20/2012
                                                                              70 NE LOOP 410
            lease is for and the nature
2.592                                                                         SUITE 850
            of the debtor’s interest
                                                                              SAN ANTONIO , TX 78216


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                              TRUE NORTH RECRUITING, LLC
            State what the contract or      Rate Agreement Dated 04/15/2013
                                                                              70 NE LOOP 410
            lease is for and the nature
2.593                                                                         SUITE 850
            of the debtor’s interest
                                                                              SAN ANTONIO , TX 78216


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                         Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  TRUE NORTH RECRUITING, LLC
            State what the contract or      Contingency Search Agreement
                                                                                  70 NE LOOP 410
            lease is for and the nature     Dated 08/23/2010
2.594                                                                             SUITE 850
            of the debtor’s interest
                                                                                  SAN ANTONIO , TX 78216


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  TRUE NORTH RECRUITING, LLC
            State what the contract or      Master Services Agreement Dated
                                                                                  ATTN: JAY LUCAS
            lease is for and the nature     10/05/2012
2.595                                                                             70 NE LOOP 410
            of the debtor’s interest
                                                                                  SUITE 850
                                                                                  SAN ANTONIO , TX 78216
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  TW TELECOM HOLDINGS, INC.
            State what the contract or      Service Order Dated 03/19/2014
                                                                                  10475 PARK MEADOWS DRIVE
            lease is for and the nature
2.596                                                                             LITTLETON , CO 80124
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  TW TELECOM HOLDINGS, INC.
            State what the contract or      Service Order
                                                                                  10475 PARK MEADOWS DRIVE
            lease is for and the nature
2.597                                                                             LITTLETON , CO 80124
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIFONE, INC.
            State what the contract or      Lease Assumption Agreement Dated
                                                                                  4523 SOLUTIONS CENTER
            lease is for and the nature     04/01/2010
2.598                                                                             LOCKBOX #774523
            of the debtor’s interest
                                                                                  CHICAGO, IL 60677-4005


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      First Amendment to Business Service
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Agreement Dated 04/04/2008
2.599                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Seventh Amendment to Business
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Service Agreement Dated 03/08/2009
2.600                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Service Agreement Dated 11/19/2007
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature
2.601                                                                            ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Seventh Amendment Dated
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     12/12/2008
2.602                                                                            ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Second Amendment Dated
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     01/31/2008
2.603                                                                            ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Fourth Amendment Dated 06/30/2008
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature
2.604                                                                            ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Fifth Amendment Dated 09/30/2008
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature
2.605                                                                            ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Ninth Amendment Dated 09/14/2009
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature
2.606                                                                            ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Sixth Amendment Dated 11/03/2008
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature
2.607                                                                            ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                         Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Eight Amendment to Business Service
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Agreement Dated 06/08/2009
2.608                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Twelfth Amendment to Business
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Service Agreement Dated 01/31/2011
2.609                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Second Amendment to Business
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Service Agreement Dated 04/08/2005
2.610                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Thirteenth Amendment to Business
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Service Agreement Dated 04/11/2011
2.611                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Sixteenth Amendment to Business
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Service Agreement Dated 09/10/2012
2.612                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Fourth Amendment to Business
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Service Agreement Dated 09/08/2008
2.613                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Ninth Amendment to Business Service
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Agreement Dated 12/08/2009
2.614                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                         Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Sixth Amendment to Business Service
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Agreement Dated 02/09/2009
2.615                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Tenth Amendment to Service
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Business Agreement Dated
2.616                                                                             ASHBURN, VA 20147
            of the debtor’s interest        03/08/2009


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Eleventh Amendment to Business
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Service Agreement Dated 01/13/2011
2.617                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Fourteenth Amendment Dated
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     11/15/2011
2.618                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Service Agreement Dated 11/19/2007
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature
2.619                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Fifteenth Amendment to Business
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Service Agreement Dated 05/31/2012
2.620                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Third Amendment to Business Service
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Agreement Dated 04/08/2008
2.621                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                         Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                           State the name and mailing address for all other parties with whom
                                                                                  the debtor has an executory contract or unexpired lease

                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      First Amendment Dated 01/15/2008
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature
2.622                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Fifth Amendment to Business Service
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Agreement Dated 12/08/2008
2.623                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Tenth Amendment Dated 12/05/2009
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature
2.624                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Fourteenth Amendment to Business
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     Service Agreement Dated 11/15/2011
2.625                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Eleventh Amendment Dated
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     01/13/2011
2.626                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Eleventh Amendment Dated
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     01/13/2011
2.627                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                  VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Second Amendment Dated
                                                                                  22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature     01/31/2008
2.628                                                                             ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                        Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                          State the name and mailing address for all other parties with whom
                                                                                 the debtor has an executory contract or unexpired lease

                                                                                 VERIZON BUSINESS NETWORK SERVICES, INC.
            State what the contract or      Eighth Amendment Dated 03/03/2009
                                                                                 22001 LOUDOUN COUNTY PARKWAY
            lease is for and the nature
2.629                                                                            ASHBURN, VA 20147
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 VERIZON WIRELESS
            State what the contract or      Customer Acknowledgment Letter
                                                                                 ATTN: AREA GENERAL COUNSEL
            lease is for and the nature     regarding Pricing Dated 02/28/2011
2.630                                                                            ONE VERIZON PLACE
            of the debtor’s interest
                                                                                 ALPHARETTA, GA 30004


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 VERIZON WIRELESS
            State what the contract or      Customer Acknowledgement Form
                                                                                 ATTN: AREA GENERAL COUNSEL
            lease is for and the nature     Dated 02/28/2011
2.631                                                                            ONE VERIZON PLACE
            of the debtor’s interest
                                                                                 ALPHARETTA, GA 30004


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 VERTEX GROUP
            State what the contract or      Work Order Dated 12/15/2011
                                                                                 935 N. PLUM GROVE RD.
            lease is for and the nature
2.632                                                                            SUITE #D
            of the debtor’s interest
                                                                                 SCHAUMBURG, IL 60173


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 VERTEX GROUP
            State what the contract or      Client Staffing Services Agreement
                                                                                 935 N. PLUM GROVE RD.
            lease is for and the nature     Dated 12/09/2011
2.633                                                                            SUITE #D
            of the debtor’s interest
                                                                                 SCHAUMBURG, IL 60173


            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                 VERTICAL BRIDGE CC FM, LLC
            State what the contract or      Tower Lease - TTWN , 15401 Ten
                                                                                 750 PARK COMMERCE DRIVE
            lease is for and the nature     Mile Rd, Oak Park, MI 48237
2.634                                                                            SUITE 200
            of the debtor’s interest
                                                                                 BOCA RATON, FL 33487


            State the term remaining
            List the contract number of
            any government contract
                                                                                 VYSK COMMUNICATIONS, INC.
            State what the contract or      Restriping of 200 Basse Parking
                                                                                 300 CONVENT ST
            lease is for and the nature     Garage
2.635                                                                            SAN ANTONIO, TX 78205
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract




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Debtor         iHeartCommunications, Inc.                                                                 Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


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List all contracts and unexpired leases                                                   State the name and mailing address for all other parties with whom
                                                                                          the debtor has an executory contract or unexpired lease

                                            Guarantee of Office/Studio Lease -
                                                                                          WATERMARK ASSOCIATES
            State what the contract or
                                            Charleston, SC Studios, 950 Houston           PO BOX 881
            lease is for and the nature
2.636                                       Northcutt Blvd., 2nd Floor, Mount Pleasant,   MOUNT PLEASANT, SC 29465
            of the debtor’s interest        SC 29465


            State the term remaining
            List the contract number of
            any government contract
                                                                                          WHEELS INC
            State what the contract or      Lease Assumption Agreement Dated
                                                                                          ATTN WHEELS DIRECT VEHICLE REMARKETING
            lease is for and the nature     04/01/2010
2.637                                                                                     WHEELS EXCHANGE LLC
            of the debtor’s interest
                                                                                          666 GARLAND PL
                                                                                          DES PLAINES, IL 60016
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                          WHEELS LT
            State what the contract or      National Vehicle Lease Dated
            lease is for and the nature     02/18/2003
2.638
            of the debtor’s interest


            State the term remaining        Undetermined
            List the contract number of
            any government contract

                                            Guarantee of Office/Studio Lease - New
                                                                                          WHITE PLAINS PLAZA REALTY LLC
            State what the contract or
                                            York RCS HQ, 445 Hamilton Avenue, Suite       1 N BROADWAY
            lease is for and the nature
2.639                                       210, White Plains, NY 10601                   SUITE 125
            of the debtor’s interest
                                                                                          WHITE PLAINS, NY 10601


            State the term remaining
            List the contract number of
            any government contract
                                                                                          WHITE PLAINS PLAZA REALTY, LLC
            State what the contract or      Lease Agreement
                                                                                          C/O HEYMAN PROPERTIES
            lease is for and the nature
2.640                                                                                     ATTN: KATHY RORICK
            of the debtor’s interest
                                                                                          333 POST ROAD WEST
                                                                                          WESTPORT, CT 06880
            State the term remaining        Undetermined
            List the contract number of
            any government contract
                                                                                          WILSHIRE COURTYARD, LP
            State what the contract or      Guarantee of Office/Studio Lease -
                                                                                          5700 WILSHIRE BOULEVARD, SUITE 365
            lease is for and the nature     Katz Los Angeles, 5700 Wilshire
2.641                                                                                     ATTENTION: PROPERTY MANAGER
            of the debtor’s interest        Boulevard, Los Angeles, CA 90036
                                                                                          LOS ANGELES, CA 90036


            State the term remaining
            List the contract number of
            any government contract
                                                                                          WSFA, LLC
            State what the contract or      Tower Lease - WZHT-FM, WHLW-FM
                                                                                          12 EAST DELANO AVE
            lease is for and the nature     Tower, 2018 Fannin Mill Road, Grady,
2.642                                                                                     ATTN: GENERAL MANAGER
            of the debtor’s interest        AL 36036
                                                                                          MONTGOMERY, AL 36105


            State the term remaining
            List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                   Page 92 of 93
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Debtor         iHeartCommunications, Inc.                                                    Case number (if known) 18-31273 (MI)
              Name




           Additional Page if Debtor Has More Executory Contracts or Unexpired Leases


         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

List all contracts and unexpired leases                                      State the name and mailing address for all other parties with whom
                                                                             the debtor has an executory contract or unexpired lease

                                                                             Y&L CONSULTING
            State what the contract or      Non-Disclosure Agreement Dated
                                                                             7550IH 10 WEST
            lease is for and the nature     06/13/2016
2.643                                                                        SUITE 940
            of the debtor’s interest
                                                                             SAN ANTONIO , TX 78229


            State the term remaining        Undetermined
            List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                      Page 93 of 93
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          iHeartCommunications, Inc.

                                 Southern                       Texas,
                                                                Houston
                       18-31273 (MI)                            Divison




X




Citicasters Co.                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258   2323 REALTY GROUP, L.L.C.


                                                                                                          X




iHeartMedia + Entertainment, 20880 STONE OAK PKWY     SAN ANTONIO, TX 78258   BECK FAMILY TRUSTS
Inc.

                                                                                                          X




iHM Identity, Inc.             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258   CITIBANK, N.A.
                                                                                                          X




Clear Channel Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258   CITIBANK, N.A.              X




AMFM Operating, Inc.           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258   CITIBANK, N.A.
                                                                                                          X




AMFM Radio Licenses, LLC       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258   CITIBANK, N.A.
                                                                                                          X




                                                                                                              22
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Debtor          iHeartCommunications, Inc.                                            Case number (if known) 18-31273 (MI)
               Name




            Additional Page if Debtor Has More Codebtors


          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor


           Name                          Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.7    Capstar TX, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.8    CC Broadcast Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.9    CC Finco Holdings, LLC        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.10   CC Licenses, LLC              20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.11   AMFM Broadcasting             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            CITIBANK, N.A.
       Licenses, LLC
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.12   AMFM Broadcasting, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.13   AMFM Operating, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.14   AMFM Radio Licenses, LLC      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.15   AMFM Texas Broadcasting,      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            CITIBANK, N.A.
       LP
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.16   AMFM Texas Licenses, LLC      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.17   Katz Net Radio Sales, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G


Official Form 206H                                          Schedule H: Codebtors                                            Page 2 of 22
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Debtor          iHeartCommunications, Inc.                                             Case number (if known) 18-31273 (MI)
               Name




            Additional Page if Debtor Has More Codebtors


          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                    Column 2: Creditor


            Name                           Mailing address                                         Name                        Check all schedules
                                                                                                                               that apply:

2.18   M Street Corporation             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.19   Premiere Networks, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.20   Terrestrial RF Licensing, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.21   TTWN Media Networks, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.22   TTWN Networks, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.23   iHeartMedia Capital I, LLC       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.24   iHeartMedia Management           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
       Services, Inc.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.25   iHM Identity, Inc.               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.26   Katz Communications, Inc.        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.27   Katz Media Group, Inc.           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.28   Katz Millennium Sales &          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          CITIBANK, N.A.
       Marketing, Inc.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G


Official Form 206H                                             Schedule H: Codebtors                                          Page 3 of 22
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Debtor          iHeartCommunications, Inc.                                            Case number (if known) 18-31273 (MI)
               Name




            Additional Page if Debtor Has More Codebtors


          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                   Column 2: Creditor


            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.29   Clear Channel Investments,   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
       Inc.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.30   Clear Channel Metro, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.31   Clear Channel Mexico         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
       Holdings, Inc.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.32   Clear Channel Real Estate,   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
       LLC
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.33   Critical Mass Media, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.34   iHeartMedia + Entertainment, 20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
       Inc.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.35   Christal Radio Sales, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.36   Cine Guarantors II, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.37   Citicasters Co.              20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.38   Citicasters Licenses, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             CITIBANK, N.A.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.39   Premiere Networks, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             COUNTERPARTY NAME ON
                                                                                             FILE
                                                                                                                                 D
                                                                                                                                 E/F
                                                                                                                               X G


Official Form 206H                                         Schedule H: Codebtors                                             Page 4 of 22
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Debtor          iHeartCommunications, Inc.                                               Case number (if known) 18-31273 (MI)
               Name




            Additional Page if Debtor Has More Codebtors


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         Column 1: Codebtor                                                                      Column 2: Creditor


           Name                          Mailing address                                             Name                        Check all schedules
                                                                                                                                 that apply:

2.40   iHeartMedia + Entertainment, 20880 STONE OAK PKWY   SAN ANTONIO, TX 78258                EAST GATEWAY CENTER LLC
       Inc.
                                                                                                                                    D
                                                                                                                                    E/F
                                                                                                                                  X G

2.41   iHeartMedia + Entertainment, 20880 STONE OAK PKWY   SAN ANTONIO, TX 78258                FCA GROUP, LLC
       Inc.
                                                                                                                                    D
                                                                                                                                    E/F
                                                                                                                                  X G

2.42   AMFM Operating, Inc.         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258                G&I VII 1600 & MONEYGRAM
                                                                                                LLC
                                                                                                                                    D
                                                                                                                                    E/F
                                                                                                                                  X G

2.43   iHeartMedia + Entertainment, 20880 STONE OAK PKWY   SAN ANTONIO, TX 78258                G&I VII 1600 & MONEYGRAM
       Inc.                                                                                     LLC
                                                                                                                                    D
                                                                                                                                    E/F
                                                                                                                                  X G

2.44   Katz Communications, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258                GA MISSION LLC
                                                                                                                                    D
                                                                                                                                    E/F
                                                                                                                                  X G

2.45   iHeartMedia + Entertainment, 20880 STONE OAK PKWY   SAN ANTONIO, TX 78258                HGR-1, LLC
       Inc.
                                                                                                                                    D
                                                                                                                                    E/F
                                                                                                                                  X G

2.46   iHeartMedia + Entertainment, 20880 STONE OAK PKWY   SAN ANTONIO, TX 78258                HIGHWOODS REALTY LIMITED
       Inc.                                                                                     PARTNERSHIP
                                                                                                                                    D
                                                                                                                                    E/F
                                                                                                                                  X G

2.47   Clear Channel Singapore Pte 20880 STONE OAK PKWY    SAN ANTONIO, TX 78258UNITED          LAND TRANSPORT
       Ltd.                        STATES                                                       AUTHORITY OF SINGAPORE
                                                                                                                                    D
                                                                                                                                    E/F
                                                                                                                                  X G

2.48   Katz Net Radio Sales, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258                LAW DEBENTURE TRUST
                                                                                                COMPANY
                                                                                                                                    D
                                                                                                                                  X E/F
                                                                                                                                    G

2.49   AMFM Texas Licenses, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258                LAW DEBENTURE TRUST
                                                                                                COMPANY
                                                                                                                                    D
                                                                                                                                  X E/F
                                                                                                                                    G

2.50   AMFM Texas Broadcasting,     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258                LAW DEBENTURE TRUST
       LP                                                                                       COMPANY
                                                                                                                                    D
                                                                                                                                  X E/F
                                                                                                                                    G


Official Form 206H                                         Schedule H: Codebtors                                                Page 5 of 22
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Debtor          iHeartCommunications, Inc.                                            Case number (if known) 18-31273 (MI)
               Name




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            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.51   AMFM Radio Licenses, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.52   AMFM Broadcasting, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.53   AMFM Broadcasting            20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
       Licenses, LLC                                                                         COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.54   AMFM Operating, Inc.         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.55   iHeartMedia + Entertainment, 20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
       Inc.                                                                                  COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.56   Critical Mass Media, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.57   Clear Channel Real Estate,   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
       LLC                                                                                   COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.58   Clear Channel Mexico         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
       Holdings, Inc.                                                                        COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.59   Clear Channel Metro, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.60   Clear Channel Investments,   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
       Inc.                                                                                  COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.61   Katz Media Group, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
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Debtor          iHeartCommunications, Inc.                                             Case number (if known) 18-31273 (MI)
               Name




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         Column 1: Codebtor                                                                    Column 2: Creditor


            Name                           Mailing address                                         Name                        Check all schedules
                                                                                                                               that apply:

2.62   Katz Millennium Sales &          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
       Marketing, Inc.                                                                        COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.63   Katz Communications, Inc.        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.64   iHM Identity, Inc.               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.65   iHeartMedia Management           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
       Services, Inc.                                                                         COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.66   iHeartMedia Capital I, LLC       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.67   TTWN Networks, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.68   TTWN Media Networks, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.69   Terrestrial RF Licensing, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.70   Premiere Networks, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.71   M Street Corporation             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
                                                                                                                                X E/F
                                                                                                                                  G

2.72   CC Finco Holdings, LLC           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          LAW DEBENTURE TRUST
                                                                                              COMPANY
                                                                                                                                  D
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Debtor          iHeartCommunications, Inc.                                            Case number (if known) 18-31273 (MI)
               Name




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            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.73   Capstar TX, LLC                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.74   CC Broadcast Holdings, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.75   CC Licenses, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.76   Capstar Radio Operating        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
       Company                                                                               COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.77   AMFM Texas, LLC                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.78   Clear Channel Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.79   Clear Channel Broadcasting     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
       Licenses, Inc.                                                                        COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.80   Citicasters Licenses, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.81   Citicasters Co.                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.82   Cine Guarantors II, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.83   Christal Radio Sales, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258           LAW DEBENTURE TRUST
                                                                                             COMPANY
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G


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Debtor          iHeartCommunications, Inc.                                            Case number (if known) 18-31273 (MI)
               Name




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           Name                          Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.84   iHeartMedia + Entertainment, 20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             LINLO PROPERTIES
       Inc.
                                                                                                                                 D
                                                                                                                                 E/F
                                                                                                                               X G

2.85   TTWN Media Networks, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             OMNINET FREEWAY, LP
                                                                                                                                 D
                                                                                                                                 E/F
                                                                                                                               X G

2.86   AMFM Broadcasting            20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
       Licenses, LLC                                                                         INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.87   AMFM Broadcasting, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.88   AMFM Operating, Inc.         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.89   AMFM Radio Licenses, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.90   AMFM Texas Broadcasting,     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
       LP                                                                                    INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.91   AMFM Texas Licenses, LLC     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.92   Katz Net Radio Sales, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.93   M Street Corporation         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.94   Premiere Networks, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G


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Debtor          iHeartCommunications, Inc.                                             Case number (if known) 18-31273 (MI)
               Name




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          Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                    Column 2: Creditor


            Name                           Mailing address                                         Name                        Check all schedules
                                                                                                                               that apply:

2.95   Terrestrial RF Licensing, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                              INC.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.96   TTWN Media Networks, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                              INC.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.97   TTWN Networks, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                              INC.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.98   iHeartMedia Capital I, LLC       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                              INC.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.99   iHeartMedia Management           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
       Services, Inc.                                                                         INC.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.100 iHM Identity, Inc.                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                              INC.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.101 Katz Communications, Inc.         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                              INC.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.102 Katz Media Group, Inc.            20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                              INC.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.103 Katz Millennium Sales &           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
      Marketing, Inc.                                                                         INC.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.104 Clear Channel Investments,        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
      Inc.                                                                                    INC.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G

2.105 Clear Channel Metro, LLC          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          TPG SPECIALTY LENDING,
                                                                                              INC.
                                                                                                                                X D
                                                                                                                                  E/F
                                                                                                                                  G


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Debtor          iHeartCommunications, Inc.                                            Case number (if known) 18-31273 (MI)
               Name




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         Column 1: Codebtor                                                                   Column 2: Creditor


            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.106 Clear Channel Mexico           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            TPG SPECIALTY LENDING,
      Holdings, Inc.                                                                         INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.107 Clear Channel Real Estate,     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            TPG SPECIALTY LENDING,
      LLC                                                                                    INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.108 Critical Mass Media, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.109 iHeartMedia + Entertainment, 20880 STONE OAK PKWY     SAN ANTONIO, TX 78258            TPG SPECIALTY LENDING,
      Inc.                                                                                   INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.110 Christal Radio Sales, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.111 Cine Guarantors II, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.112 Citicasters Co.                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.113 Citicasters Licenses, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.114 Clear Channel Broadcasting     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            TPG SPECIALTY LENDING,
      Licenses, Inc.                                                                         INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.115 Clear Channel Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.116 AMFM Texas, LLC                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G


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Debtor         iHeartCommunications, Inc.                                             Case number (if known) 18-31273 (MI)
              Name




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         Column 1: Codebtor                                                                   Column 2: Creditor


           Name                         Mailing address                                           Name                        Check all schedules
                                                                                                                              that apply:

2.117 Capstar Radio Operating       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
      Company                                                                                INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.118 Capstar TX, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.119 CC Broadcast Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.120 CC Finco Holdings, LLC        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.121 CC Licenses, LLC              20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TPG SPECIALTY LENDING,
                                                                                             INC.
                                                                                                                               X D
                                                                                                                                 E/F
                                                                                                                                 G

2.122 Citicasters Co.               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             TRIANGLE POINTE, LLC
                                                                                                                                 D
                                                                                                                                 E/F
                                                                                                                               X G

2.123 CC Licenses, LLC              20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.124 Capstar Radio Operating       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
      Company
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.125 Capstar TX, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.126 CC Broadcast Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.127 CC Finco Holdings, LLC        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G


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Debtor          iHeartCommunications, Inc.                                            Case number (if known) 18-31273 (MI)
               Name




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         Column 1: Codebtor                                                                   Column 2: Creditor


            Name                          Mailing address                                         Name                        Check all schedules
                                                                                                                              that apply:

2.128 AMFM Radio Licenses, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.129 AMFM Texas Broadcasting,         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
      LP
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.130 AMFM Texas Licenses, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.131 AMFM Broadcasting                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
      Licenses, LLC
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.132 AMFM Broadcasting, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.133 AMFM Operating, Inc.             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.134 Katz Net Radio Sales, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.135 M Street Corporation             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.136 Premiere Networks, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.137 Terrestrial RF Licensing, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.138 TTWN Media Networks, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G


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Debtor          iHeartCommunications, Inc.                                            Case number (if known) 18-31273 (MI)
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            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.139 TTWN Networks, LLC            20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.140 iHeartMedia Capital I, LLC    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.141 iHeartMedia Management        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
      Services, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.142 iHM Identity, Inc.            20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.143 Katz Communications, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.144 Katz Media Group, Inc.        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.145 Katz Millennium Sales &       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
      Marketing, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.146 Clear Channel Investments,    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
      Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.147 Clear Channel Metro, LLC      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.148 Clear Channel Mexico          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
      Holdings, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.149 Clear Channel Real Estate,    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             UMB BANK
      LLC
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G


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Debtor          iHeartCommunications, Inc.                                            Case number (if known) 18-31273 (MI)
               Name




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         Column 1: Codebtor                                                                   Column 2: Creditor


            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.150 Critical Mass Media, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.151 iHeartMedia + Entertainment, 20880 STONE OAK PKWY     SAN ANTONIO, TX 78258            UMB BANK
      Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.152 Christal Radio Sales, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.153 Cine Guarantors II, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.154 Citicasters Co.                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.155 Citicasters Licenses, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.156 Clear Channel Broadcasting     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
      Licenses, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.157 Clear Channel Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.158 AMFM Texas, LLC                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            UMB BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.159 iHeartMedia Management         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            US BANK
      Services, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.160 iHM Identity, Inc.             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            US BANK
                                                                                                                                 D
                                                                                                                               X E/F
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Debtor          iHeartCommunications, Inc.                                            Case number (if known) 18-31273 (MI)
               Name




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         Column 1: Codebtor                                                                   Column 2: Creditor


            Name                          Mailing address                                         Name                        Check all schedules
                                                                                                                              that apply:

2.161 iHeartMedia + Entertainment, 20880 STONE OAK PKWY       SAN ANTONIO, TX 78258          US BANK
      Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.162 iHeartMedia Capital I, LLC       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.163 M Street Corporation             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
                                                                                                                               X E/F
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2.164 Katz Net Radio Sales, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.165 TTWN Media Networks, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
                                                                                                                               X E/F
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2.166 Terrestrial RF Licensing, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
                                                                                                                               X E/F
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2.167 Premiere Networks, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.168 Katz Millennium Sales &          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
      Marketing, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.169 Katz Communications, Inc.        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
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2.170 Katz Media Group, Inc.           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
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2.171 Clear Channel Holdings, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
                                                                                                                                 D
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Debtor          iHeartCommunications, Inc.                                            Case number (if known) 18-31273 (MI)
               Name




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         Column 1: Codebtor                                                                   Column 2: Creditor


            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.172 Clear Channel Investments,    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
      Inc.
                                                                                                                                 D
                                                                                                                               X E/F
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2.173 Clear Channel Mexico          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
      Holdings, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.174 Clear Channel Real Estate,    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
      LLC
                                                                                                                                 D
                                                                                                                               X E/F
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2.175 Critical Mass Media, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
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2.176 CC Licenses, LLC              20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
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2.177 Clear Channel Metro, LLC      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
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2.178 Christal Radio Sales, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
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2.179 Cine Guarantors II, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
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2.180 Citicasters Co.               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
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2.181 Citicasters Licenses, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
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2.182 Clear Channel Broadcasting    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
      Licenses, Inc.
                                                                                                                                 D
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Debtor         iHeartCommunications, Inc.                                             Case number (if known) 18-31273 (MI)
              Name




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         Column 1: Codebtor                                                                   Column 2: Creditor


           Name                         Mailing address                                           Name                        Check all schedules
                                                                                                                              that apply:

2.183 AMFM Texas Licenses, LLC      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.184 AMFM Texas, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.185 Capstar Radio Operating       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
      Company
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.186 Capstar TX, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.187 CC Broadcast Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.188 CC Finco Holdings, LLC        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.189 TTWN Networks, LLC            20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.190 AMFM Broadcasting             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
      Licenses, LLC
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.191 AMFM Broadcasting, Inc.       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.192 AMFM Operating, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.193 AMFM Radio Licenses, LLC      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             US BANK
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G


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Debtor          iHeartCommunications, Inc.                                            Case number (if known) 18-31273 (MI)
               Name




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         Column 1: Codebtor                                                                   Column 2: Creditor


            Name                          Mailing address                                         Name                        Check all schedules
                                                                                                                              that apply:

2.194 AMFM Texas Broadcasting,         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          US BANK
      LP
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.195 Citicasters Co.                  20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WATERMARK ASSOCIATES
                                                                                                                                 D
                                                                                                                                 E/F
                                                                                                                               X G

2.196 iHeartMedia Management           20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WHITE PLAINS PLAZA REALTY
      Services, Inc.                                                                         LLC
                                                                                                                                 D
                                                                                                                                 E/F
                                                                                                                               X G

2.197 AMFM Broadcasting, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.198 AMFM Broadcasting                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
      Licenses, LLC
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.199 AMFM Operating, Inc.             20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.200 AMFM Radio Licenses, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.201 AMFM Texas Licenses, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.202 AMFM Texas Broadcasting,         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
      LP
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.203 Terrestrial RF Licensing, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.204 Premiere Networks, Inc.          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258          WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G


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            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.205 M Street Corporation          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.206 Katz Net Radio Sales, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.207 Citicasters Licenses, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.208 Citicasters Co.               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.209 Cine Guarantors II, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.210 Christal Radio Sales, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.211 iHeartMedia + Entertainment, 20880 STONE OAK PKWY    SAN ANTONIO, TX 78258             WILMINGTON TRUST
      Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.212 Critical Mass Media, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.213 Clear Channel Real Estate,    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
      LLC
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.214 Clear Channel Mexico          20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
      Holdings, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.215 Clear Channel Investments,    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
      Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G


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            Name                         Mailing address                                          Name                        Check all schedules
                                                                                                                              that apply:

2.216 Clear Channel Metro, LLC      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.217 Katz Millennium Sales &       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
      Marketing, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.218 Katz Communications, Inc.     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.219 Katz Media Group, Inc.        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.220 iHM Identity, Inc.            20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.221 iHeartMedia Management        20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
      Services, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.222 iHeartMedia Capital I, LLC    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.223 TTWN Networks, LLC            20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.224 TTWN Media Networks, LLC      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.225 Capstar TX, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.226 Capstar Radio Operating       20880 STONE OAK PKWY   SAN ANTONIO, TX 78258             WILMINGTON TRUST
      Company
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G


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           Name                         Mailing address                                           Name                        Check all schedules
                                                                                                                              that apply:

2.227 Clear Channel Holdings, Inc.   20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.228 AMFM Texas, LLC                20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.229 Clear Channel Broadcasting     20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
      Licenses, Inc.
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.230 CC Broadcast Holdings, Inc.    20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.231 CC Finco Holdings, LLC         20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.232 CC Licenses, LLC               20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILMINGTON TRUST
                                                                                                                                 D
                                                                                                                               X E/F
                                                                                                                                 G

2.233 Katz Communications, Inc.      20880 STONE OAK PKWY   SAN ANTONIO, TX 78258            WILSHIRE COURTYARD, LP
                                                                                                                                 D
                                                                                                                                 E/F
                                                                                                                               X G




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    iHeartCommunications, Inc.

                            Southern               Texas,
                                                   Houston
              18-31273 (MI)                        Divison




X

X

X

X

X

X

X                         E/F




            5/29/2018                  /s/ Scott D. Hamilton




                                       Scott D. Hamilton


                                       Senior Vice President, Chief Accounting Officer and Assistant Secretary
